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     >;H;?D7<J;HH;<;HH;:JE7IS/#    
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 *( .)*2+'$)/$!!(EH=7DBOI;;JJ?D=;H J>HEK=>KD:;HI?=D;:9EKDI;B M>E>;H;8O

 7L;HI 7BB;=;I 7D:9ECFB7?DIE<J>;;<;D:7DJI7I<EBBEMI

                                      !"!!

        />?I B7MIK?J ?I 7 9?L?B 79J?ED IEKD:?D= ?D 9?L?B H?=>JI :;FH?L7J?EDI 8O 7 C7@EH FK8B?9

         0D?L;HI?JO7D:?JICEIJI;D?EHB;7:;HI>?F?DM>?9>J>;+B7?DJ?<<I;;AIH;:H;II?DJ>;<EHCE<


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        :'./2!.#%  ")'/429 ,)+% /4(%2 ).3!.)4)%3 !2% ).#!0!",% /& 3%,&'/6%2.-%.4; (/-!3 %&&%23/.
#/22%30/.$).'7)4(4(%!215)3$%!&!9%44%/.4)#%,,/ )2').)!!9   
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 2 of 102 Pageid#: 2




      7 :;9B7H7JEHO @K:=C;DJ  ?D@KD9J?L; H;B?;<  7JJEHD;OIV <;;I 7D: 9EIJI  7D:  7I JE 9;HJ7?D

      ;<;D:7DJI 7D7M7H:E<9ECF;DI7JEHO7D:FKD?J?L;:7C7=;I 

    *DJ>;;L;D?D=E<%KBO  J>;CE897C;<EH(EH=7D;JJ?D=;H 

    ';II J>7D <EHJO ;?=>J >EKHI B7J;H 7D: EL;H J>; 9EKHI; E< J>; D;NJ J>?HJ;;D CEDJ>I 7D:

      8;OED: J>;;<;D:7DJ0D?L;HI?JOE<1?H=?D?77D:?JICEIJI;D?EHB;7:;HIRB;7:;HIM>E

      EM;: (EH=7D 7 :KJO JE FHEJ;9J >;H S8;IJ ?DJ;H;IJIT R MEKB:  M?J>EKJ 7DO B;=7B EH

      ;L?:;DJ?7HO87I?I @E?D?D 7K=C;DJ 7CFB?<O 7D:J>;DJ7A;J>;B;7:?D7H79?7BBOCEJ?L7J;:

      97CF7?=D JE HK?D (EH=7D ;JJ?D=;H  :;FH?L?D= >;H E< >;H CEIJ <KD:7C;DJ7B  9B;7HBO

      ;IJ78B?I>;: 9EDIJ?JKJ?ED7B H?=>JI 7D: 97KI?D= >;H ?HH;F7H78B; >7HC 7D: I?=D?<?97DJ

      ;CEJ?ED7B F>OI?97B H;FKJ7J?ED7B 7D:<?D7D9?7B:7C7=;I?DJ>;FHE9;II 

    />?I ;DJ?H; 9EDJHEL;HIO R <HEC J>; H79?7B >7H7IIC;DJ  :;7J> J>H;7JI 7D: :;C7D:I <EH

      EIJH79?P7J?ED7D:87D?I>C;DJJEJ>;;<;D:7DJIV9OD?97B 97B9KB7J;: 7D:H79?7BBOCEJ?L7J;:

      F;HI;9KJ?EDRH;IJI;DJ?H;BOED7>E7N8O7J;;D7=;:9EBB;=;<H;I>C7D 7I;B< FHE9B7?C;:

      SH79?7B@KIJ?9;79J?L?IJ T@KIJ8;97KI;E<J>;9EBEHE<J>;+B7?DJ?<<VIIA?D 

    IJ>;IKDM7II;JJ?D=EDJ>;;L;D?D=E<%KBO  +B7?DJ?<<(EH=7D;JJ?D=;H ED>;H

      M7O>EC;<HECMEHA?D=7JM;BL; >EKH:7O ;D9EKDJ;H;:7D7DJ? FEB?9;FHEJ;IJJ>7J>7: 

      7<J;H:?IHKFJ?D=8KI?D;II;I7D::?D;HI?D:EMDJEMD>7HBEJJ;IL?BB; 1?H=?D?7 9ECFB;J;BO

      8BE9A;:JH7<<?9ED7C7?DJ>EHEK=><7H;7D:7BBFEII?8B;:;JEKHIJH;;JIED>;HEDBOHEKJ;

      >EC; (EH=7D;N?J;:>;HL;>?9B; 7FFHE79>;:72>?J;C7B;M>EM7II?JJ?D=?DJ>;:H?L;HVI

      I;7JE<7?JOE<>7HBEJJ;IL?BB;:KCFJHK9A;DJ?H;BO8BE9A?D=J>;C7?DHE7: ;N9>7D=;:

      FB;7I7DJH?;I 7D:J>;D I;;?D=7B7H=;=HEKFE<8B79A 9B7:FHEJ;IJ;HIBO?D= AD;;B?D= 7D:

      I?JJ?D=?DJ>;JH;; B?D;:HE7: 7J:KIA KF7>;7:EDJ>;EJ>;HI?:;E<J>;B7H=;JHK9A I7?:




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         <?<J;;DMEH:IS2;BB ?JVI7=EE:J>?D=OEKVH;>;H;8;97KI;EJ>;HM?I;J>;O9EKB:8;C7:;

         IF;;:8KCFI T

       !?<J;;DMEH:I 

       />;MEH:I7H;;DJ?H;BO?DDE9KEKI7D:?DDE9;DJ 7D:DEH;7IED78B; E8@;9J?L;F;HIED9EKB:

         ;L;H9ED9BK:;EJ>;HM?I; />;MEH:I7H;DEJSL?EB;D9; T/>;MEH:I7H;DEJS>7HC<KB T/>;

         MEH:IFEI;DESH?IA T/>;MEH:I:EDEJ9EDIJ?JKJ;7SJHK;J>H;7JT7IJ>7JJ;HC?I:;<?D;:8O

         7FFB?978B;.KFH;C;EKHJFH;9;:;DJ 7D:;L;HO;<;D:7DJAD;MJ>?IJ>;D7D:ADEMIJ>?I

         DEM 

       (EH=7D;JJ?D=;H:?:DVJIF;7AJ>;MEH:IJE7DOED;8KJJ>;2>?J;JHK9A:H?L;H .>;IFEA;

         ?D797BC 97IK7B 7D:9EH:?7BC7DD;H IC?B?D=7D:<H?;D:BO )EED;M7IIJ7D:?D=D;7H>;H 

         7D:J>;+B7?DJ?<<:?:DEJ8;B?;L;I>;9EKB:8;>;7H:8O7DOED;EJ>;HJ>7DJ>;:H?L;H .>;

         :?:DEJ9EDL;O7J>H;7J I>;:?:DEJJ>H;7J;D7DOED; 7D:I>;:?:DEJ?DJ;D:JEJ>H;7J;D

         7DOED; 

       2>7J(EH=7D;JJ?D=;H:?:M7IIJ7J;7<79J?D7D;DJ?H;BOFB;7I7DJC7DD;HJ>;FHEJ;IJ;HI 

         I?JJ?D= AD;;B?D= 7D:BO?D=?DJ>;C?::B;E<7KIK7BBO8KIOIJH;;J7IJ>;IKDM7II;JJ?D= 

         M?J>DE87HH?97:;I DEFEB?9;FH;I;D9;E<7DOA?D: DEDEJ?9;EHM7HD?D=JE:H?L;HI 9EKB:

         >7L;8;;DIJHK9A8O797H?<J>;B7H=;:KCFJHK9AJ>7JJEJ7BBO8BE9A;:JH7<<?9M;H;DEJJ>;H; 

     ! "!  "

      />;I;MEH:I97DDEJ8;H;7IED78BO9EDIJHK;:7I7J>H;7J 

      KJ 7II>EMD8;BEM IEB;BO8;97KI;E<J>;9EBEHE<J>;+B7?DJ?<<VIIA?D J>7JVI;N79JBOM>7J

         >7FF;D;: 



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         (%%&%.$!.43</7.).6%34)'!4/23!.$!$-).)342!4/23&/5.$4(!44(%3%7%2%4(%7/2$353%$"94(%,!).4)&&
 7(%.4(%9:/&&)#)!,,9;#/.#,5$%$).72)4).'4(!4/2'!.%44).'%27!3)../#%.4!.$(!$./44(2%!4%.%$!.9/.%
 ).#,5$).'4(%4%%.!'%2


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     />;J;;D7=;H9ED9E9J;:7H79?7B>E7N 9B7?C?D=J>7JJ>;+B7?DJ?<<J>H;7J;D;:>;H7D::?:IE

        ?D 7 H79?IJ C7DD;H  />; J;;D7=;H MEKB: B7J;H 7:C?J JE J>; 0D?L;HI?JOVI FHE<;II?ED7B

        ?DL;IJ?=7JEHIJ>7JI>;D;L;H;L;D>;7H:(EH=7D;JJ?D=;HIF;7A7D:J>7J>;H799KI7J?EDI

        7=7?DIJJ>;+B7?DJ?<<C7O>7L;8;;D87I;:SEDIEC;J>?D=I>;UC?I>;7H:VT<HECED;E<>;H

        <;BBEMFHEJ;IJ;HI 

     0D:7KDJ;:8OJ>;J>EHEK=><7BI?JOE<>;H799KI7J?ED J>;J;;D7=;H?D?J?7J;:797CF7?=DE<

        >7H7IIC;DJ  8KBBO?D=  7D: 9O8;H IJ7BA?D=  ?D9BK:?D= 79JK7B  MH?JJ;D :;7J> J>H;7JI 7D:

        S:ENN?D=TE<J>;+B7?DJ?<<7D:>;H<7C?BO />;J;;D7=;H?IIK;:7S7BBJE9J?EDTJE>;H

        J>EKI7D:I E< <EBBEM;HI 7D: C7II?L; SFB7J<EHC T ?CFBEH?D= J>;C JE <EBBEM >;H B;7: 7D:

        KDB;7I>7JEHH;DJE<<7BI;9ECFB7?DJI7=7?DIJJ>;+B7?DJ?<<M?J>J>;0D?L;HI?JOE<1?H=?D?7 

        :;C7D:?D=(EH=7DVI;NFKBI?ED 

     />; :;7J> J>H;7JI M;H; =H7F>?9  I;H?EKI  7D: <H?=>J;D?D= *D; E< J>; J;;D7=;HVI BE97B

        <EBBEM;HIFHEC?I;:JESJEH9>>;H<K9A?D=97HTM?J>(EH=7D?DI?:;?J 

     -7J>;H J>7D :;FBEO?D= J>; L7IJ  IK8IJ7DJ?7B 7HH7O E< H;IEKH9;I 7L7?B78B; <EH (EH=7DVI

        FHEJ;9J?ED ;<;D:7DJIJ>;0D?L;HI?JOE<1?H=?D?7 -O7D7D:"HEL;I <EHDEH;7IEDEJ>;H

        J>7DJ>;9EBEHE<>;HIA?D JKHD;:J>;?H879AIED(EH=7D7D:@E?D<EH9;IM?J>J>;J;;D7=;H 

     2?J>?D :7OI  J>; L7IJ 7D: FEJ;DJ 0D?L;HI?JO 7FF7H7JKI M7I CE8?B?P;: 7=7?DIJ (EH=7D

        (KBJ?FB;?DL;IJ?=7J?EDIM;H;?D?J?7J;: (KBJ?FB;E<<?9?7BS9ED:;CD7J?EDITE<(EH=7D7D:

        >;HIF;;9>M;H;8HE7:97IJJEM;BBEL;H C;C8;HIE<J>;0D?L;HI?JO9ECCKD?JO 

        ?D9BK:?D= (EH=7DVI 9B7IIC7J;I  J;79>;HI  7D: J>; F;EFB; M>E MEKB: 8; :?H;9J;: 8O J>;

        0D?L;HI?JOJE?DL;IJ?=7J;7D:@K:=;(EH=7D 

     />;;<;D:7DJIIK8@;9J;:(EH=7DJEJ>?HJ;;DCEDJ>IE<I>;;H#;BB/>;O>KC?B?7J;:>;H 

        />;OFB79;:>;H?D:7?BO<;7HE<F>OI?97BL?EB;D9; />;O<?BB;:>;HM?J>9EDIJ7DJ:H;7:7D:




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          :;IF7?H  />;O ?D?J?7J;: J>H;; I;F7H7J; 7D: B;D=J>O ?DL;IJ?=7J?EDI E< >;H  M?J> 7JJ;D:7DJ

          ?DJ;HHE=7J?EDI 7D: FHE9;;:?D=I  />;O 9EDIJHK9J?L;BO IKIF;D:;: 7D: ;NF;BB;: >;H <HEC

          I9>EEB />;OEIJH79?P;:>;H<HEC7BB7IF;9JIE<IJK:;DJ7D:9ECCKD?JOB?<; />;O<EH9;:

          >;H JE C;;J M?J> FHE<;IIEHI M>E >7: SKD9ED:?J?ED7BBO 9ED:;CD5;:6T (EH=7D ?D

          9ECCKD?97J?EDIJE>;H;DJ?H;:;F7HJC;DJ ?D9BK:?D=IJK:;DJIM>E>7:8;;D97BB;:KFEDJE

          ?DL;IJ?=7J; (EH=7D  (EH=7D M7I DEJ ?D9BK:;: ?D >;H FHE=H7CVI :;=H;; 9;H;CED?;I 

          (EH=7D M7I ;N9BK:;: <HEC 0D?L;HI?JO IE9?7B ;L;DJI 7D: =H7:K7J?ED 9;B;8H7J?EDI  />;O

          87DD;:>;H<HEC7JJ;D:?D=SB?L;T9B7II;I >;B:ED4EEC M>;H;I>;9EKB:F7HJ?9?F7J;?D

          9B7II:?I9KII?ED <EH9?D=>;HJEJ7A;?DIJHK9J?EDS7IOD9>HEDEKIBO TC;7D?D=M7J9>?D=FH;

          H;9EH:;:B;9JKH;IED3EK/K8;M?J>EKJJ>;EFFEHJKD?JO<EH9B7IIF7HJ?9?F7J?ED />;OJEB:

          >;HJ>7J?<I>;M7IJEE7<H7?:JE9EC;JEJ>;0D?L;HI?JO I>;I>EKB:IJ7O>EC; />;OH;<KI;:

          >;HH;GK;IJ<EH7D;I9EHJM>;DI>;M7IED97CFKI />;OJEB:>;HJ>7J?<I>;78IEBKJ;BO

          D;;:;: JE 9EC; JE J>; 0D?L;HI?JOVI S"HEKD:I T I>; I>EKB: M;7H 7 S=7JEHT IJOB; C7IA

          9EL;H?D=>;H;DJ?H;<79; IKD=B7II;I 7D:7>7JM?J>>;H>7?HFKBB;:879AJE7LE?:8;?D=

          H;9E=D?P;: />;OJEEA7M7OJ>;B?<;E<79EBB;=;I;D?EHJ>7J(EH=7DH;7IED78BO;NF;9J;:

          JE;D@EO7D:JEM>?9>I>;M7I;DJ?JB;: />;OJEEA7M7OJ>;IKDDO<KJKH;E<7017=H7:K7J; 

          M>?9>(EH=7DH;7IED78BO;NF;9J;:JE8;>;HI7<J;HO;7HIE<>7H:MEHA7D:JEM>?9>I>;

          M7I;DJ?JB;: 7D:J>;O;N9>7D=;:?JM?J>7<KJKH;J>7J?I<EH;L;H9BEK:;: =BEECO 7D:8B;7A 

          />;OFK8B?9BO8H7D:;:>;H7SH79?IJ TS:?I=KIJ?D= TS7J;HHEH?IJ T7D:7SJ>H;7J T/>;O97BB;:

          >;HSI>7C;<KB T/>;OFK8B?9BOS9ED:;CD;:T>;H 7=7?D7D:7=7?D />;OC7:;>;H7F7H?7>




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        (% .)6%23)49 7),, #,!)- 4(!4 /2'!. 7!3 :/.,9; :%80%,,%$ ). !"%9!.#%; /7%6%2 4(% .)6%23)49 (!3
 2%&53%$4/%805.'%/22%-/6%/2'!.<3%805,3)/.:).!"%9!.#%;/2!.9:)3#)0,).!29805,3)/.;./4!4)/.3&2/-
 /2'!.<30%2-!.%.4345$%.42%#/2$3&!2!34(%7/2,$+./73/2'!.7!3:%80%,,%$;&2/-4(%.)6%23)49


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        ?D >;H EMD >EC;JEMD  ?D J>; 0D?L;HI?JO 9ECCKD?JO  7D: ;L;HOM>;H; J>; 0D?L;HI?JOVI

        J;DJ79B;IE<?D<BK;D9;;NJ;D: 

     (EH=7D M7I KJJ;HBO :;FH?L;: E< J>; 8;D;<?JI  FH?L?B;=;I  J;HCI  7D: 9ED:?J?EDI E< J>;

        0D?L;HI?JO;NF;H?;D9;I>;>7:;7HD;: F7?:<EH 7D::;I;HL;: !EH:7OI?D7HEM <HEC

        %KBO  JEK=KIJ  (EH=7DM7IIK8@;9J;:JEJ>;:7?BO<;7HJ>7JJ>;9EBB;=;

        :;=H;;I>;>7:MEHA;:IE>7H:7D:F7?:IECK9>JE;7HDMEKB:8;M?J>>;B: M?J>:H7MD 

        H;I9?D:;:  EH J7HD?I>;:  (EH=7D M7I J>;D :;D?;: J>; 8;D;<?JI  FH?L?B;=;I  J;HCI  7D:

        9ED:?J?EDI E< 7 =H7:K7J; EH :;=H;; >EB:;H <EH M>?9> I>; >7: MEHA;:  F7?:  ;7HD;:  7D:

        :;I;HL;: (EH=7D>7IBEIJ=EE: M;BB F7O?D=@E8I8;97KI;E<J>;;<;D:7DJIVC?IJH;7JC;DJ

        E<>;H (EH=7D>7I>7:@E8E<<;HIH;I9?D:;:8;97KI;E<J>;;<;D:7DJIVC?IJH;7JC;DJE<

        >;H (EH=7D?I7<H7?:JE=E?DJEJEMD8;97KI;E<M>7JM7I:ED;JE>;H (EH=7DD;L;H=E;I

        JEJ>;S"HEKD:ITE<J>;9EBB;=;I>;BEL;:IECK9> ED9; 7D:J>7JI>;MEHA;:IE>7H:JE

        7JJ;D: 

     !EHJ>;F7IJ :7OI M?J>DE;D:?DI?=>J (EH=7D>7I7M7A;D;:?DIJ7J;E<7DN?;JO7D:

        <;7H 7F?J?D>;HIJEC79>RSM?BBJE:7O8;J>;:7OJ>;O8KHDC;7B?L;?DCO97HTS2?BB

        JE:7O8;J>;:7OJ>;O>KHJCOCEJ>;HTS2?BBJE:7O8;J>;:7OJ>;O9>7D=;J>;?HC?D:7D:

        J7A;7M7OCO:;=H;; @KIJ7IJ>;OVL;J7A;D;L;HOJ>?D=;BI;TS2?BBJE:7O8;J>;:7OJ>;O

        >KC?B?7J;C;7=7?DT(EH=7DIK<<;HI<HECI;L;H;7D:F;HC7D;DJC;DJ7B ;CEJ?ED7B 7D:

        FIO9>EBE=?97B?D@KH?;I7D:9ED:?J?EDI7I7:?H;9J FHEN?C7J; 7D:;DJ?H;BO<EH;I;;78B;H;IKBJ

        E<J>;0D?L;HI?JOVI7D:;<;D:7DJ-O7DVI7D:"HEL;IVC?IJH;7JC;DJE<>;H />;I;?D9BK:;

        7D;L;H FH;I;DJI;DI;E<7DN?;JO <H;GK;DJ79KJ;F7D?97JJ79AI 7D:8EKJIE<:7HA:;FH;II?ED

        IEI;L;H;J>7JI>;>7I;NF;H?;D9;:;F?IE:;I:7OIEH;L;DM;;AIBED=M>;H;I>;97DDEJ




                                                    
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        B;7L;>;H8;:HEEC />;I;7H;799ECF7D?;:8OJEJ7BBEIIE<JHKIJ F;HL7I?L;<;7H 7D:7:;;F 

        ?D:;B?8B;=H?;< 

     (EH=7D >7I IK<<;H;: J7D=?8B;  C;:?97BBO 9E=D?P78B; F>OI?97B 7?BC;DJI 7D: C;:?97B

        9ED:?J?EDI =HK;IEC;7D:>;7HJ8H;7A?D=?DD7JKH; J>7J JE7H;7IED78B;:;=H;;E<C;:?97B

        7D: I9?;DJ?<?9 9;HJ7?DJO  M;H; FHEN?C7J;BO  :?H;9JBO  7D: <EH;I;;78BO 97KI;: 7D: EH

        ;N79;H87J;:8OJ>;0D?L;HI?JOVI ;<;D:7DJ-O7DVI 7D:;<;D:7DJ"HEL;IV8H;79>;IE<

        JHKIJ7D:L?EB7J?EDIE<(EH=7DVIH?=>JI 

     (EH=7DVI 9>7H79J;H 7D: H;FKJ7J?ED >7L; 8;;D KJJ;HBO :;IJHEO;: 8O J>; 0D?L;HI?JOVI 

        ;<;D:7DJ-O7DVI 7D:;<;D:7DJ"HEL;IVC?I9ED:K9J .>;>7I8;;DJ;HC?D7J;:<HEC>;H

        ;CFBEOC;DJ 7D: BEIJ @E8I J>7J >7: 8;;D E<<;H;: JE >;H 7I 7 H;IKBJ E< J>;I; ;L;DJI  #;H

        FHEIF;9JI<EH;CFBEOC;DJM?J>J>;JOF;IE<9ECF7D?;I7D:;DJ?J?;IM>E;CFBEO>;H<EHC;H

        F;;HI >7L; 8;;D IK8IJ7DJ?7BBO H;:K9;:  ?< DEJ ;B?C?D7J;: ;DJ?H;BO  (EH=7DVI 9>7D9;I JE

        7JJ;D: =H7:K7J; I9>EEB  IK9> 7I B7M I9>EEB  >7L; 8;;D IK8IJ7DJ?7BBO H;:K9;:  ?< DEJ

        ;B?C?D7J;:;DJ?H;BO 

     CED=J>;C7DO?HED?;I8EHD<HECJ>?IJH7L;IJO JME7H;F7HJ?9KB7HBOFE?=D7DJ!?HIJ?IJ>;

        ?HEDOJ>7J?JM7I(EH=7DVIMEH:IM>?9>H;<;HH;:JEFHEJ;9J?D=J>;FHEJ;IJ;HI?D7=EE:

        D7JKH;:C7DD;HJE7H7D:ECF;HIEDJ>7JMEKB:8;F;HL;HJ;:7D:F;HI;9KJ;:7ISJHK;J>H;7JIT

        M>;D J>; J;;D7=;HVI H79?7B >7H7IIC;DJ 7D: J>H;7JI 7=7?DIJ (EH=7D 8EJ> E< M>?9> M;H;

        9ED<?HC;:JE>7L;E99KHH;:8OJ>;0D?L;HI?JOM;H;:;;C;:8OJ>;L;HOI7C;F;EFB;JE8;

        E<DECEC;DJM>7JIE;L;H 2>?B;J>;J;;D7=;HVIMEH:I7D:79JI7D:9ED:K9JM;H;J>;L;HO

        :;<?D?J?EDE<H79?IC7D:J>H;7JI (EH=7DVIMEH:IM;H;J>;L;HOEFFEI?J;E<J>H;7J;D?D= 

     .;9ED:?IJ>;?HEDOJ>7J7CED=7BBJ>;9B7CEH7D:>7JH;:E<S2>?J;+H?L?B;=;TFHE9B7?C;:

        8OJ>;J;;D7=;H7D:J>;0D?L;HI?JO9ECCKD?JO ?J?I(EH=7DM>E9EC;I<HECJHKBO>KC8B;




                                                      
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        8;=?DD?D=I M>EI;<7J>;H 7BE97B9EF :?;:M>;DI>;M7I7<H;I>C7D?D>?=>I9>EEB M>EI;

        CEJ>;H 7BE97BDKHI; M7II;H?EKIBO?D@KH;:I;L;H7BCEDJ>IB7J;H H;GK?H?D=(EH=7DJEI;HL;

        7I>;H97H; =?L;H (EH=7D?IDEJ<;J;:8O0D?L;HI?JO<79KBJOC;C8;HIEHBE97BF;EFB;E<

        FHEC?D;D9;  (EH=7D B?L;I ?D 7 HKH7B F7HJ E< J>; EKDJO  (EH=7D M;DJ JE 7 FK8B?9

        9ECCKD?JO9EBB;=;IEI>;9EKB:C7JH?9KB7J;JEJ>;0D?L;HI?JO (EH=7DMEHA;:CKBJ?FB;

        @E8I IEC;J?C;IED7<KBB J?C;87I?I M>?B;I>;M7I7IJK:;DJ (EH=7D;C8E:?;IJ>;JOF;

        E<F;HIEDRJ>;F;HIEDM>ED;L;H=EJ78H;7A M>ED;L;H>7:7DOJ>?D=>7D:;:JE>;H M>E

        >7:JEMEHA 7D:<7BB 7D:H?I; 7D:MEHAIEC;CEH;@KIJJE;L;D=;JJ>;9>7D9;JE8;9EC;

        7IJK:;DJ7JJ>;0D?L;HI?JOE<1?H=?D?7RM>E+H;I?:;DJ-O7DIEL?HJKEKIBO;NJEBI?D>?I

        9EDLE97J?ED7D:9ECC;D9;C;DJIF;;9>;I (EH=7D?IJ>;EFFEI?J;E<FH?L?B;=;: 

     />;0D?L;HI?JOE<1?H=?D?7?IJ>;ECCEDM;7BJ>VI<B7=I>?F?DIJ?JKJ?EDE<>?=>;HB;7HD?D= 

        $J?I7FK8B?9I9>EEB7D:7IF?H;IJE8;ED;E<EKHD7J?EDVISDKHI;H?;IE<:;CE9H79O T+7H;DJI

        <HEC 7HEKD: J>; MEHB: 7D: J>; 9?J?P;DI E< J>; ECCEDM;7BJ> ;DJHKIJ J>; 0D?L;HI?JO JE

        ;:K97J; DKHJKH; :;L;BEF 7D:FHEJ;9J?JIOEKD=F;EFB; />EI;:KJ?;IJEFHEJ;9J?D9BK:; 

        CEIJ;IF;9?7BBO J>;I7<;=K7H:?D=E<IJK:;DJIVF>OI?97BI7<;JO7D:J>;?HI79H;:9?L?BH?=>JI 

     />; 0D?L;HI?JOVI CEIJ I;D?EH  >?=> FHE<?B;  7D: >?=> H7DA?D= B;7:;HI 7J J>; J?C; 

        IF;9?<?97BBO?D9BK:?D=;<;D:7DJ+H;I?:;DJ%7C;I -O7D7D:;<;D:7DJBB;D2 "HEL;I 

        J>;D ;7DE<.JK:;DJI EM;:(EH=7D;JJ?D=;H7:KJOE<KJCEIJ97H;JEFHEJ;9J>;H<HEC

        H79; 87I;: >7H7IIC;DJ  9O8;H IJ7BA?D=  7D: ;L;D :;7J> J>H;7JI ;C7D7J?D= <HEC J>;

        0D?L;HI?JO9ECCKD?JO />;7:C?D?IJH7JEHI7BIEEM;:(EH=7D;JJ?D=;HJ>;:KJOJEFHEJ;9J

        >;H 9?L?B H?=>JI E< <H;; IF;;9> 7D: J>; H?=>J JE 8; <H;; E< H79; 87I;: :?I9H?C?D7J?ED 

        >7H7IIC;DJ 7D::?IF7H7J;JH;7JC;DJ8OJ>;0D?L;HI?JO 




                                                     
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     ;IF?J;J>;?H7M7H;D;IIE<J>EI;:KJ?;I:;IF?J;J>;?H;NJ;DI?L;ADEMB;:=;7D:;NGK?I?J;

        <7C?B?7H?JOM?J>(EH=7D;JJ?D=;HVI9B;7HBO;IJ78B?I>;:H?=>JI7D:J>;9EDIJ?JKJ?ED7B7D:

        ;:K97J?ED B7MI =EL;HD?D= J>; 0D?L;HI?JOVI 79JI 7D: EC?II?EDI KD:;H J>; IF;9?<?9

        9?H9KCIJ7D9;I8;<EH;J>;C:;IF?J;ADEM?D=J>7J(EH=7DM7I8;?D=F;HI;9KJ;:FKH;BO<EH

        FHEJ;9J;:IF;;9>7D:DEJ>?D=;BI;7J7BB:;IF?J;ADEM?D=J>7J(EH=7DVIMEH:I J>;L;HO

        IF;;9> 7J ?IIK; ?D J>?I 97I;  E99KHH;: ?D 7 C7JJ;H E< I;9ED:I  JME C?B;I 7M7O <HEC J>;

        0D?L;HI?JO:;IF?J;ADEM?D=J>7JJ>;IF;;9>7J?IIK;JEEAFB79;EDJ>;EKJIA?HJIE<7FHEJ;IJ

        J>7J >7: DE E<<?9?7B 7IIE9?7J?ED EH H;B7J?ED JE J>; 0D?L;HI?JO  :?: DEJ ?DLEBL; 0D?L;HI?JO

        IJK:;DJI  <79KBJO  EH 7:C?D?IJH7JEHI ?D 7DO E<<?9?7B EH ;L;D ?:;DJ?<?78B; C7DD;H  7D: M7I

        J7A?D=FB79;7J7J?C;M>;D0D?L;HI?JOEF;H7J?EDI7D:<79?B?J?;IM;H;;DJ?H;BOI>KJ:EMD

        :K;JE*1$ :;IF?J;ADEM?D=J>7J(EH=7DM7IDEJ;DHEBB;:?DEHJ7A?D=7DOEDB?D;

        0D?L;HI?JO 9EKHI;I EH F7HJ?9?F7J?D= ?D 7DO 0D?L;HI?JO 79J?L?J?;I JE J>; ;NJ;DJ 7DO IK9>

        79J?L?J?;I;N?IJ;:7J7BB:KH?D=J>;IKCC;HSBE9A:EMDIT:;IF?J;FEII;II?D=9ECF;BB?D=

        ;L?:;D9;E<(EH=7DVI79JK7B?DDE9;D9;:;IF?J;ADEM?D=7D:8;?D=9EDI9?EKI7D:<KBBO

        7M7H;E<J>;JEJ7B78I;D9;E<9H;:?8B;;L?:;D9;J>7J9EKB:IKFFEHJJ>;799KI7J?EDI7=7?DIJ

        (EH=7D 7D: <?D7BBO  :;IF?J; J>;?H F;HIED7B ADEMB;:=; J>7J CKBJ?FB; 0D?L;HI?JO

        ?DL;IJ?=7JEHI>7:9ED9BK:;:J>7J(EH=7DM7I?DDE9;DJE<J>;9>7H=;I7=7?DIJ>;HJ>;I;

        ;<;D:7DJI7D:J>;;<;D:7DJ0D?L;HI?JOF;HI;9KJ;: FHEI;9KJ;: 7D:FKD?I>;:(EH=7D

        ;JJ?D=;H97KI?D=>;H;N9HK9?7J?D= ?HH;F7H78B;>7HC7D:FHE<EKD::7C7=;I 

     (EH=7D;JJ?D=;HM7IJEHC;DJ;: FK8B?9BOI>7C;: >KC?B?7J;: EIJH79?P;: 7D:FKD?I>;:

        M?J>EKJ7B;=7BEH<79JK7B87I?I 7BB8;97KI;E<>;HH79;  L;DM>;D<79;:M?J>J>;9ED9H;J;

        JHKJ>E<(EH=7DVI?DDE9;D9; J>;;L?:;D9;E<J>;?D@KIJ?9;IJ>7J>7:8;<7BB;D>;H 7D:J>;

        H;7B?JOJ>7JJ>;0D?L;HI?JOVIJH;7JC;DJ7D:FKD?I>C;DJE<(EH=7D>7:8;;D87I;:EDB?;I




                                                      
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         7D:=HEII;HHEHIE<B;=7B@K:=C;DJ ED8;>7B<E<J>;0D?L;HI?JO7D:>?CI;B< +H;I?:;DJ%7C;I

           -O7DF;HIED7BBO7D:?DJ;DJ?ED7BBOJEEADE79J?EDIE<7DOA?D:JEFHEJ;9J(EH=7D 7?:;:

         J>;97CF7?=D7=7?DIJ>;H 7D:J>;D?DJ;DJ?ED7BBO:;FH?L;:(EH=7DE<>;H9B;7HBO;IJ78B?I>;:

         9EDIJ?JKJ?ED7BH?=>JIE<<H;;IF;;9>7D:;GK7BFHEJ;9J?EDEDK=KIJ  7BB8;97KI;E<

         J>;9EBEHE<>;HIA?D 

                                   " !#"

      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

      .K8@;9JC7JJ;H@KH?I:?9J?ED?IFHEF;HKD:;H0 .  Q?DJ>;0D?J;:.J7J;I?IJH?9J

         EKHJ<EHJ>;2;IJ;HD?IJH?9JE<1?H=?D?78;97KI;J>?IC7JJ;H7H?I;IKD:;HJ>;EDIJ?JKJ?ED

         7D: B7MI E< J>; 0D?J;: .J7J;I  IF;9?<?97BBO  J>; !?HIJ C;D:C;DJ E< J>; 0D?J;: .J7J;I

         EDIJ?JKJ?ED  J>; !EKHJ;;DJ> C;D:C;DJ E< J>; 0D?J;: .J7J;I EDIJ?JKJ?ED   0 .  

         QQ   7D: 7D:/?JB;1$E<J>;?L?B-?=>JI9JE< <EKD:7J

         0 .  Q: 

      1;DK;?IFHEF;H?DJ>;0D?J;:.J7J;I?IJH?9JEKHJ<EHJ>;2;IJ;HD?IJH?9JE<1?H=?D?7

         KD:;H0 .  Q8;97KI;7BBE<J>;;L;DJI 79JI ;HHEHI 7D:EC?II?EDI=?L?D=H?I;JE

         J>;+B7?DJ?<<VI9B7?CIE99KHH;:M?J>?DJ>?I@K:?9?7B:?IJH?9J 

      />;0D?J;:.J7J;I?IJH?9JEKHJ<EHJ>;2;IJ;HD?IJH?9JE<1?H=?D?7FEII;II;I7D:C7O

         ;N;H9?I;F;HIED7B@KH?I:?9J?EDEL;H7BB;<;D:7DJIKD:;H7FFB?978B;B7M 

                                             ! 

      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

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      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

      (EH=7DBOI;;JJ?D=;H?I79?J?P;D7D:H;I?:;DJE<B8;C7HB;EKDJO 1?H=?D?7 .>;M7I

         8EHD?D27HH;DJED 1?H=?D?7 ?D7D:CEL;:7J7D;7HBO7=;JEB8;C7HB;EKDJO @KIJ

         EKJI?:;J>;?JOE<>7HBEJJ;IL?BB; (EH=7D?IJ>;EDBO9>?B:E<>;HCEJ>;H 7HO 7D:>;H

         B7J;<7J>;H 27OD; 7HO;JJ?D=;H?I7H;=?IJ;H;:DKHI;M>E>7IIF;DJJ>;B7IJ<?<J;;DO;7HI

         MEHA?D=7JJ>;0D?L;HI?JOE<1?H=?D?7VI>7HBEJJ;IL?BB;>EIF?J7B (EH=7DVI<7J>;H 27OD; 

         M7I H7?I;: ?D .9EJJIL?BB;  1?H=?D?7 7D: I;HL;: ?D B7M ;D<EH9;C;DJ 7I 7 FEB?9; E<<?9;H ?D

         >7HBEJJ;IL?BB;<EHJ>;8;JJ;HF7HJE<JME:;97:;I (EH=7D7:EH;:>;H:7:7D:7:C?H;:>?I

         F7II?ED<EHB7M;D<EH9;C;DJ "HEM?D=KF I>;M7DJ;:DEJ>?D=CEH;J>7DJE7JJ;D:9EBB;=;

         7J>;H:H;7CI9>EEB J>;0D?L;HI?JOE<1?H=?D?7 7D:F;H>7FIED;:7O8;9EC;7B7MO;H?D

         >7HBEJJ;IL?BB; 

      .7:BO  27OD; ;JJ?D=;H :?;: M>;D (EH=7D M7I @KIJ <?<J;;D O;7HI EB:  >7L?D= @KIJ

         9ECFB;J;:>;H<H;I>C7DO;7H7JB8;C7HB;#?=>.9>EEB M>?9>?I7FK8B?9I9>EEB #;M7I

         <?<JO ED; O;7HI EB:  (EH=7DVI <7J>;H :?;: ED K=KIJ  7D: J>7J :7J; MEKB: 8; <EH;L;H

         9EKFB;:M?J>>;H<7J>;HVI:;7J> ;C8B7PED;:?D>;HC?D: %KIJ<?L;CEDJ>IB7J;H (EH=7DVI

         CEJ>;HIK<<;H;:I;H?EKI B?<; 7BJ;H?D=?D@KH?;I?D7D799?:;DJJ>7J8HEA;8EJ>B;=I 7CED=

         EJ>;HI;H?EKIC;:?97B9ED:?J?EDI B;7L?D=>;H?CCE8?B;7D:KD78B;JE97H;<EH>;HI;B< I

         7H;IKBJ <EHJ>;H;C7?D:;HE<>;HIEF>ECEH;O;7H (EH=7D79J;:7I>;HCEJ>;HVIFH?C7HO

         97H;=?L;H #;H78?B?JOJEF7HJ?9?F7J;?DDEHC7B>?=>I9>EEB79J?L?J?;I7D:;D@EO7JOF?97B

         J;;D7=;HVIIE9?7BB?<;M7II;L;H;BOB?C?J;: 




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      2>;DJ>;J?C;97C;<EH(EH=7DJE7JJ;D:9EBB;=; J>;78I;D9;E<<?D7D9?7B7?:7D:>;H

         <7C?BOVIB?C?J;:H;IEKH9;IH;GK?H;:>;HJECE:?<O>;HFB7DI7D:7JJ;D:+?;:CEDJ1?H=?D?7

         ECCKD?JOEBB;=; );L;HJ>;B;II (EH=7DM7IH;IEBKJ;?D>;H:;J;HC?D7J?EDJEED;:7O

         8;9EC;7S27>EE T7I0D?L;HI?JOE<1?H=?D?7IJK:;DJI7H;ADEMD IEI>;I;J78EKJC7A?D=

         =EE:=H7:;I7D:MEHA?D=>;HM7OJ>HEK=>9ECCKD?JO9EBB;=;M?J>J>;?DJ;DJJEJH7DI<;H

         I9>EEBI 7<J;H JME O;7HI  /E :E IE  (EH=7D B?L;: 7J >EC; M>?B; MEHA?D= <KBB J?C; 7D:

         7JJ;D:?D= I9>EEB 7D: IJK:O?D= ED 7 <KBB J?C; 87I?I  (EH=7DVI 797:;C?9 F;H<EHC7D9; 7J

         +?;:CEDJ1?H=?D?7ECCKD?JOEBB;=;M7I;N9;FJ?ED7B 7D:I>;M7I799;FJ;:JE9EDJ?DK;

         >;HIJK:?;I7JJ>;0D?L;HI?JOE<1?H=?D?77I7C;C8;HE<J>;B7IIE< 

      0FED7HH?L7B?DJ>;!7BBE< (EH=7DM7I?DL?J;:JE@E?DJ>;9ECF;J?J?L;7D:FH;IJ?=?EKI

         +EB?J?97B +>?BEIEF>O  +EB?9O  7D: '7M C7@EH M?J>?D J>; EBB;=; E< HJI 7D: .9?;D9;I 

         (EH=7DM7IJ>H?BB;: ?H9KCIJ7D9;I:?9J7J;:J>7J(EH=7D9EDJ?DK;JEMEHAM>?B;FKHIK?D=

         >;HIJK:?;I 7BED=M?J>8;?D=8KH:;D;:M?J>IJK:;DJBE7DI (EH=7D7BIE9EDJ?DK;:JE7II?IJ

         7D:IKFFEHJ>;HCEJ>;H B?L?D=7J>EC;JE:EIE7D:>;BFM?J>;NF;DI;I7IM;BB (EH=7D

         F;HI;L;H;:7D:J>H?L;: 7D: <EH7J?C; M7I>7FFO .>;BEL;:>;H9B7II;I7D:BEL;:>;H

         I9>EEB />;D97C; 

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      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

      S/>; -;9JEH 7D: 1?I?JEHI E< J>; 0D?L;HI?JO E< 1?H=?D?7T ?I J>; E<<?9?7B  9EHFEH7J;  7D:

         IJ7JKJEHOD7C;<EHJ>;;DJ?JOADEMD7D:H;<;HH;:JE>;H;?D7I/>;0D?L;HI?JOE<1?H=?D?7

         EH  7BJ;HD7J?L;BO 7D: ?DJ;H9>7D=;78BO  ;<;D:7DJ />; 0D?L;HI?JO E< 1?H=?D?7  />;

         0D?L;HI?JOE<1?H=?D?7?I=EL;HD;:8O7E7H:E<1?I?JEHI M>EI;:KJ?;I7D:FEM;HI7H;




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         :;J;HC?D;:7D:9EDJHEBB;:8OJ>;IJ7JKJ;IE<J>;ECCEDM;7BJ>E<1?H=?D?7 7I7C;D:;:

         <HEC J?C; JE J?C; 8O J>; ";D;H7B II;C8BO  />; FEHJ?EDI E< J>; E:; E< 1?H=?D?7 J>7J

         FHEL?:;<EHJ>;=;D;H7BEH=7D?P7J?ED7D:=EL;HD7D9;E<J>;0D?L;HI?JOE<1?H=?D?7C7O8;

         <EKD:?D17 E:;.;9J?EDI    />;(7DK7BE<J>;E7H:E<1?I?JEHIE<J>;

         0D?L;HI?JOE<1?H=?D?79EDIJ?JKJ;IJ>;9EHFEH7J;8OB7MIE<J>;0D?L;HI?JOE<1?H=?D?7 7D:

         I;JI <EHJ> J>; E7H: E< 1?I?JEHIV ?DJ;HD7B EH=7D?P7J?ED  FHE9;:KH;I E< EF;H7J?ED  7D: J>;

         H;IFEDI?8?B?J?;I E< J>; 7:C?D?IJH7J?L; E<<?9;HI I;B;9J;: 8O ?JJE 97HHO EKJ ?JI :?H;9J?L;I E<

         FEB?9O7D:FHE=H7C 99EH:?D=JEJ>;(7DK7B J>;0D?L;HI?JOE<1?H=?D?7?I7

                FK8B?9 ?DIJ?JKJ?ED E< >?=>;H B;7HD?D= =K?:;: 8O 7 <EKD:?D= L?I?ED E<
                :?I9EL;HO  ?DDEL7J?ED  7D: :;L;BEFC;DJ E< J>; <KBB FEJ;DJ?7B E< J7B;DJ;:
                IJK:;DJI<HEC7BBM7BAIE<B?<; $JI;HL;IJ>;ECCEDM;7BJ>E<1?H=?D?7 J>;
                D7J?ED  7D: J>; MEHB: 8O :;L;BEF?D= H;IFEDI?8B; 9?J?P;D B;7:;HI 7D:
                FHE<;II?ED7BI 7:L7D9?D=  FH;I;HL?D=  7D: :?II;C?D7J?D= ADEMB;:=; 7D:
                FHEL?:?D=MEHB: 9B7IIF7J?;DJ97H; 
                
      IJE;<;D:7DJ/>;0D?L;HI?JOE<1?H=?D?7 J>;+B7?DJ?<<I;;AI7:;9B7H7JEHO@K:=C;DJ 

         ?D@KD9J?L;H;B?;< 7D:7JJEHD;OIV<;;I7D:9EIJIKD:;H0 .  QQ 7D:

         7D: /?JB; 1$  <EKD: 7J  0 .   Q:    7D: J>; <KBB ;NJ;DJ E< 9ECF;DI7JEHO

         :7C7=;IF;HC?JJ;:KD:;H7FFB?978B;B7M8O/?JB;1$ J7BBJ?C;I7D:?D7BB;L;DJIH;B;L7DJ

         7D:C7J;H?7BJEJ>?I79J?ED ;<;D:7DJ/>;0D?L;HI?JOE<1?H=?D?779J;:KD:;H9EBEHE<IJ7J;

         B7M7D:7KJ>EH?JO 

       !!# ! 

      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

      ;<;D:7DJ />; E7H: E< 1?I?JEHI ?I 7 I;F7H7J; 7D: :?IJ?D9J B;=7BBO 9E=D?P78B; ;DJ?JO 

         97F78B;E<IK?D=7D:8;?D=IK;: 7D:7FHEF;HF7HJOJE;<<;9JFHEIF;9J?L;?D@KD9J?L;H;B?;<

         <EH J>; +B7?DJ?<<  />; ;<;D:7DJ E7H: E< 1?I?JEHI ?I 8;?D= IK;: ?D ?JI E<<?9?7B 97F79?JO 



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         ;<;D:7DJ/>;E7H:E<1?I?JEHI>7I?JIEMDM;8I?J; ?JIEMDI;F7H7J;7D::?IJ?D9JE<<?9;I 

         7D:?JIEMD;CFBEO;;I IJ7<< ?D9BK:?D=7B;HAE<J>;E7H:E<1?I?JEHI7D:7.;9H;J7HOJE

         J>;E7H:E<1?I?JEHI 

      99EH:?D= JE J>;  E7H: 7I?9I EEA 7D: J>; .J7J;C;DJ E< 1?I?JEH -;IFEDI?8?B?JO

         ?D9BK:;:J>;H;?D ;<;D:7DJ/>;E7H:E<1?I?JEHI?IJ>;=EL;HD?D=8E:OE<J>;;<;D:7DJ

         0D?L;HI?JOSHE7:BO J>;E7H:>7IEL;HI?=>JH;IFEDI?8?B?JO<EH7:L7D9?D=J>;0D?L;HI?JOVI

         C?II?ED7D:=E7BI <EH7IIKH?D=J>;FHEF;HIJ;M7H:I>?FE<J>;0D?L;HI?JOVIH;IEKH9;I7D:

         7II;JI 7D:<EHCED?JEH?D=J>;?CFB;C;DJ7J?EDE<?DIJ?JKJ?ED7BIJH7J;=O7D:FEB?9?;I CED=

         J>; E7H:VI FH?C7HO 7D: CEIJ ?CFEHJ7DJ :KJ?;I 7H; 7FFE?DJ?D= 7D: ;L7BK7J?D= J>;

         0D?L;HI?JOVIFH;I?:;DJ TE7H:7I?9IEEA *<<?9;E<J>;E7H:E<1?I?JEHI F  

      ;<;D:7DJ/>;E7H:E<1?I?JEHIVM;8I?J;IJ7J;I

                  />;E7H:E<1?I?JEHI?I9ECFEI;:E<I;L;DJ;;DLEJ?D=C;C8;HI7FFE?DJ;:
                  8OJ>;"EL;HDEHE<J>;ECCEDM;7BJ>E<1?H=?D?7 IK8@;9JJE9ED<?HC7J?ED
                  8OJ>;";D;H7BII;C8BO <EHJ;HCIE<<EKHO;7HI $D7::?J?ED J>;E7H:E<
                  1?I?JEHI 7FFE?DJI  <EH 7 ED; O;7H J;HC  7 <KBB J?C; IJK:;DJ 7D: <79KBJO
                  C;C8;H7JJ>;0D?L;HI?JOE<1?H=?D?77IDED LEJ?D=C;C8;HIE<J>;E7H:
                  E<1?I?JEHI />;-;9JEH7D:1?I?JEHII;HL;7IJ>;9EHFEH7J;8E7H:<EHJ>;
                  0D?L;HI?JOE<1?H=?D?7 7D:7H;H;IFEDI?8B;<EHJ>;BED= J;HCFB7DD?D=E<
                  J>; 0D?L;HI?JO  />; E7H: 7FFHEL;I J>; FEB?9?;I 7D: 8K:=;J <EH J>;
                  0D?L;HI?JO 7D:?I;DJHKIJ;:M?J>J>;FH;I;HL7J?EDE<J>;0D?L;HI?JOVIC7DO
                  JH7:?J?EDI ?D9BK:?D=J>;#EDEH.OIJ;C />;E7H:C7?DJ7?DIE<<?9;I?DJ>;
                  )EHJ>M;IJ 2?D= E< J>; -EJKD:7 7D: C;;JI <EKH J?C;I F;H O;7H  />;
                  C;;J?D=I7H;EF;DJEJ>;FK8B?9 8KJJ>;H;M?BB8;DEEFFEHJKD?JO<EHFK8B?9
                  9ECC;DJ 
                  
      J7BBJ?C;IH;B;L7DJJEJ>?I79J?ED J>;;<;D:7DJE7H:E<1?I?JEHI79J;:KD:;H9EBEHE<

         IJ7J;B7M7D:7KJ>EH?JO 

      #"# !02!" !! 

      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 




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      ;<;D:7DJI-;9JEH-E8;HJ #7H:?; 1?9; -;9JEH7HBEI( HEMD -E8;HJ( BK; (7HA

         / EMB;I  B?P78;J>( H7DM;BB />EC7I ;+7IGK7B; 0 ;HJH7C BB?I %H +7KB 

         #7HH?I 78KH '7J;;< (  .J;F>;D+ 'ED= (  +7KB(7DD?D= %7C;I (KHH7O 

         %E>D '  )7K  />; #EDEH78B; ' !  +7OD;  C7D:7 '  +?BB?ED  -79>;B 2  .>;H?:7D  7D:

         EK=B7I 2;JCEH;7H;C;C8;HIE<J>;9KHH;DJE7H:E<1?I?JEHIM>E7H; FKHIK7DJJE

         .;9J?ED E</>;(7DK7BE<J>;E7H:E<1?I?JEHIE<J>;0D?L;HI?JOE<1?H=?D?7 J7IA;:

         M?J>  7CED= EJ>;H H;IFEDI?8?B?J?;I  J>; H;=KB7J?ED E< J>; =EL;HDC;DJ 7D: :?I9?FB?D; E<

         IJK:;DJI 

      />;+B7?DJ?<<:E;IDEJI;;A7DO<EHCE<<?D7D9?7B7M7H:EHF7OC;DJ<HEC7DO?D:?L?:K7B

         JHKIJ;; EH 1?I?JEH ?D >?I EH >;H ?D:?L?:K7B EH F;HIED7B 97F79?JO  $DIJ;7:  J>; ?D:?L?:K7B

         1?I?JEHI7H;8;?D=D7C;:FH?C7H?BO?DJ>;?HE<<?9?7B97F79?J?;I 8KJ7BIE?DJ>;?H?D:?L?:K7B

         7D:F;HIED7B97F79?J?;I ?D7D78KD:7D9;E<97KJ?ED <EHJ>;IEB;FKHFEI;E<I;9KH?D=7D:

         ?CFB;C;DJ?D=FHEIF;9J?L;?D@KD9J?L;H;B?;<JEJ>;C7N?CKC;NJ;DJF;HC?JJ;:8O7FFB?978B;

         B7M J7BBJ?C;IH;B;L7DJJEJ>;ECFB7?DJ J>;$D:?L?:K7B;<;D:7DJ1?I?JEHI79J;:7D:

         M?BB8;79J?D=KD:;H9EBEHE<IJ7J;B7M7D:7KJ>EH?JO 

      ! ! %

      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

      ;<;D:7DJ %7C;I       -O7D  M>E ?I 8;?D= IK;: ?D >?I E<<?9?7B  ?D:?L?:K7B  7D: F;HIED7B

         97F79?J?;I  ?I J>; D?DJ> +H;I?:;DJ E< J>; 0D?L;HI?JO E< 1?H=?D?7 7D: M7I I;HL?D= ?D J>7J

         FEI?J?ED7J7BBJ?C;IH;B;L7DJJEJ>?I79J?ED +KHIK7DJJE.;9J?EDI 7D:E</>;

         (7DK7BE<J>;E7H:E<1?I?JEHIE<J>;0D?L;HI?JOE<1?H=?D?7




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                 IJ>;FH?D9?F7B7:C?D?IJH7J?L;E<<?9;HE<J>;0D?L;HI?JO7D:9>?;<;N;9KJ?L;
                 E<<?9;H E< J>; 97:;C?9 ?L?I?ED  J>; +H;I?:;DJ I>7BB >7L; J>; <EBBEM?D=
                 FEM;HI7D::KJ?;I
                                                       
                 
                 />;+H;I?:;DJI>7BB7J7BBJ?C;IC7?DJ7?D9EH:?7BH;B7J?EDI>?FIM?J>J>;
                 IJK:;DJI =K7H:?D=7D:FHEJ;9J?D=J>;?H8;IJ?DJ;H;IJI
                 
                                                       
                 
                 />;+H;I?:;DJI>7BB8;H;IFEDI?8B;<EHJ>;:?I9?FB?D;E<IJK:;DJIM?J>J>;
                 FEM;HJE?CFEI;7FFHEFH?7J;F;D7BJ?;I?D9BK:?D=;NFKBI?ED
                 
                                                       
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      *H?=?D7BBO <HEC );M %;HI;O  +H;I?:;DJ -O7D DEM B?L;I 7J 7HHVI #?BB  J>; 0D?L;HI?JO

         +H;I?:;DJVIC7DI?ED79HEII<HECJ>;-EJKD:7EDJ>;0D?L;HI?JO"HEKD:I?D>7HBEJJ;IL?BB; 

         />; L7BK; E< +H;I?:;DJ -O7DVI 7DDK7B 9ECF;DI7J?ED 7D: 8;D;<?JI FKHFEHJ;:BO ;N9;;:

            F;H>7FI<7HCEH; +H;I?:;DJ-O7DH;9;?L;:>?IKD:;H=H7:K7J;:;=H;;<HEC37B;

         0D?L;HI?JO =7HD;H?D=    7D:+>?;J7&7FF7>EDEHI 7D:H;9;?L;:>?I@KH?I

         :E9JEH7J;<HECJ>;0D?L;HI?JOE<1?H=?D?7VI.9>EEBE<'7M M>;H;>;7JJ;D:;:ED7S<KBB

         I9>EB7HI>?FT7D:=H7:K7J;:DKC8;HED;?D>?I9B7II?D <J;HB7MI9>EEB +H;I?:;DJ

         -O7DI;HL;:JM?9;7I7<;:;H7B@K:?9?7BB7M9B;HA <?HIJ?DJ>;0D?J;:.J7J;IEKHJE<FF;7BI

         <EHJ>;)?DJ>?H9K?J7D:J>;D<EHJ>;>?;<%KIJ?9;E<J>;0D?J;:.J7J;I.KFH;C;EKHJ 

         +H;I?:;DJ-O7DFH79J?9;:B7M8H?;<BO?DJ>;<?;B:E<9EDIJ?JKJ?ED7BB7M8;<EH;H;JKHD?D=JE

         797:;C?7  M>;H; >; IF;DJ <?<J;;D O;7HI 7I 7 B7M FHE<;IIEH  CEIJBO 7J J>; 0D?L;HI?JO E<

         1?H=?D?7  8KJ M?J> IJ?DJI 7I 7 L?I?J?D= FHE<;IIEH 7J #7HL7H: '7M .9>EEB 7D: 37B; '7M

         .9>EEB  $D   +H;I?:;DJ -O7D 8;97C; J>; ;7D E< #7HL7H:VI "H7:K7J; .9>EEB E<

          :K97J?ED M>;H;>;FH;I?:;:8;<EH;8;9EC?D=J>;0D?L;HI?JOE<1?H=?D?7VIFH;I?:;DJ?D

          +H;I?:;DJ-O7DVIFH?C7HO<?;B:IE<J;79>?D=M;H;9EDIJ?JKJ?ED7BB7M7D:;:K97J?ED

         B7M 7D: M>?B;?D797:;C?7 +H;I?:;DJ-O7D;L;D7H=K;:79EDIJ?JKJ?ED7BC7JJ;H8;<EH;J>;



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         0D?J;:.J7J;I.KFH;C;EKHJ<EH7B7MI9>EEB9B?D?9 +H;I?:;DJ-O7D>7IMH?JJ;DDKC;HEKI

         8EEAI  7HJ?9B;I  7D: FK8B?97J?EDI 7D: >7I J7K=>J DKC;HEKI 9B7II;I 7D: I;C?D7HI ED J>;

         IK8@;9JE<9EDIJ?JKJ?ED7BB7M7D:;:K97J?EDB7M7D:J>;S?DJ;HI;9J?EDTE<J>;JME<?;B:IE<

         IJK:O 

      ;<;D:7DJ+H;I?:;DJ-O7D?IJ>;0D?L;HI?JOE<1?H=?D?7VIIKFH;C;7D:KBJ?C7J;7H8?J;H7D:

         7:C?D?IJH7JEHEL;HIJK:;DJ:?I9?FB?D; ?JI?CFEI?J?ED7D:?JIH;IEBKJ?EDEHM?J>:H7M7B 7D:

         EL;HJ>;FHEJ;9J?EDE<;L;HOIJK:;DJVIS8;IJ?DJ;H;IJI T?D9BK:?D=J>;?HF>OI?97BI7<;JO7D:

         CEIJ<KD:7C;DJ7B9?L?BH?=>JI ;<;D:7DJ+H;I?:;DJ-O7D:E;IDEJ>7L;J>;B;=7B7KJ>EH?JO

         JEI>?HA 78HE=7J; EH:;B;=7J;>?IKBJ?C7J;H;IFEDI?8?B?J?;IEL;HIJK:;DJ:?I9?FB?D; 7D:>;

         ?IDEJB;=7BBOF;HC?JJ;:JE:;B;=7J;7M7O>?I:KJ?;IJEFHEJ;9J>?IIJK:;DJIVS8;IJ?DJ;H;IJIT

         7D: J>;?H 9EDIJ?JKJ?ED7BBO FHEJ;9J;: 9?L?B H?=>JI  ;L;D KD:;H J>; =K?I; E< SIJK:;DJ I;B<

         =EL;HDC;DJ T

      $D<79J7D:?CFEHJ7DJBO J>;0D?L;HI?JOE<1?H=?D?7VIEMD.J7J;C;DJE<.JK:;DJIV-?=>JI

         7D:-;IFEDI?8?B?J?;I?D9BK:;I7IK8I;9J?ED:;:?97J;:JES7I;I;9?:;:8OJ>;+H;I?:;DJ T

         />7JIK8I;9J?EDFHEL?:;I

                   />; 0D?L;HI?JO +H;I?:;DJ C7O ?D?J?7J;  ?DJ;HL;D; ?D  7D: FH;;CFJ
                   FHE9;;:?D=I8;<EH;7DO0D?L;HI?JO8E:OM>;DJ>;+H;I?:;DJ:;J;HC?D;I ?D
                   >?IEH>;HIEB;:?I9H;J?ED J>7J;IJ78B?I>;:FHE9;II;IM?BB8;KD78B;JEJ?C;BO
                   EH FHEF;HBO 7:@K:?97J; 7 97I; EH 9ECFB7?DJ ?D9BK:?D=  8KJ DEJ B?C?J;: JE 
                   97I;I?DLEBL?D=IJK:;DJI7HH;IJ;: 9>7H=;: EH9EDL?9J;:E<9H?C?D7B9ED:K9J
                   EH EJ>;H I;H?EKI 9ED:K9J DEJ ?DLEBL?D= 9H?C?D7B FHE9;;:?D=I M>?9>
                   H;7IED78BO;D:7D=;HIEHJ>H;7J;DIJE:?IHKFJJ>;0D?L;HI?JO9ECCKD?JOEH
                   0D?L;HI?JOEF;H7J?EDI 
                   
                   ?I9?FB?D7HO FHE9;;:?D=I 8;<EH; J>; +H;I?:;DJ I>7BB DEJ 8; =EL;HD;: 8O
                   ;IJ78B?I>;: FHE9;:KH;I E< EJ>;H 0D?L;HI?JO 8E:?;I 7D: I>7BB J;HC?D7J;
                   FHE9;;:?D=I ?DLEBL?D= J>; I7C; 7BB;=;: C?I9ED:K9J 8;<EH; 7DO EJ>;H
                   0D?L;HI?JO8E:OKDB;IIEJ>;HM?I;7KJ>EH?P;:8OJ>;+H;I?:;DJ 
                   




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               />; @KH?I:?9J?ED E< 0D?L;HI?JO 8E:?;I I>7BB 8; IK8@;9J JE J>; 9EDJ?DK?D=
               7KJ>EH?JOE<J>;+H;I?:;DJJE:?I9?FB?D; IKIF;D: 7D: EH;NF;B7IFHEL?:;:
               78EL; 
               
      OEF;H7J?EDE<B7M J>;<79JK7B;<<;9JE<>?IF;HIED7B79JI ;HHEHI 7D:EC?II?EDI 7D:>?I

         EMD 7:C?II?EDI  +H;I?:;DJ -O7D M7I 7D: H;C7?DI JE J>?I :7O J>; IEB; F;HIED M?J> J>;

         7KJ>EH?JOJEH;D:;H7D:7FFHEL;J>;:;9?I?EDI ;<<EHJI IJH7J;=O H;IEBKJ?ED 7D::?IFEI?J?ED

         E<(EH=7D;JJ?D=;HVIIJK:;DJ;NF;H?;D9;7D:>;HC?IJH;7JC;DJ8OJ>;0D?L;HI?JO7D:J>;

         0D?L;HI?JOVI C?I>7D:B?D= E< J>?I C7JJ;H  ?D9BK:?D= J>; ?DIJ7DJ B?J?=7J?ED  J 7BB J?C;I

         H;B;L7DJJEJ>?IECFB7?DJ +H;I?:;DJ-O7D79J;:KD:;H9EBEHE<IJ7J;B7M7D:7KJ>EH?JO 7D:

         >;?IIK;:?D>?IF;HIED7B ?D:?L?:K7B 7D:E<<?9?7B97F79?J?;I 

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      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

      ;<;D:7DJBB;D2 "HEL;I9KHH;DJBOB?L;I7D:MEHAI?DJ>;.J7J;E<);M3EHA M>;H;>;

         ?I ;CFBEO;: 7I J>; .;D?EH 1?9; +H;I?:;DJ 7D: >?;< .JK:;DJ NF;H?;D9; *<<?9;H <EH

         .OH79KI;0D?L;HI?JO?D.OH79KI; 

      '?A; +H;I?:;DJ -O7D  (H  "HEL;I 7JJ;D:;: J>; 0D?L;HI?JO E< 1?H=?D?7VI .9>EEB E< '7M 

         =H7:K7J?D=?D :KH?D=J>;I7C;J?C; F;H?E:+H;I?:;DJ-O7DM7I7IJK:;DJJ>;H; <J;H

         B7MI9>EEB (H "HEL;IFH79J?9;:B7M7JJ>;JB7DJ7 ";EH=?7E<<?9;E<7D?DJ;HD7J?ED7BB7M

         <?HCJ>7J9B7?CIJE;CFBEO7FFHEN?C7J;BOB7MO;HI79HEIII;L;DJ;;DE<<?9;I FHEL?:?D=

         7:L?IEHO B?J?=7J?ED 7D:JH7DI79J?ED7BB;=7BI;HL?9;IJE9B?;DJIMEHB:M?:; (H "HEL;IM7I

         7 B?J?=7JEH ?D J>; <?;B: E< ;CFBEOC;DJ B7M  M>?9> C;7DJ J>7J >; 8;97C; FHE<;II?ED7BBO

         L;HI;:7D:ADEMB;:=;78B;78EKJJ>;9?L?BH?=>JIB7MI7D:J>;EH?;IJ>7J<EHCJ>;8;:HE9AE<

         ;CFBEOC;DJ:?I9H?C?D7J?ED7D:H;J7B?7J?ED9B7?CI (H "HEL;IHEI;JEJ>;B;L;BE<;GK?JO




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         F7HJD;H8;<EH;B;7L?D=J>;FH79J?9;E<B7M7D:H;JKHD?D=JE>7HBEJJ;IL?BB; 1?H=?D?7M>;H;

         >;799;FJ;:7FEI?J?EDM?J>J>;0D?L;HI?JOVI;F7HJC;DJE<.JK:;DJ<<7?HI?D JJ>;

         0D?L;HI?JO (H "HEL;I;N>?8?J;:7<7C?B?7H?JOM?J>;:K97J?EDB7M7D:9EDIJ?JKJ?ED7BB7M

         J>7J 8HEK=>J >?=> FK8B?9 FH7?I; <HEC KD?L;HI7BBO 8;BEL;: <EHC;H >?;< .JK:;DJ <<7?HI

         *<<?9;H+7JH?9?7( '7CFA?D M>EM7IH;FEHJ;:JE>7L;9ECC;DJ;:J>7J(H "HEL;IVB;=7B

         879A=HEKD: 7D: ADEMB;:=; E< !?HIJ C;D:C;DJ ?IIK;I 7D: J>;?H 7FFB?97J?ED JE >?=>;H

         ;:K97J?EDM7I7SA;OJE>?IIK99;II T

      $D (H "HEL;IM7IFHECEJ;:JEJ>;FEI?J?EDE<IIE9?7J;1?9;+H;I?:;DJ7D:;7D

         E<.JK:;DJI 7HEB;>;E99KF?;:KDJ?B $D;L?:;D9;H;B7J;:JEJ>?I97I; (H "HEL;I

         7:L?I;:(EH=7DJ>7J?D>?IEF?D?ED J>;:;9?I?EDJEF;HI;9KJ;EHFKD?I>>;H ?D9BK:?D=J>;

         :;9?I?ED JE :;9B7H; >;H 9ED:K9J EH IF;;9> 7 SJ>H;7JT 7D: J>;D :;9?I?ED JE ?=DEH; J>H;7JI

         7=7?DIJ(EH=7D7D:H;<KI;JEJ7A;7DO79J?EDIJEFHEJ;9J>;H  SKBJ?C7J;BOH;IJ5;:6TM?J>

         >?C 

      J 7BB J?C;I H;B;L7DJ JE J>?I ECFB7?DJ  (H  "HEL;I 79J;: KD:;H 9EBEH E< IJ7J; B7M 7D:

         7KJ>EH?JO 7D:>;?IIK;:?D>?IF;HIED7B ?D:?L?:K7B 7D:E<<?9?7B97F79?J?;I 

                                             #!! 

      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

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  
      />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 




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      .EC;J?C;I>EHJBO7<J;H+( ED!H?:7O %KBO  78EKJ<EHJO <?L;C?DKJ;I8;<EH;

         IKDI;J (EH=7D;JJ?D=;H 7:?C?DKJ?L; JM;DJO ED; O;7H EB:MEC7D B;<J<EH>EC;7<J;H7

         JM;BL; >EKHMEHA:7O 

      (EH=7DB?L;I?DJ>;EKDJO @KIJEKJI?:;?JOB?C?JI 

      (EH=7D:HEL;7.K87HKIJ7J?EDM7=ED7D:JEEAJ>;;N79JHEKJ; M?J>EKJ:;L?7J?ED J>7JI>;

         JEEA;L;HOI?D=B;J?C;FH?EHM>;DI>;B;<JJ>?IF7HJ?9KB7HMEHAFB79;JE=E>EC; 

      (EH=7DVIHEKJ;JEEA>;HEDJE#?=>.JH;;J M>?9>?I78KIOJME M7OHE7:B?D;:M?J>B7M

         <?HCI  ?JO 7D: EKDJO 8K?B:?D=I  7D: EJ>;H 8KI?D;II;I  *D CEIJ :7OI  #?=> .JH;;J ?I

         >;7L?BOJH7<<?9A;: 

      *D J>7J ;L;D?D=  7I J>; IKD M7I I;JJ?D=  (EH=7D JKHD;: B;<J EDJE #?=> .JH;;J ?D J>;

         EMDJEMD7H;7JE=E>EC; J>?DA?D=78EKJJ>;KF9EC?D=M;;A;D: 7D:C7O8; <?D7BBO 

         >7L?D=7B?JJB;J?C;E<<<HECJ>;JME@E8II>;M7IMEHA?D=JEIKFFEHJ>;H<7C?BO7D:>;HI;B< 

      I(EH=7D:HEL;JEM7H:IJ>;8BE9A8;JM;;D/>?H:.JH;;J) 7D:!EKHJ>.JH;;J) ED

         #?=> .JH;;J  M;BB 8;BEM J>; IF;;: B?C?J R 7 HEKJ; I>; >7: :H?L;D >KD:H;:I E< J?C;I

         FH;L?EKIBOM?J>EKJ?D9?:;DJRI>;9EKB:I;;L;>?9B;I?D<HEDJE<>;H8KJ:?:DEJADEMJ>7J

         >;HHEKJ;M7I9ECFB;J;BO8BE9A;: 

      ;JM;;DJ>;JMEI?:;IJH;;JI 8KJIJ?BBED#?=>.JH;;J J>;SC7?DJ>EHEK=><7H; T7I(EH=7D

         97C;JE7IJEFM>;H;JH7<<?9M7I7J79ECFB;J;IJ7D:IJ?BB I>;H;7B?P;:J>7JI>;9EKB:FHE9;;:

         DE<KHJ>;H .>;;7I;:>;H97HJEJ>;B;<JI?:;E<J>;HE7:7D:79J?L7J;:>;H>7P7H:B?=>JI 

      JJ>7JCEC;DJ (EH=7D:?:DEJADEM

              J>7JJH7<<?9ED#?=>.JH;;J7D:ED7:@79;DJIJH;;JIJ>7J9EKB:I;HL;7I7:;JEKHEH

                 C;7DIE<;=H;IIM7IJEJ7BBO8BE9A;:<EHL;>?9KB7HJH7<<?9




                                                    
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 21 of 102 Pageid#: 21




           J>7JJH7<<?9M7I8;?D=8BE9A;:8OSH79?7B@KIJ?9;FHEJ;IJ;HIT7<<?B?7J;:M?J>7=HEKF

              EH=HEKFIADEMD7IS'(TEHSB79A'?L;I(7JJ;HT

           J>7JIEC;E<J>;FHEJ;IJ;HIM;H;7BIE7IIE9?7J;:M?J> 9B7?C;:C;C8;HI>?F?DBE97B

              9>7FJ;HIE< EH>7:F7HJ?9?F7J;:?DH7BB?;I7D:FHEJ;IJI?DLEBL?D=S)/$! T7D7DJ?

              IE9?7B L?EB;DJ 7D7H9>?IJ;NJH;C?IJ=HEKF

           J>7JJ>;FHEJ;IJ;HIM;H;IJ7=?D=7SDE?I;:;CEDIJH7J?ED TEHS)*$.  (* T?D

              J>;?HF7HB7D9; ?DLEBL?D=J>;BEK:7D:F>OI?97B:?IHKFJ?EDE<JH7<<?9 8KI?D;II;I 7D:

              :?D;HI?D:EMDJEMD>7HBEJJ;IL?BB;

            J>7JJ>;FHEJ;IJM7IKDF;HC?JJ;:7D:S?BB;=7B T799EH:?D=JEFEB?9;H;FEHJI

       !    J>7J>7HBEJJ;IL?BB;+EB?9;E<<?9;HIM;H;FKHFEI;<KBBO78I;DJEHMEKB:8;?DL?I?8B;

              SEDI9;D;T7D:DEJ:?I9;HD?8BOFH;I;DJ

       "    J>7JJ>;FHEJ;IJ;HI<7?B;:EHH;<KI;:JEKI;7D:?D<79J:?:DEJKI;7DO87HH?97:;I 

              87HH?;HI  EH 9>?97D;I E< 7DO A?D: M>7JIE;L;H JE C7D7=; F;:;IJH?7D EH L;>?9KB7H

              JH7<<?9

       #    J>7J J>; S)*$.   (* T ?DLEBL;: C;=7F>ED;I  LKB=7H 7D: 7==H;II?L; 9>7DJI 

              LKB=7H 7D: E<<;DI?L; I?=DI  7D: 87DD;HI 8;?D= 7<<?N;: JE FK8B?9 7D: FH?L7J;

              FHEF;HJO

       $    J>7JFHEJ;IJ;HIM;H;F>OI?97BBO=7J>;H;:7D:=7J>;H?D=ED#?=>.JH;;J ?DJH7<<?9 ED

              7DEHC7BBO8KIOIJH;;J ?D<HEDJE<J>;>7HBEJJ;IL?BB; B8;C7HB;EKDJO%KL;D?B;

              7D:EC;IJ?9-;B7J?EDIEKHJ>EKI; IJ7D:?D= I?JJ?D= 7D:?DIEC;97I;IAD;;B?D=

              ?DJ>;HE7:

       %    J>7JJ>;FHEJ;IJ;HI7D:J>;?HEH=7D?P;HI<7?B;:EHH;<KI;:JEC7A;7DO;<<EHJJE7B;HJ

              ?DDE9;DJ  KD?DLEBL;: 8OIJ7D:;HI  F;:;IJH?7DI  EH :H?L;HI E< J>;?H FHEJ;IJ  J>;?H




                                                 
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             ?DJ;DJ?EDI EHJ>;C;7DI8OM>?9>KD?DLEBL;:F;EFB;9EKB:I7<;BO7LE?:J>;FHEJ;IJ

             7D:B;7L;J>;7H;7

       &   J>7J FHEJ;IJ;HI 7D: J>;?H EH=7D?P;HI <7?B;: EH H;<KI;: JE J7A; 7DO FH;97KJ?EDI JE

             ;DIKH;J>;I7<;JOE<7DOF7HJ?9?F7DJEHDED F7HJ?9?F7DJEH7DOE<J>;FK8B?9EHFH?L7J;

             FHEF;HJO?DJ>;L?9?D?JO

       '   J>7JJ>;FHEJ;IJ;HI7D:J>;?HEH=7D?P;HI>7:?DL?J;:EH7B;HJ;:0D?L;HI?JO9ECCKD?JO

             C;C8;HI  ?D9BK:?D= FHEC?D;DJ <79KBJO M>E 9EDI?:;H J>;CI;BL;I JE 8; SH79?7B

             @KIJ?9;79J?L?IJI TJE7JJ;D:7D:F7HJ?9?F7J;?DJ>;:;CEDIJH7J?ED

       (   J>7JJ>EI;0D?L;HI?JOJ;79>;HI <79KBJOC;C8;HI<7?B;:EHH;<KI;:JE7B;HJ0D?L;HI?JO

             +EB?9; J>;0D?L;HI?JO9ECCKD?JO7JB7H=; EH0D?L;HI?JOIJK:;DJIM>EC?=>J>7L;

             H;C7?D;:?D>7HBEJJ;IL?BB;:KH?D=J>;SBE9A:EMDIT78EKJJ>;H79; 87I;:FHEJ;IJ

             7D:<7?B;:EHH;<KI;:JEJ7A;C;7IKH;IJE;DIKH;J>;I7<;JOE<J>;?HIJK:;DJIM>;J>;H

             J>;IJK:;DJIM;H;F7HJ?9?F7DJI?DJ>;FHEJ;IJEHDEJ

       )   J>7JJ>;FHEJ;IJ;HI7D:EH=7D?P;HI>7:KD:;HJ7A;DDE;<<EHJIM>7JIE;L;HJE;DIKH;

             J>;FH;I;D9;E<7I?D=B;<?HIJH;IFED:;H  (/ 9HEM:C7D7=;C;DJFHE<;II?ED7B EH

             JH7<<?9 L;>?9KB7H EH F;:;IJH?7D C7D7=;H 7D:  ?D <79J  DE IK9> ?D:?L?:K7B M7I

             FH;I;DJ

       *   J>7J7CED=J>;FHEJ;IJ;HIEHS79J?L?IJITFH;I;DJED#?=>.JH;;JM;H;C;D7D:IEC;

             MEC;DM?J>;NJ;DI?L;9H?C?D7B>?IJEH?;IJ>7J?D9BK:;:L?EB;DJ9H?C;9>7H=;I IEC;

             E<M>ECM;H;7IIE9?7J;:M?J>7D7H9>?IJ 7DJ? IE9?7B=HEKFIM>EI;;AJEEL;HJ>HEM

             EKHD7J?EDVI9?L?97D:IE9?;J7B?DIJ?JKJ?EDI

       +   J>7JJ>;FHEJ;IJEH=7D?P;HI7D:F7HJ?9?F7DJI<7?B;:EHH;<KI;:JEFHEL?:;7DO<EHCE<

             JH7<<?9 EH 9HEM: 9EDJHEB  7D: DED; E< J>; FHEJ;IJ;HI C7:; 7DO ;<<EHJ JE :?H;9J




                                                 
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                ED9EC?D= 97HI EH KD?DLEBL;: F;:;IJH?7DI 7M7O <HEC J>; 7H;7 E< FHEJ;IJ  :;IF?J;

                7CFB;EFFEHJKD?J?;IJE:EIE7D:

         ,    J>7J9;HJ7?DEH=7D?P;HI7D:FHEJ;IJ;HIM;H;;GK?FF;:M?J>EH:?D7HO?DIJHKC;DJI7D:

                C7J;H?;BJ>7JH?EJ;HI7D:FHEJ;IJ;HI79HEIIJ>;9EKDJHO>7:B;7HD;:JE9EDL;HJ7D:

                KI; ?D L?EB;DJ FHEJ;IJI IK9> 7I 8?9O9B;I  BED=  B7H=;  HEBB;: KC8H;BB7I  >;BC;JI 

                8?9O9B;BE9AI 7IM;BB7IEJ>;H?CFB;C;DJIIK9>7I>7D:>;B:H7:?E:;L?9;IM7BA?;

                J7BA?;I7D:9;BBF>ED;IKJ?B?P?D=IE9?7BC;:?77D:S7FFITIK9>7I2>7JIFF7D:

                ?I9EH: 7CED=EJ>;HI 

      />EK=>J>;FHEJ;IJ ?JIEH?=?DI ?JIF7HJ?9?F7DJI 7D:?JIEH=7D?P;HIM;H;JEJ7BBOKDADEMDJE

         (EH=7D7II>;IBEMBOFKBB;:>;H97HJE7IJEFEDJ>7J%KBO;L;D?D= J>;<EBBEM?D=<79JI7H;

         JHK;7D:97DDEJ8;7D:>7L;D;L;H8;;D9H;:?8BO:?IFKJ;:

             J>; 0D?L;HI?JO E< 1?H=?D?7 FH;C?I;I 7D: EF;H7J?EDI M;H; I>KJJ;H;: 7D: SBE9A;:

                :EMD T .9>EEB M7I DEJ ?D I;II?ED  7D: (EH=7D M7I DEJ ;DHEBB;: ?D 9B7II;I EH

                79J?L?J?;I  />; 0D?L;HI?JO >7I D;L;H 9B7?C;: J>7J I9>EEB M7I ?D I;II?ED EH J>7J

                (EH=7DM7I;D=7=;:?D7DO0D?L;HI?JOFHE=H7C 9B7II EH79J?L?JOEDJ>7J:7O

             J>; FHEJ;IJ E99KHH;: SE<< 97CFKIT 7I J>7J J;HC 7D: F>H7I; 7H; KD:;HIJEE: 7D:

                :;<?D;:8O7FFB?978B;B7M7D:<;:;H7BFH;9;:;DJ7FFB?978B;JEJ>;!?HIJC;D:C;DJ

                7D:JEJ>;0D?L;HI?JO $D<79J J>;;DJ?H;F>OI?97B<EEJFH?DJE<J>;FHEJ;IJJEEAFB79;

                JME C?B;I 7M7O <HEC 0D?L;HI?JO FHEF;HJO  E<< E< 7D: 7M7O <HEC 0D?L;HI?JO

                FH;C?I;I 97CFKI SJ>;"HEKD:I T<79?B?J?;I EHFHEF;HJO />;0D?L;HI?JOE<1?H=?D?7

                >7I D;L;H 9B7?C;: J>7J J>; FHEJ;IJ JEEA FB79; ED 7DO 0D?L;HI?JO FHEF;HJO EH

                <79?B?J?;I




                                                    
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 24 of 102 Pageid#: 24




             J>;0D?L;HI?JOE<1?H=?D?7:?:DEJI7D9J?ED IFEDIEH EH=7D?P; EHC7D7=;J>;FHEJ;IJ

                7D:>7ID;L;H9B7?C;:JE>7L;I7D9J?ED;: IFEDIEH;: EH=7D?P;: EHC7D7=;:J>;

                FHEJ;IJ

             :;IF?J;8;?D=EH=7D?P;:8O70D?L;HI?JOE<1?H=?D?7IJK:;DJ7D::;IF?J;J>;<79JJ>7J

                C7DO E< J>; J;;D7=;HVI <EBBEM;HI 7D: <;BBEM 79J?L?IJI 7H; 0D?L;HI?JO IJK:;DJI 

                <79KBJO 7D:IJ7<< J>;0D?L;HI?JOE<1?H=?D?7<7?B;:EHH;<KI;:JEJ7A;7DOC;7IKH;I

                E<7DOA?D:JEFHEJ;9JEHM7HD?JIIJK:;DJIEHC;C8;HIE<J>;0D?L;HI?JOE<1?H=?D?7

                9ECCKD?JOJ>7JJ>;FHEJ;IJM7IE99KHH?D=

              J>; 0D?L;HI?JO <7?B;: EH H;<KI;: JE M7HD EH 7:CED?I> IJK:;DJI EH 9ECCKD?JO

                C;C8;HI EH 7DOED; KD:;H ?JI @KH?I:?9J?ED H;=7H:?D= J>; 8;>7L?EH J>; 0D?L;HI?JO

                ;NF;9J;:E<J>;CI>EKB:J>;O7JJ;D:EH<?D:J>;CI;BL;IFH;I;DJEH97K=>J?DJ>;

                C?:IJE<J>;FHEJ;IJ

         !    J>;0D?L;HI?JOE<1?H=?D?7<7?B;:EHH;<KI;:JEKD:;HJ7A;;L;DJ>;CEIJC?D?C7BE<

                C;7IKH;IJEFHEJ;9J?JIIJK:;DJI<HEC>7HCEHJ>H;7JIE<>7HC7IIE9?7J;:M?J>J>;

                FHEJ;IJ7D:

         "    J>;0D?L;HI?JOE<1?H=?D?7<7?B;:EHH;<KI;:JEFB79;J>;0D?L;HI?JOVIL7IJC;:?97B 

                B7M;D<EH9;C;DJEHIJK:;DJIKFFEHJI;HL?9;IEDSH;7:O7B;HJ T/>;0D?L;HI?JO<7?B;:

                JE KJ?B?P; ?JI ;DEHCEKI  >?=> J;9>DEBE=O ?DIJHKC;DJI E< C7II 9ECCKD?97J?ED R

                9ECCKD?JO M?:;;C7?BI 9ECCKD?JO M?:;J;NJC;II7=;I IE9?7BC;:?7RJE7B;HJ

                C;C8;HIE<?JI9ECCKD?JOJ>7J7'(FHEJ;IJMEKB:8;KD:;HM7O 

      (EH=7DRJ?H;:7D:H;7:O<EH7D?9;D?=>J7D:M;;A;D:7J>EC;M?J>>;HCEJ>;H7<J;H7

         BED= >7H:JM;BL; >EKHI>?<JE<MEHARAD;MDED;E<J>?IM>;DI>;F7HA;:>;H97H FKJED




                                                  
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         >;H IKH=?97B C7IA  79J?L7J;: >;H >7P7H: B?=>JI 7D: IJ7HJ;: M7BA?D= JEM7H:I 7 ?JO E<

         >7HBEJJ;IL?BB;:KCFJHK9A8BE9A?D=#?=>.JH;;JJE;NFBEH;@KIJ>EMI>;9EKB:=;J>EC; 

      (EH=7D9EKB:I;;J>7JI;L;H7BFH?L7J; 9?L?B?7DL;>?9B;IM;H;FEI?J?ED;:ED#?=>.JH;;J7D:

         ED!EKHJ>.JH;;J) DEJEDBO8BE9A?D=#?=>.JH;;J8KJ7DOHEKJ;E<:;JEKH7IM;BB 

      (EH=7D 9EKB: DEJ I;; 7DO FEB?9; E<<?9;HI EH B7M ;D<EH9;C;DJ FH;I;D9; E< 7DO A?D: 

         7DOM>;H; 

      (EH=7D 9EKB: DEJ I;; 7DO 87HH?97:;I  87HH?;HI  EH 9>?97D;I C7D7=?D= L;>?9KB7H EH <EEJ

         JH7<<?9 8;97KI;DED;M;H;FH;I;DJ 

      K;JE>;H:?C?DKJ?L;>;?=>J7D:J>;I?P;E<J>;JHK9A7D:J>;I;JJ?D=E<J>;IKD (EH=7DVI

         L?;M E< J>; FHEJ;IJ 8;OED: J>; >EE: E< J>; :KCF JHK9A M7I ;NJH;C;BO B?C?J;:  2>7J

         (EH=7D9EKB:CEIJBOI;;M7I7B7H=;=HEKFE<FHEJ;IJ;HII?JJ?D=7D:AD;;B?D=?DJ>;C?::B;

         E<#?=>.JH;;J CEH;J>7D7<;ME<M>ECM;H;:H;II;:7BB?D8B79AEH:7HA9BEJ>?D= 

      (EH=7DM7II;L;H7B97HB;D=J>IEHCEH;<HEC>;H97H />;JHK9AVI:H?L;H I?:;M?D:EMM7I

         EF;D J>;;D=?D;M7IHKDD?D= 7D:72>?J;C7B;E<?D:;J;HC?D7J;7=; ?:;DJ?<?;:?DFEB?9;

         H;FEHJI7I'7D:ED.>?<<B;JJ M7I?DJ>;:H?L;HVII;7J 

      (H .>?<<B;JJIFEA;JE(EH=7D 7IA?D=>;H?D7<H?;D:BO7D:9EKHJ;EKIC7DD;H?<I>;M7I

         SEA7O TFH;IKC78BO8;97KI;>;H>7P7H:B?=>JIM;H;?BBKC?D7J;: .>;H;IFED:;:J>7JI>;

         M7IS<?D;T7D:J>;D9ECC;DJ;:J>7JI>;>EF;:>;M7I8;?D=F7?:M;BBJEMEHAED7!H?:7O

         D?=>J 

      (EH=7DJ>;DIFEA;<?<J;;DMEH:IJE(H .>?<<B;JJ7D:EDBO(H .>?<<B;JJ

                S2;BB ?JVI7=EE:J>?D=OEKVH;>;H;8;97KI;EJ>;HM?I;J>;O9EKB:8;C7:;IF;;:

                   8KCFI T

                !?<J;;DMEH:I 




                                                    
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           />;I; 7H; J>; <?<J;;D MEH:I J>7J J>; 0D?L;HI?JO E< 1?H=?D?7VI *<<?9; E< GK7B

              *FFEHJKD?JO 7D: ?L?B -?=>JIV FHE<;II?ED7B ?DL;IJ?=7JEHI 9ED9BK:;: J>7J (EH=7D

              IFEA;JE(H .>?<<B;JJ7<J;H7D;7HBOO;7H BED=?DL;IJ?=7J?ED 

           (EH=7D:E;IDEJH;97BBM>;J>;HI>;B7K=>;:M>;DI>;IFEA;J>;MEH:I 8KJI>;

              :E;I H;97BB I7O?D= J>; MEH:I ?D 7 C7DD;H ?DJ;D:;: JE 8; >KCEHEKI  97IK7B  7D:

              <H?;D:BO 

            (EH=7DM7IIJ7D:?D=7<7?H:?IJ7D9;<HEC>;H97H :H;II;:?DHKDD?D=J?=>JI <B?F

              <BEFI 7D:7J7DAJEF KD7HC;:?D7BBM7OI M?J>@KIJ7F>ED;7D:>;HA;OI?D>;H

              >7D:I M>;DI>;IFEA;JE(H .>?<<B;JJ 

       !    (EH=7DVIJED;M7I9EKHJ;EKI 9EH:?7B 7D:<H?;D:BO7D:I>;IC?B;:M?J>7FB;7I7DJ

              9EKDJ;D7D9;ED>;H<79; 

       "    (EH=7D :?: DEJ FE?DJ >;H <?D=;HI EH >7D:I 7J 7DOED; DEH BEEA 7M7O <HEC (H 

              .>?<<B;JJ DEH:?:I>;?CFBOEH?DJ?C7J;J>HEK=>JED;EH8E:OB7D=K7=;7DO<EHCE<

              J>H;7JEHC;D79?D=?DJ;DJ 

       #    (H .>?<<B;JJ:?:DEJH;IFED:M?J>IKHFH?I;EH<;7HEH9ED9;HD $D<79J (EH=7DVI

              9ECC;DJM7IIE?DDE9KEKIJ>7JM>;D7IA;:78EKJ?JB7J;H (H .>?<<B;JJ  #

                  

       $    (EH=7DIFEA;EDBOJE(H .>?<<B;JJ7D::?:DEJH;F;7JJ>;F>H7I;;L;H7=7?D 

       %    .?CFBO FKJ  (EH=7D ;JJ?D=;H :?: DEJ ?DJ;D: JE KJJ;H 7 J>H;7J  :?: DEJ J>H;7J;D

              7DOED; 7D:DEED;M>E>7I>ED;IJBOH;L?;M;:J>;<?<J;;DMEH:II>;IFEA;>7I;L;H

              9ED9BK:;:EJ>;HM?I; 




                                                  
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 27 of 102 Pageid#: 27




           &       (EH=7D :?: DEJ ADEM 7D: :?: DEJ I;; J>7J J>; J;;D7=;: SH79?7B @KIJ?9; 79J?L?IJT

                     FHEJ;IJ EH=7D?P;H M>E MEKB:  @KIJ CEC;DJI B7J;H  B7KD9> 7 <7BI; 7D: C7B?9?EKI

                     97CF7?=D 7=7?DIJ >;H  M7I FH;I;DJ ?D J>; :EMDJEMD 7H;7  />; J;;D7=;: 79J?L?IJ

                     MEKB: B7J;H 7:C?J J>7J I>; D;L;H >;7H: (EH=7D IF;7A 7D: MEKB: B7J;H 7:C?J JE

                     0D?L;HI?JOE<<?9?7BIJ>7J>;H799KI7J?EDI7=7?DIJ(EH=7DC7O>7L;8;;D87I;:SED

                     IEC;J>?D=I>;UC?I>;7H: VT

           '       (EH=7D:?:DEJF;HIED7BBOADEMJ>;J;;D7=;:79J?L?IJ :?:DEJADEMI>;EH=7D?P;:

                     EHM7I?DLEBL;:?DJ>;FHEJ;IJ 7D::?:DEJADEMI>;M7I?DJ>;L?9?D?JO (EH=7D

                     M7IDVJ IF;7A?D= JE 7DOED; 8KJ J>; JHK9A :H?L;H 7D: J>; J;;D7=;: 79J?L?IJ M7IDVJ

                     D;7H8O EH 7DOM>;H; D;7H (EH=7D EH >;H 97H EH ;L;D M?J>?D >;H I?=>J M>;D I>;

                     IFEA; 

        (EH=7DVI9EDL;HI7J?EDM?J>(H .>?<<B;JJEDBOE99KF?;:7<;MCEC;DJI 

        (EH=7DM7BA;:7HEKD:J>;B7H=;:KCFJHK9AJEE8I;HL;J>;FHEJ;IJJE=;J7I;DI;E<>EM

           BED=JH7<<?9C?=>J8;:;B7O;: 

        (EH=7DIK::;DBO8;97C;7M7H;J>7J7B7H=; 8;7H:;:C7DM;7H?D=7H;<B;9J?L;L;IJ7D:7

           =HEKFE<FHEJ;IJ;HII;;C;:JE8;:?H;9J?D=J>;?H7JJ;DJ?EDJE>;H 

        (EH=7D8;97C;7FFH;>;DI?L; 97BB;:>;HCEJ>;HED>;HF>ED;7D:GK?9ABOIJ7HJ;:M7BA?D=

           JEM7H:I>;H97H I;DI?D=:7D=;H 




  
            ,4(/5'(4(%4%%.!'%$!#4)6)34(!32%!$),9)$%.4)&)%$(%23%,&).4(%02%33!.$05",)#$/-!).2%'!2$).'4()3
  0!24)#5,!2-!44%24(%,!).4)&&!.$(%2#/5.3%,!2%2%&2!).).'&2/-53).'(%2.!-%).4()30,%!$).'"%#!53% 4(%
  !#4)6)347!3!4%%.!'%2!.$!345$%.47(%.4(%5,9   ).#)$%.4/##522%$ 4(%.)6%23)49!.$%&%.$!.43
  (!6% "%%. +./7. 4/ 53% !''2%33)6% ,)4)'!4)/. 4!#4)#3 !'!).34 /00/.%.43 5.$%2 4(% '5)3% /& :#/.&)$%.4)!,)49; !.$
  :3%#2%#9;/&-!44%23).6/,6).'345$%.43!.$345$%.42%#/2$3!.$ 4(%,!).4)&&!.$(%2#/5.3%,&%!22%4!,)!4)/.
  "%).':$/88%$;/202%*5$)#%$"94(%%&%.$!.43!.$4(%.)6%23)49#/--5.)49!3!2%35,4/&4()3,)4)'!4)/.&4(%
  /524).3425#434(%,!).4)&&4/)$%.4)&94(%!#4)6)34"9.!-%3(%)302%0!2%$4/)--%$)!4%,902/6)$%4(!4).&/2-!4)/.
  05",)#,9/25.$%23%!,(%,!).4)&&!.$(%2#/5.3%,).4%.$4/-/6%4(%/524&/2!002/02)!4%2%,)%&%.*/).).'!.9
  2%4!,)!4)/./22%4!,)!4/29-%!352%3"94(%%&%.$!.437(),%,)4)'!4)/.)30%.$).'


                                                               
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      />;8;7H:;:C7DJ>;D7FFHE79>;:>;H?D7IEC;M>7JC;D79?D=C7DD;H M?J>>?IF>ED;

         J>HKIJEKJM7H:I 7I?<H;9EH:?D=EHF>EJE=H7F>?D=>;H (EH=7D=;D;H7BBOI;DI;:EHH;97BB;:

         I;;?D=J>;C7D9?H9B;>;H97H8;<EH;7FFHE79>?D=>;H (EH=7DVI.K87HKVI879A8KCF;H?I

         7:EHD;: M?J> JME FHE FEB?9; IJ?9A;HI  ?D H;L;H;D9; 7D: >EDEH E< >;H <7J>;H  />; C7D ?I

         8;B?;L;:JE>7L;KJ?B?P;:;?J>;H7>7D:>;B:H7:?E:;L?9;EH7FFB?97J?EDIIK9>7I?I9EH:EH

         2>7JIFFED>?IIC7HJF>ED;JE7B;HJEJ>;HFHEJ;IJ;HIE<(EH=7DVIFH;I;D9; 

      />;C7D?DJ>;H;<B;9J?L;L;IJ>7II?D9;8;;D?:;DJ?<?;:7IFEII;II?D=79H?C?D7B>?IJEHO

         J>7J?D9BK:;I<;BEDO9>7H=;I7D:>7I7D;NJ;DI?L;>?IJEHO7JJ;D:?D=H7BB?;IEHFHEJ;IJIM>;H;

         9;HJ7?D7DJ? IE9?7B 7BB;=;:BOL?EB;DJ ;NJH;C?IJEH=7D?P7J?EDIM;H;FH;I;DJ 

      DEJ>;HC7D7FF;7H;:7BED=I?:;J>;8;7H:;:C7D?DJ>;H;<B;9J?L;L;IJ />?IC7DM7IJ7BB;H

         8KJIB?=>JBOJ>?DD;HJ>7DJ>;C7D?DJ>;H;<B;9J?L;L;IJ7D:M7IM;7H?D=7879AF79A7D:

         97HHO?D=7HEBB;: KFBED= B7H=;KC8H;BB7 J>?H:C7D@E?D;:J>;=HEKF 7BIEM;7H?D=7

         879AF79A  H?:?D= 7 8?9O9B; M>?9> ?I 7DEJ>;H ?DIJHKC;DJ KI;: 8O S)/$! JOF;T

         FHEJ;IJ;HI 

      *D9;(EH=7DM7I?DI?:;>;HL;>?9B; I>;I7M7B7H=;H=HEKFE<F;EFB;9EDL;H=?D=JEM7H:I

         >;H  8KJ  7=7?D  (EH=7D :?: DEJ I;; J>; MEC7D M>E MEKB: B7J;H 8; ?:;DJ?<?;: 7I J>;

         J;;D7=;: 79J?L?IJ EH=7D?P;H 7CED= J>;C 7D:  7=7?D  DE FEB?9; M;H; FH;I;DJ EH L?I?8B; 

         7DOM>;H; 

      (EH=7DVICEJ>;H7:L?I;:>;HJE=;J>EC;I7<;BORJ>;97BBM7I;D:;: 

      .K::;DBO JMEMEC;D 8KJDEJJ>;J;;D7=;:EH=7D?P;H79J?L?IJ 7FF;7H;: 97C;M?J>?D7

         <;M?D9>;IE<(EH=7DVI:H?L;HVII?:;M?D:EM7D:8;97C;L;HO7==H;II?L;?DJ>;?HMEH:I 

         9ECC;DJI JED; 7D:F>OI?97B:;C;7DEH 




                                                     
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      2?J>?DCEC;DJICKBJ?FB;FHEJ;IJ;HI@E?D;:J>;C I>EKJ?D=LKB=7H?J?;I7D:H79?7B;F?J>;JI7J

         (EH=7D 

      *D;EHCEH;E<J>;FHEJ;IJ;HIIJ7HJ;:IB7CC?D=J>;?H>7D:IEDJ>;97H ?D9BK:?D=J>;:H?L;HVI

         I?:; M?D:EM  />; ?CF79J ED J>; M?D:EM M7I IE <EH9;<KB J>7J (EH=7D <;7H;: J>; =B7II

         MEKB:8H;7A7J7DOCEC;DJ 

      (EH=7D97BB;:J>;FEB?9; 

      />;FHEJ;IJ;HIIKHHEKD:?D=(EH=7DVIL;>?9B;BEK:BO7D:7==H;II?L;BO@;;H;: J7KDJ;: 7D:

         CE9A;:(EH=7D 

      JIEC;FE?DJ J>;9HEM:7HEKD:(EH=7DVIL;>?9B;?D9BK:;:J>;J;;D7=;H79J?L?IJ 

      $DL?:;EIJ>7J7FF;7HJE>7L;8;;D;:?J;:EH7BJ;H;:8KJM;H;M?:;BO9?H9KB7J;:?D7:?=?J7B

         <EHC7J 8O J>; FHEJ;IJ;HI  J>; MEC7D M>E >7I I?D9; 8;;D ?:;DJ?<?;: 7I J>; J;;D7=;:

         S79J?L?IJT97D8;>;7H:O;BB?D=H79?7B;F?J>;JI7D:I9H;7C?D=GK;IJ?EDIIK9>7ISM>7J:?:

         I>;I7OT

      />EK=>;:?J;:7D:7BJ;H;: J>;I;L?:;EI;=C;DJI?D9BK:;DEJ>H;7JI8O(EH=7D;JJ?D=;H

         7D:9B;7HBOI>EMJ>7JJ>;J;;D7=;HD;L;HIFEA;M?J>(EH=7D;JJ?D=;H    

                      />;J;;D7=;H>7I7:C?JJ;:EDI;L;H7BE997I?EDI

         7D:?DI;L;H7BI;F7H7J;?DJ;HL?;MIJ>7JI>;D;L;H>;7H:(EH=7D;JJ?D=;HIF;7A I>;D;L;H

         >;7H:(EH=7D;JJ?D=;HJ>H;7J;D>;H 7D:I>;D;L;H>;7H:(EH=7DKJJ;HEHIF;7AJ>;F>H7I;

         ?D9BK:?D=J>;MEH:ISIF;;:8KCFI T

      (EH=7D>;7H:FHEJ;IJ;HIO;BB?D=H79?7BIBKHI7D:;F?J>;JI7J>;H 

      S&7H;DT

      S$JVI7&7H;DT

    S!K9A?D=9HO ?J9>T




                                                   
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 30 of 102 Pageid#: 30




    S.EC;E<KI<HECJ>;V>EE: M;=EDD7M>EEF>;H7IIEHM;=EDD7M>EEF>;H7II M>?9>

         ED;T

    />;;F?J>;JS&7H;DT?I7H79?7BIBKH:?H;9J;:7JEH78EKJ2>?J;MEC;D $J?IKI;:;N9BKI?L;BO

         7I7H79?7BIBKHM?J>DEI;9ED:7HOC;7D?D= />;;F?J>;J>7IDE7FFB?97J?EDJEF;EFB;EJ>;H

         J>7D2>?J;MEC;D 

    (EH=7DVIH79;?IS2>?J; T

    />;J;;D7=;:79J?L?IJVIH79;?ISB79A T

    />;<EH;=E?D=7H;@KIJIEC;E<J>;C7DOE<<;DI?L;7D:7==H;II?L;IBKHI7D:;F?J>;JI8;?D=

         >KHB;:7J(EH=7D 

    (EH=7DM7IFB79;:?D<;7HE<?CC?D;DJI;H?EKI8E:?BO>7HCI>;M7I7<H7?:<EH>;HF>OI?97B

         I7<;JO 

    !HECJ>;J?C;(EH=7DJKHD;:B;<JEDJE#?=>.JH;;JKDJ?BJ>;CEC;DJI7<J;HI>;H;JH;7J;:JE

         >;H 97H  IKHHEKD:;: 8O FHEJ;IJ;HI  I>; D;L;H I7M  IFEA; JE  EH 7::H;II;: J>; J;;D7=;:

         79J?L?IJ:H;II;:?D8B79A9BEJ>?D= M>EM7IDEMO;BB?D=FHE<7D?J?;I7D:H79?7BIBKHI7J>;H 

         7D:IJ7D:?D=?D<HEDJE<>;H97H 

    JJ>7JCEC;DJ (EH=7D:?:DEJADEM

                 J>7JJ>;J;;D7=;HM7IJ>;B;7:;H7D:ED;E<J>;EH=7D?P;HIE<J>;FHEJ;IJ

                 J>7JJ>;J;;D7=;H9B7?C;:JE8;7SH79?7B@KIJ?9;79J?L?IJTM>E<?HIJ8;97C;79J?L;?D

                    H79?7BFHEJ;IJI7D:79J?L?ICM>;DI>;M7I@KIJJM;BL;O;7HIEB: BIE J>;J;;D7=;H

                    >7: @KIJ 9ECFB;J;: >;H <H;I>C7D EH S!?HIJT O;7H E< 9EBB;=; 7J J>; 0D?L;HI?JO E<

                    1?H=?D?7




                                                        
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 31 of 102 Pageid#: 31




              J>7J J>; J;;D7=;H 7BIE >7: 9B7?C;: 7J L7H?EKI J?C;I JE 8; IEB;BO H;IFEDI?8B; <EH

                 JH?==;H?D= J>; ;L;DJI J>7J B;: JE J>; 0D?J; J>; -?=>J H7BB?;I  9EKDJ;H FHEJ;IJI 

                 FHEF;HJO:;IJHK9J?ED 7D:BEIIE<B?<;

              J>7J J>; J;;D7=;H >7: 8;;D JH;7J;: B?A; 7 9;B;8H?JO 8O J>; 0D?L;HI?JOVI CEIJ

                 FHEC?D;DJ <79KBJO C;C8;HI  IJK:;DJ B;7:;HI  7D: I;D?EH B;7:;HI>?F  $D <79J  >;H

                 B?A;D;II>7:8;;D;C8B7PED;:ED0D?L;HI?JO8KI;I7D:FEIJ;HI79HEII"HEKD:I 

               J>7JJ>;J;;D7=;H>;HI;B<8E7IJ;:J;DIE<J>EKI7D:IE<S<EBBEM;HITEDIE9?7BC;:?7

                 7D:EJ>;H9ECCKD?97J?ED?DIJHKC;DJI 7D:J>7J>;HS<EBBEM;HIT?D9BK:;:FHEC?D;DJ

                 0D?L;HI?JOE<<?9?7BI <79KBJO 7D:IJK:;DJI7D:

         !     J>7JJ>;J;;D7=;: H79?7B@KIJ?9;&7H;D >KDJ;H>7:<EKD:>;H&7H;D 

    />;>7HBEJJ;IL?BB;+EB?9;;F7HJC;DJVIH;FEHJMEKB:?D9BK:;7D;O;M?JD;IIVIE8I;HL7J?ED

         J>7JFHEJ;IJ;HIM;H;SHKI>?D=T(EH=7DVI97H 

    />;0D?L;HI?JOVIEMD?DL;IJ?=7J?EDMEKB:9ED9BK:;J>7JJ>;J;HCS&7H;DT?I7H79?7B;F?J>;J

         7D: J>7J J>; J;;D7=;H >;HI;B< 97BB;: (EH=7D 7 S&7H;DT DE B;II J>7D I;L;D J?C;I 7I I>;

         9?H9B;:(EH=7DVI97H 

    />;L;DEC7D:L;>;C;D9;E<J>;FHEJ;IJ;HVII9H;7CI J>;?HF>OI?97BFHEN?C?JOJE>;H 7D:

         J>; FEKD:?D= ED >;H 97H >7: J>; ;<<;9J E< FB79?D= (EH=7D ?D <;7H E< ?CC?D;DJ F>OI?97B

         :7D=;H 

    (EH=7D97BB;:FEB?9;M>;DED;E<J>;FHEJ;IJ;HIIJ7HJ?D=IB7CC?D=>;H>7D:EDJEJ>;97H

         M?J>;DEK=><EH9;JE8H;7A7M?D:EM 

    >7HBEJJ;IL?BB;FEB?9;E<<?9;HM>EM7ICED?JEH?D=J>;FHEJ;IJI<HEC7DKDC7HA;:L7D

         H;9;?L;:DEJ?9;E<7MEC7D?D:?IJH;II7D:H;IFED:;:JEJ>;97BB 




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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 32 of 102 Pageid#: 32




    2>?B;J>;79J?L?IJI<?HIJSHKI>;: TJ>;DIKHHEKD:;: J>;D8;7J7D:FEKD:;:ED>;H97H J>;

         FHEJ;IJ;HI ?D9BK:?D=J>;J;;D7=;:S79J?L?IJTB;7:;H 8BE9A;:(EH=7DVIL;>?9B;<HECCEL?D=

         ?D7D;<<EHJJE<KHJ>;H?DJ?C?:7J;7D:>7H7II>;H7D:FH;L;DJ>;H<HEC<B;;?D=<EHI7<;JO 

    />;J;;D7=;H9?H9B;:7HEKD:(EH=7DVI97HI;L;H7BJ?C;I IJEE:?D<HEDJE<(EH=7DVI97H 

         J7KDJ;:7D:CE9A;:(EH=7D I>EKJ;:FHE<7D?J?;I7J(EH=7D 7D:O;BB;:9ECC;DJI?DJ>;

         <EHCE<GK;IJ?EDI?D7I7H97IJ?9JED; $D<79J J>;J;;D7=;H97D8;>;7H:SM>EEF?D=T7D:

         CE9A?D=BOI7O?D=S7MMMM I>;VI9HO?D=T

    )EJED9;:?:J>;J;;D7=;H79J7<H7?:EH7FFH;>;DI?L;E<7J>H;7JE<7DOIEHJ7=7?DIJ>;HDEJ

         ED9;:?:J>;J;;D7=;H79J7I?<I>;8;B?;L;:J>7J(EH=7D>7:J>H;7J;D;:>;HDEJED9;:?:

         J>;J;;D7=;H79J7I?<I>;>;7H:(EH=7DIF;7A 7J7BB 

    *D9;7FEB?9;E<<?9;H7FF;7H;:7D:C7:;>?IFH;I;D9;ADEMD J>;FHEJ;IJ;HI:?IF;HI;:7D:

         (EH=7DM7I=?L;DHEECJE<EBBEMJ>;FEB?9;E<<?9;HVI:?H;9J?EDI :H?L?D=7M7O7J7L;HO

         IBEM ?:B?D=IF;;: JE7D;7H8OIJH;;J 

    <;MIJH;;JI7M7O M?J>J>;>7HBEJJ;IL?BB;FEB?9;E<<?9;HD;7H8O (EH=7D8HEA;:EMD 

         9HO?D=7D:I>7A?D= 7BED;?D>;H97H 

    (EH=7DFHE9;;:;:>EC; J>EHEK=>BO:?IJKH8;: I>7A;D 7D::?IJH7K=>J (EH=7D>EF;:J>7J

         J>;D?=>JC7H;I>;>7:M?JD;II;:7D:;NF;H?;D9;:M7IEL;H 

    0D<EHJKD7J;BO J>;J;;D7=;H7D:>;HCE8M;H;@KIJ=;JJ?D=IJ7HJ;: 

     ! "    % !#!   
        "
        
    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    2?J>?DCEC;DJIE<(EH=7DVI7HH?L7B7JJ>;FHEJ;IJ J>;FHEJ;IJ;HI8;=7D9ECCKD?97J?D=

         7CED=IJJ>;CI;BL;I7D:JEJ>;=;D;H7BFK8B?978EKJ(EH=7D 



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    />; J;;D7=;H JEEA JE >;H C7II?L; FB7J<EHC ED IE9?7B C;:?7 7D: IC7HJ F>ED; J;NJ

         7FFB?97J?EDIIK9>7I?I9EH:7D:2>7JIFFJE<7BI;BO7D:C7B?9?EKIBO799KI;(EH=7DE<

         H79?IC7D:9EDL;O?D=J>H;7JI

                   ! !$
               
               />;MEC7D?DJ>?IJHK9A7FFHE79>;:FHEJ;IJ;HI?D>7HBEJJ;IL?BB;7D:JEB:
               KIJ>7JM;MEKB:C7A;=EE:IF;;:8KCFIC?D:OEK 7FHEJ;IJ;HM7IA?BB;:
               8O7C7D?D797H?D>7HBEJJ;IL?BB;:KH?D=J>;H7BBO?D 
               
               B79A'?L;I(7JJ;H
               
    .>7H;7D:IFH;7:J>;O:?: 

    BBE<?JR;L;HO8?JE<?JRM7I<7BI;7D::;<7C7JEHO7D::;I?=D;:JE;D<B7C;7D:;DH7=;

         J>;9ECCKD?JO7D::;IJHEO(EH=7D;JJ?D=;HRJ>;S&7H;D T

    />;J;;D7=;HVI<7BI;7D::;<7C7JEHO9ECCKD?97J?EDIGK?9ABOM;DJSL?H7B T7D:<EBBEM;HI

         E<J>;79J?L?IJVIIE9?7BC;:?7FB7J<EHC>;HF;HIED7B/M?JJ;H799EKDJ7BED;8E7IJIE<CEH;

         J>7D   <EBBEM;HI  C7DO E< M>EC M;H; C;C8;HI E< J>; 0D?L;HI?JO 9ECCKD?JO 

         ?D9BK:?D= FHEC?D;DJ <79KBJO  IJK:;DJI  7D: ;L;D 7BKCD?  M;H; GK?9A JE @E?D J>; <H;DPO 

         7::?D=JEJ>;9O8;H >7H7IIC;DJJ>;CI;BL;IM>?B;7BIE7K=C;DJ?D=7D:S7CFB?<O?D=TJ>;

         >7H7IIC;DJ7D::;<7C7JEHO799KI7J?EDI 

    />;FK8B?97J?EDIEHFEIJI 7IJ>;O7H;97BB;: ?D9BK:;:H79?7B;F?J>;JI J>H;7JIE<L?EB;D9;

         ?D9BK:?D= =H7F>?9 7D: :?IJKH8?D= :;7J> J>H;7JI  9O8;H IJ7BA?D=  7D: S:ENN?D=T R J>;

         78>EHH;DJ7D::7D=;HEKIFH79J?9;E<FK8B?9BO8HE7:97IJ?D=7F;HIEDVI?:;DJ?JO ?C7=; 7D:

         F;HIED7B7D:FH?L7J;?D<EHC7J?ED?DJEEDB?D;FK8B?9<EHKCI 

    .EED  (EH=7DVI <KBB D7C;  ?C7=;  BE97B 7::H;II  B?9;DI; FB7J;  ;:K97J?ED >?IJEHO 

         ?D<EHC7J?ED 78EKJ >;H <7C?BO  7D: ;L;D F>EJE=H7F>I E< >;H :;9;7I;: <7J>;H 7 <EHC;H




                                                    
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         >7HBEJJ;IL?BB; FEB?9; E<<?9;H M;H; FB7IJ;H;: 8O J>; J;;D7=;H 7D: >;H <EBBEM;HI 79HEII

         IE9?7BC;:?7 M>;H;J>;OM;H;I>7H;: GKEJ;: 7D:H; FK8B?I>;:9EKDJB;IIJ?C;I 

    OM7OE<@KIJED;;N7CFB;

                "EE: CEHD?D= ;L;HOED; 8KJ B8;C7HB; #?=> =H7:  01 IJK:;DJ 7D:
                :7K=>J;HE<79EF (EH=7DBOI;;JJ?D=;H M>EJ>H;7J;D;:FHEJ;IJEHI?D
                >7HBEJJ;IL?BB;B7IJD?=>J8OI7O?D=<HEC>;H8BK;.K87HKJ>7JM;V:SC7A;
                =EE:IF;;:8KCFIT
                
    />?I 9O8;H 97CF7?=D  ?D9BK:?D= J>; H79?7B >7H7IIC;DJ  <7BI; 799KI7J?EDI  7D: J>H;7JI 

         =7HD;H;:J>EKI7D:IE<FK8B?9SL?;MI TSGKEJ;I TSH; FEIJI T7D:SH; JM;;JI T

    />;97CF7?=D?DLEBL;:>KD:H;:IE<9ECCKD?97J?EDI7D:?DJ;H79J?EDI (EH=7DM7I

              :;I9H?8;:7I7S<K9A?D=)7P?T

              :;<7C;:7I7SH79?IJ T

              :;I9H?8;:7ISIEC;ED;M>EFHECEJ;I:EC;IJ?9J;HHEH?ICT

              97BB;:7S9E::B;5:6TSB?JJB;M>?J;=?HBT

               97BB;:7SH79?IJ8?J9>TM>ES9>7D=;:>;HD7C;ED!79;8EEAT

         !     IBKHH;:7D:J7KDJ;:M?J>H79?7B;F?J>;JI 

    2?J>?DC?DKJ;I J>;J;;D7=;HVI97CF7?=D>7:IK99;;:;:?D<7BI;BO8H7D:?D=(EH=7D7I7

         SH79?IJTS:EC;IJ?9J;HHEH?IJTM>E>7:SJ>H;7J;D;:T>;H7D:9ECC?JJ;:M>7J7CEKDJ;:JE

         H79?7BBOCEJ?L7J;:S>7J;9H?C;I T

    />; F;HI;9KJ?ED E< (EH=7D JEEA 7D EC?DEKI 7D: 9>?BB?D= JKHD M>;D J>; J;;D7=;HVI

         <EBBEM;HI  M>E >7: 8;;D S97BB;: JE 79J?ED T FKJ J>;?H ?DJ;DJ?EDI JE >KHJ (EH=7D 7D: JE

         9ECC?JL?EB;D9;?DMH?J?D= <EH7BBJEI;;7D: F;H>7FI <EBBEMIK?J 

    />; J;;D7=;HVI 97CF7?=D  8HE7:97IJ 79HEII 7 L7IJ D;JMEHA  7K:?;D9;  7D: FB7J<EHC 

         ?D9BK:;: 7 CKBJ?JK:; E< :;7J> J>H;7JI  M?J> ;NFB?9?J FHEC?I;I JE >KHJ (EH=7D  JE JEHJKH;

         (EH=7D 7D:JEA?BB>;H?D=HK;IEC;7D:?D>KC7D;M7OI



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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 35 of 102 Pageid#: 35




           S   $<7DOJ>?D=I>;VIJ>;ED;78EKJJE8;=?L;DJE"E: T

           S"E=;J>;H   $VC=EDD7CEJ>;H<K9A?D==E=;J>;H    T/>?IJ>H;7JM7II9H;7C;:

              ?DF;HIED7I(EH=7DM7I7JJ;CFJ?D=JEH;JH;7J7D:;I97F;J>;SHKI>TE<F;EFB;?DJ;DJ

              ED:E?D=>;H>7HC

           S$<$;L;HI;;J>?IIJKF?: 7IIB?9;DI;FB7J;7HEKD:JEMD   ?JVIED T/>?I9B;7H7D:

              E8L?EKIJ>H;7JE<L?EB;D9;?I;IF;9?7BBO:7D=;HEKI8;97KI;J>;<EBBEM;H?CFB?;:J>7J

              >; I>;EF;H7J;I?D7D7H;7M>;H;(EH=7DB?L;I7D:J>7J>; I>;MEKB:8;>KDJ?D=<EH

              (EH=7D

           S#EM<K9A?D=;C87HH7II?D=   $M;DJJE>?=>I9>EEBMJ>7J<K9A?D=H79?IJ   O7BB

              8B7IJ >;H  >;H D7C;I (EH=7D ;JJ?D=;H    5 6T />; F;HIED7B K=B?D;II 7D: H7M

              L?EB;D9;E<J>?IJ>H;7JH;7BBOD;;:IDE<KHJ>;H;B78EH7J?ED

            *D; <EBBEM;H J>H;7J;D;: 7D: ;D9EKH7=;: EJ>;HI JE KI; 7:>;I?L;I 7D: =BK; B?A;

              IK8IJ7D9;IR?D9BK:?D=F>EJE=H7F>IE<J>;IK8IJ7D9;I7BED=M?J>J>;MEH:IS7FFBO

              B?8;H7BBOJEJ7?BF?F;TR<EHJ>;FKHFEI;E<97KI?D=97H8EDCEDEN?:;7IF>ON?7J?ED?D

              (EH=7DVI97H

       !    S)EJIE<7IJ(EH=7D 2;VH;EDJEOEK   T/>?IJOF;E<J>H;7J?IF;H>7FIJ>;CEIJ

              FIO9>EBE=?97BBOJEHC;DJ?D=E<7BB *D;D;;:DEJ8;79B7II?9II9>EB7HJEADEMJ>7J

              J>; J;;D7=;H 7D: >;H <EBBEM;HI >7: >KD= 7 L?HJK7B .MEH: E< 7CE9B;I EL;H

              (EH=7DVI>;7:7D:J>7J7DOCEC;DJ ?JMEKB:<7BB

       "    S/EH9> >;H <K9A?D= 97H  0F JE >;H ?< I>; M7DJI JE H;C7?D ?D ?J M>?B; ?J ?I 8;?D=

              :?I7HC;: T/>;=HK;IEC;7D:=H7F>?9D7JKH;E<J>?IJ>H;7J7D:J>;<79JJ>7JDEED;

              7IIE9?7J;:M?J>J>;0D?L;HI?JOE<1?H=?D?7;NFH;II;:7DO9ED9;HD78EKJ?JEHJEEA

              7DO 79J?ED E< 7DO A?D: 7H; F7HJ?9KB7HBO I>E9A?D=  );?J>;H J>; J;;D7=;H DEH J>;




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                 0D?L;HI?JOJEEA7DOIJ;FIJE:?I7LEMEH9ED:;CDJ>H;7JIIK9>7IJ>?I?DM>?9>J>;

                 MH?J;HFHEC?I;:JEI;J(EH=7DVI97HED<?H;7D:8KHD>;H7B?L;?DI?:;?J #OF;H8EB?9

                 7D:J>;7JH?97BB7D=K7=;D;;:DEJ8;;CFBEO;:JE799KH7J;BO97FJKH;J>;J;HHEHJ>7J

                 J>H;7JI B?A; J>?I ;LEA;: 7D: J>; <;7H 7D: 7FFH;>;DI?ED (EH=7D >7I ;NF;H?;D9;:

                 ;L;HOJ?C;I>;B;7L;I>;H>EKI; 

    I7BB;=;:78EL; J>;J;;D7=;HVI<EBBEM;HI7D:J>;H7DAIE<J>EI;F7HJ?9?F7J?D=?D>;HFHEJ;IJ

         ?D9BK:;: C;C8;HI E< BE97B 9>7FJ;HI EH BEEI;BO 9ED<?=KH;: 7<<?B?7J;I E< B7H=;H D7J?ED7B

         =HEKFIM>E>7L;8;;DB?DA;:JEH?EJI FHEF;HJO:;IJHK9J?ED 7D:;L;DCKH:;H !EH?DIJ7D9; 

         S#;DH?9E DJ?<7 ;DJH7B ECC7D:T H;<;HH;: JE (EH=7D 7I SH?L;H &7H;DT ?D ?JI

         FK8B?97J?EDI78EKJ>;H 

    />HEK=>J>;D?=>J ?DJEJ>;<EBBEM?D=CEHD?D= 7D:<EHC7DO:7OIJE<EBBEM J>;J;;D7=;HVI

         S97BB JE 79J?EDT 7I I>; J;HC;: ?J ?D MH?J?D= ;LEBL;: <HEC M?:;IFH;7:  C7B?9?EKI  7D:

         F7J;DJBO<7BI;:;<7C7J?ED JE>7H7IIC;DJ 8KBBO?D= 7D::;7J>J>H;7JI JE7C7II97CF7?=D

         JE>7L;(EH=7DFKD?I>;:8O7D:87D?I>;:<HECJ>;0D?L;HI?JOE<1?H=?D?7 

    />; J;;D7=;HVI S97BB JE 79J?EDT :;C7D:;: J>7J >;H <EBBEM;HI 9ED:K9J 7 C7II 9ECFB7?DJ

         97CF7?=DI;;A?D=(EH=7DVIF>OI?97B ;:K97J?ED7B7D:IE9?7B;NFKBI?ED7D:EIJH79?P7J?ED

         <HEC J>; 0D?L;HI?JO E< 1?H=?D?7 7D: ?JI 9ECCKD?JO  7BB ;DJ?H;BO FH;C?I;: ED >;H <7BI;

         799KI7J?ED CED=J>;J;;D7=;HVIC7DO:;C7D:I7D:S97BBIJE79J?EDT

                   ($'J>;I;01:;7DIDEMJE:;C7D:(EH=7D<79;9EDI;GK;D9;I<EH
                 >;H79J?EDI7D:J>7J01IJEF=H7:K7J?D=H79?IJI 
                 
                                                      
                 
                 +B;7I; FKJ FH;IIKH; ED J>; KD?L;HI?JO JE IJ7D: M?J> B79A 9ECCKD?JO
                 C;C8;HI ) ./0 )/. M>E M;H; :?H;9JBO J>H;7J;D;: 8O (EH=7D
                 BOI;;JJ?D=;HVI79J?EDI 
                 




                                                     
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         />; M?:;BO 8HE7:97IJ :;C7D: ?D9BK:;: J>; D7C;I 7D: 7::H;II;I E< FHEC?D;DJ 7D:

         ?D<BK;DJ?7B7:C?D?IJH7JEHI7JJ>;0D?L;HI?JOE<1?H=?D?7 

    )EJEDBO?IJ>;S97BBJE79J?EDT87I;:KFED CEJ?L7J;:8O 7D:8;97KI;E<H79; IF;9?<?97BBO

         ?D9BK:?D=(EH=7DVIH79;7D:MEKB:DEJ>7L;>7FF;D;:EHE99KHH;:S8KJ<EHT(EH=7DVI

         H79;  J>; 0D?L;HI?JO :E;I DEJ FEII;II ;L?:;D9; 7D: 97DDEJ FE?DJ JE 7DO ;L?:;D9;

         IKFFEHJ?D= 7 9ED9BKI?ED J>7J H79; M7I DEJ J>; I?D=KB7H  :H?L?D= <EH9; 7D: IEB; FKHFEI;

         8;>?D:J>;J;;D7=;HVI97CF7?=D />?IM7I7>7J; <?BB;: H79?IJ;<<EHJ8OJ>;J;;D7=;H7D:

         (EH=7D;JJ?D=;HM7IJ7H=;J;:8;97KI;E<>;HH79; 

    />;J;;D7=;H7D:>;H<EBBEM;HI:?H;9J;:J>;?H<7BI;9ECFB7?DJIJE0D?L;HI?JOE<<?9?7BIM>E

         7FF;7H JE >7L; 8;;D I;B;9J;: 8;97KI; J>;O M;H; F;H9;?L;: JE 8; 8?7I;: ?D <7LEH E< J>;

         J;;D7=;H7D:>;H97KI;E<SH79?7B@KIJ?9;T7D:MEKB:>7H8EHFH;@K:?9;7=7?DIJIJK:;DJIB?A;

         (EH=7D 

    $D7::?J?EDJEJ>;C7DOFK8B?I>;:FEIJIJ>H;7J;D?D=7D:>KC?B?7J?D=(EH=7D J>;J;;D7=;H

         FEIJ;:?D<EHC7J?EDCE9A?D=(EH=7DVI9EBB;=;C7JH?9KB7J?ED9>E?9;I7D:FHE9;IIR(EH=7D

         M7I7DEKJI?:;H7D:J>;J;;D7=;HM7DJ;:>;H<EBBEM;HIJEF;J?J?ED0D?L;HI?JOE<<?9?7BIM>E

         J>;O8;B?;L;:MEKB:DEJ97H;<EHEH78EKJ7FEEH=?HB<HECJ>;EKDJOM>E97C;JEJ>;

         L7KDJ;:0D?L;HI?JOE<1?H=?D?7<HEC+?;:CEDJ1?H=?D?7ECCKD?JOEBB;=; 

    .EEF;D7D:E8L?EKIM7IJ>?I?DJ;DJ ED;<EBBEM;HE<J>;J;;D7=;HFK8B?9BO9ECC;DJ;:J>7J

         J>;O I>EKB: I;B;9J ;<;D:7DJ BB;D "HEL;I  M>E MEKB: 8; S;IF;9?7BBO ?DJ;H;IJ;:T 7D:

         8?7I;: 8;97KI; J>;O9B7?C;: >;M7IF>OI?97BBO?D@KH;: :;;FBOMEKD:;: 7D:;CEJ?ED7BBO

         I97HH;:8OJ>;0D?J;J>;-?=>JFH;9KHIEH9ED<B7=H7J?EDIEDJ>;;L;D?D=E<K=KIJ  

    I7BB;=;:8;BEM ;<;D:7DJ"HEL;ID;L;H7:L?I;:(EH=7DEH>;H9EKDI;BJ>7J>;M7I7

         L?9J?CE<EHI97HH;:8OJ>;0D?J;J>;-?=>JJH7=;:O7D:J>7J>?I;CEJ?EDI <;;B?D=I 7D:




                                                     
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         8?7I;I H;=7H:?D= J>7J ?D9?:;DJ 9EKB: ?CF79J >?I F;H9;FJ?ED 7D: @K:=C;DJ E< (EH=7D EH

         9H;7J;9ED<B?9JIE<?DJ;H;IJH;=7H:?D=J>?IC7JJ;H 

    $DH;IFEDI;JEJ>;J;;D7=;HVIS97BBJE79J?ED TJ>;0D?L;HI?JOE<1?H=?D?7M7I?DKD:7J;:M?J>

         CEH; J>7D ED; >KD:H;: 9ECFB7?DJI 7=7?DIJ (EH=7D ?D L7H?EKI <EHCI  ?D9BK:?D= <EHC7B

         9ECFB7?DJI  EDB?D; IK8C?II?EDI  7D: J;B;F>ED?9 9ECFB7?DJI  />; 9ECFB7?DJI M;H;

         IK8IJ7DJ?7BBOI?C?B7H7D:C7J;H?7BBO?:;DJ?97BJEJ>;J;;D7=;HVI<7BI;>EE:I7D::;C7D:I<EH

         (EH=7DVI;NFKBI?ED 

    2?J>EKJ H;L?;M?D= 7 I?D=B; ?J;C E< ;L?:;D9; EH >;7H?D= (EH=7DVI L;HI?ED E< ;L;DJI 

         FHEC?D;DJ7D:?D<BK;DJ?7B<79KBJOC;C8;HI7D:IJK:;DJB;7:;HIHKI>;:JE9ED:;CD(EH=7D 

         7:@K:=;>;H=K?BJO 7D::;C7D:>;H;NFKBI?ED />;O8HE7:97IJJ>;I;FH;@K:?9?7B8;B?;<I7D:

         FEI?J?EDIJE7L7IJ7K:?;D9;J>7JDE:EK8J?D9BK:;:C7DOEHCEIJE<J>;0D?L;HI?JOE<<?9?7BI

         7D:IJK:;DJIM>EMEKB:8;97BB;:KFED8O;<;D:7DJI"HEL;I7D:-O7DJEF7II@K:=C;DJ

         KFED(EH=7D?DJ>;L;HOD;7H<KJKH; 

    *D;IK9><79KBJOC;C8;H M>EE99KF?;I7FH;IJ?=?EKIFEI?J?ED7D:;D@EOI7B7H=;<EBBEM?D=

         7D:7K:?;D9;J>;<79KBJOC;C8;HVIF;HIED7B/M?JJ;H799EKDJ7BED;>7ICEH;J>7D 

         <EBBEM;HI 9ED:;CD;: (EH=7D         IK==;IJ?D= J>7J (EH=7D

         I>EKB:8;7HH;IJ;: 

    />;0D?L;HI?JOE<1?H=?D?7VI.JK:;DJEKD9?B7D:J>;0D?L;HI?JO%K:?9?7HOECC?JJ;;7H;

         EH=7D?P7J?EDIJ>7J;D@EO>?=>FH;IJ?=;7D:?D<BK;D9;J>HEK=>EKJJ>;0D?L;HI?JO9ECCKD?JO 

         0D:;HJ>;0D?L;HI?JOVIEF;H7J?D=FEB?9?;I7D:FHE9;:KH;I J>;.JK:;DJEKD9?B7D:S0%T

         7H;;79>9EDI?:;H;:JE8;7DS7=;D9OTE<J>;0D?L;HI?JOJ>7JSF;H<EHCI:KJ?;IJOF?97BBO

         C7D7=;:8OFHE<;II?ED7BIJ7<<7JEJ>;HI9>EEBI T/>;7=;D9?;I7H;S0D?L;HI?JOIFEDIEH;:

         7D:IKFFEHJ;:T7D:;D@EOS<KBBB?78?B?JO9EL;H7=;7D:IJ7<<IKFFEHJ T/>;H;<EH; 7=;DJI7D:




                                                   
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         E<<?9?7BIE<J>;I;0D?L;HI?JOEH=7D?P7J?EDI7H;0D?L;HI?JO79JEHIR7=;DJI7D:E<<?9?7BIE<

         J>;0D?L;HI?JOR7D:M>;DJ>;O79J ;HH EHEC?J J>;O:EIEKD:;H9EBEHE<IJ7J;B7M7D:

         0D?L;HI?JO7KJ>EH?JO 

    *DJ>;L;HOM;;A;D:J>;?D9?:;DJE99KHH;: 8;<EH;JME<KBB:7OI>7:;B7FI;: J>;+H;I?:;DJ

         E<J>;0D?L;HI?JOE<1?H=?D?7.JK:;DJEKD9?B M>E?I70D?L;HI?JO79JEH7D:7=;DJ79J?D=

         KD:;H 9EBEH E< IJ7J; B7M 7D: 0D?L;HI?JO 7KJ>EH?JO  FK8B?I>;: 7 IJ7J;C;DJ 9ED:;CD?D=

         (EH=7DM?J>EKJH;L?;M?D=7I?D=B;?J;CE<;L?:;D9; M?J>EKJC;;J?D=(EH=7D M?J>EKJ

         >;7H?D=>;HL;HI?EDE<;L;DJI 7D:M?J>EKJH;L?;M?D=J>;B7MI7D:7KJ>EH?J?;IJ>7JMEKB:

         =EL;HDJ>?I9EDJHEL;HIO

             8IEBKJ;BO:?I=KIJ?D= .>;AD;MJ>;>?IJEHO 7D:I>;AD;MM>7JI>;M7I
             :E?D= F;HIEDM>EC7A;IJ>?IA?D:E<J>H;7JI>EKB:DEJ8;7IJK:;DJ7J
             01 />;H;97D8;DE9ECCKD?JOE<JHKIJM?J>F;EFB;B?A;>;H?D?J 
             
    (;C8;HIE<EJ>;H>?=>FH;IJ?=;EH=7D?P7J?EDI ?D9BK:?D=J>;0% MEKB:>7L;H;9;?L;:J>;

         .JK:;DJEKD9?B+H;I?:;DJVI9ED:;CD7J?ED7D:97BB<EH;NFKBI?ED 

    $DJ;H;IJ?D=BO 7I:?I9KII;:8;BEM7D:I>EMDJ>HEK=>EKJJ>;;L?:;D9;7::K9;:J>KI<7H?D

         J>; 97I;  J>; 0D?L;HI?JO 7D: ;<;D:7DJI "HEL;I 7D: -O7D MEKB: 7:EFJ J>; 0D?L;HI?JO

         .JK:;DJ EKD9?B +H;I?:;DJVI <7BI;  ?BB;=7B  7D: JEJ7BBO ?D9EHH;9J H;7IED?D= 7D: BE=?9 J>7J

         M>7J(EH=7DM7IIKFFEI;:JESADEMT78EKJSJ>;>?IJEHOT9EKB:IEC;>EM8;H;B;L7DJJE

         EH:?IFEI?J?L;E<>;H=K?BJ 

    />; J;;D7=;H 79J?L?IJ 8;>?D: J>; <7BI; 9ECFB7?DJI 7D: 97CF7?=D M7I 7BIE 7 C;C8;H E<

         .JK:;DJ EKD9?B 7D: J>;H;<EH; ?D <H;GK;DJ 9ECCKD?97J?ED 7D: ?DJ;H79J?ED M?J> EJ>;H

         IJK:;DJI ?D J>;I; S7=;D9O B;L;BT EH=7D?P7J?EDI 7I M;BB 7I I;D?EH 7:C?D?IJH7JEHI ?D J>;

         .JK:;DJ<<7?HI?L?I?ED7D:*<<?9;E<J>;+H;I?:;DJ 




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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 40 of 102 Pageid#: 40




    />;;7DE<.JK:;DJI7D:J>;+H;I?:;DJE<J>;0D?L;HI?JO 7IM;BB7IJ>;?HH;IF;9J?L;E<<?9?7B

          0D?L;HI?JOE<<?9;I7D::;F7HJC;DJI M;H;?CC;:?7J;BOED79JK7BDEJ?9;E<J>;?D9?:;DJ J>;

          9EDJHEL;HIO 7D:J>;C7;BIJHECE<78KI;:?H;9J;:7J(EH=7D 

    />;*<<?9;E<J>;0D?L;HI?JO+H;I?:;DJC7D7=;I7D:9BEI;BOCED?JEHI7BB;L;DJI ?D9?:;DJI 

          7D:9EDJHEL;HI?;IIK9>7IJ>?IED;7D:J>EI;?DLEBL?D=J>;0D?L;HI?JO ?JI"HEKD:I EH?JI

          9ECCKD?JOED7 87I?I 

    ;IF?J;J>;H79?IJ78KI;7D:H79?7B>7H7IIC;DJ :;IF?J;J>;MH?JJ;DJ>H;7JI7D:FHEC?I;IE<

          :;7J> 7D: =H?;LEKI 8E:?BO >7HC  :;IF?J; J>; S:ENN?D=T 7D: 9O8;H 8KBBO?D=  :;IF?J; J>;

          9ED9;HJ;: 79J?EDI JE ?DJ;H<;H; M?J> 7D: :;DO (EH=7D >;H H?=>JI7I 7 0D?L;HI?JO IJK:;DJ 

          :;IF?J;7BBE<J>;I;79J?EDI7D:C?I9ED:K9JM>?9>?D:?L?:K7BBO7D:9EBB;9J?L;BOL?EB7J;DEJ

          EDBODKC;HEKIIJ7J;7D:<;:;H7BB7MI8KJJ>;0D?L;HI?JOVIEMD7DJ? :?I9H?C?D7J?ED7D:7DJ?

          >7H7IIC;DJ 7D: IJK:;DJ 9E:;I E< 9ED:K9J  D;?J>;H J>; 0D?L;HI?JO 7:C?D?IJH7J?ED DEH

          ;<;D:7DJ"HEL;IDEH;<;D:7DJ-O7D JEJ>?I:7O >7L;;L;HJ7A;D7DO79J?EDJEFHEJ;9J

          (EH=7D FHEJ;9JJ>;9ECCKD?JO EHFHEI;9KJ;J>;E<<;D:;HI 

    />;*<<?9;E<J>;0D?L;HI?JO+H;I?:;DJ7BIEC7D7=;I C7?DJ7?DI 7D:CED?JEHIIE9?7BC;:?7

          7D: KI;I J>EI; FB7J<EHCI JE 9ECCKD?97J; M?J> J>; 9ECCKD?JO  />; E<<?9?7B S01T

          799EKDJED/M?JJ;H>7ICEH;J>7D <EBBEM;HI />;S+H;I%?C-O7DT799EKDJED

          /M?JJ;H9B7?CICEH;J>7D <EBBEM;HI />EI;7H;@KIJJMEE<J>;C7DOIE9?7BC;:?7

          7D:9ECCKD?97J?EDI7FFB?97J?EDIKJ?B?P;:8OJ>;0D?L;HI?JO7D:?JIJ>EKI7D:IE<<79KBJO

          7D: 7:C?D?IJH7JEHI JE 9ED:K9J 0D?L;HI?JO 8KI?D;II  9ECCKD?97J; M?J> J>; 0D?L;HI?JO

          9ECCKD?JO 7D:8HE7:97IJ0D?L;HI?JOSC;II7=?D= T

    I :?H;9J;: 8O J>; J;;D7=;H 7D: J>; S7BB JE 9J?ED T ED; <EBBEM;H I;DJ J>?I :;C7D: JE

          ;<;D:7DJ-O7DED>?I+H;I%?C-O7D799EKDJ




                                                      
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              ?<OEK7BBEMJ>?IIJK:;DJJEFHEIF;H7JKL7OEK7H;>;H7B:?D=>;HJE97KI;
              <KHJ>;H>7HCJEB79A<EBAIJ>HEK=>EKJ>;H97H;;H ?<OEKM7DJKL7JE8;
              7D ?DIJ?JKJ?ED J>7J ?I I7<; <EH B79A IJK:;DJI 7D: *((0)$/3
              ( ( -. OEKD;;:JE;NF;BIJK:;DJIJ>7JJ>H;7J;DJ>;C5 6
                     
    2?J>EKJ IF;7A?D= JE (EH=7D  M?J>EKJ 9ED:K9J?D= 7 I?D=B; <EHC7B ?DJ;HL?;M E< 7D

         ;O;M?JD;II M?J>EKJIF;7A?D=JEEHH;L?;M?D=J>;H;FEHJIE<B7M;D<EH9;C;DJE<<?9;HIM>E

         M;H;FH;I;DJ7JJ>;I9;D; 7D:?D79JK7BFEII;II?EDE<;L?:;D9;J>7J7FF;7HIJEKD:;HC?D;

         J>;L;H79?JO7D:799KH79OE<J>;9ECFB7?D7DJIVL;HI?EDIE<;L;DJI 7J+(ED.KD:7O 

         %KBO   B;II J>7D <EHJO ;?=>J >EKHI 7<J;H J>; ;D9EKDJ;H ED #?=> .JH;;J  J>; 0D?L;HI?JO

         7:C?D?IJH7J?ED FK8B?I>;: 7 IE9?7B C;:?7 FEIJ JE ?JI CEH; J>7D   <EBBEM;HI ED ?JI

         S01T/M?JJ;H799EKDJ

                 />;0D?L;HI?JOIJHED=BO9ED:;CDI7DOJ>H;7J:?H;9J;:7JEJ>;HC;C8;HIE<
                 EKH9ECCKD?JO 2;7H;7M7H;E<J>;7BB;=7J?EDIEDIE9?7BC;:?778EKJ7
                 IJK:;DJVI 9ED:K9J M?J> H;IF;9J JE 7 FHEJ;IJ ?D J>; 9?JO 7D: 7H; 79J?L;BO
                 ?DL;IJ?=7J?D=J>;C7JJ;H 
  
    '?A;J>;FEIJI<HECJ>;.JK:;DJEKD9?B+H;I?:;DJHKI>?D=JE@K:=;(EH=7D;JJ?D=;H J>;

         0D?L;HI?JOVI S9ED:;CD7J?EDIT M;H; H;9;?L;: 8O DKC;HEKI C;C8;HIE< J>; 0D?L;HI?JOVI

         ?DL;IJ?=7JEHO8E:?;I7D:S7=;D9OB;L;BTIJK:;DJEH=7D?P7J?EDI IK9>7I.JK:;DJEKD9?B 

         7D: ?CFEHJ7DJBO J>;0D?L;HI?JO%K:?9?7HOECC?JJ;; 

    />; 0D?L;HI?JOVI FK8B?97J?EDI 7D: FHE9B7C7J?EDI :?: DEJ>?D= 8KJ <KHJ>;H ;DH7=; 7D:

         ;D<B7C;J>;H79?7B@KIJ?9;9ECCKD?JO7D:J>;J;;D7=;HVI<EBBEM;HI />;O7BIE>7:J>;L;HO

         H;7B ;<<;9J E< J>EHEK=>BO FH;@K:?9?D= 7D: FE?IED?D= J>; ;DJ?H; 0D?L;HI?JO 9ECCKD?JO

         7=7?DIJ(EH=7D ?D9BK:?D=F;EFB;M>EMEKB:B7J;H8;9>EI;D8OJ>;;<;D:7DJI7D:J>;?H

         7:C?D?IJH7J?ED JE I;HL; 7I 0D?L;HI?JO ?DL;IJ?=7JEHI 7D: J>; 0D?L;HI?JO %K:?9?7HO

         ECC?JJ;;VIS@KHEHI T




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    />;J;;D7=;H7D:J>;CE8E<<EBBEM;HIM7DJ;:(EH=7DVI>;7: />;OI9H;7C;:<EH(EH=7D

         JE8;>KC?B?7J;: I>7C;: 7D:87D?I>;: 

    />;O?DI?IJ;:J>7JJ>;0D?L;HI?JOE<1?H=?D?7M?;B:J>;;N;9KJ?ED;HVI7N; 

    ;<;D:7DJI-O7D "HEL;I 7D:J>;0D?L;HI?JOE<1?H=?D?7M;H;CEH;J>7D>7FFOJEE8B?=; 

      !"# !%#8 !"!  

    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    />;0D?L;HI?JOE<1?H=?D?7FEII;II;:7L;H?J78B;7HI;D7BE<?DIJHKC;DJIJ>7J?J9EKB:8H?D=

         JE8;7H?D7DO9H?I?I 9?H9KCIJ7D9; EHI?JK7J?ED $J>7:J>;FEM;H 7KJ>EH?JO 7D:H;IEKH9;I

         JE8H?D=7BBE<J>;>7JH;: J>;F>EDO9B7?CI7D:J>;H79?7BBO>EIJ?B;9B7CEHJE7D?CC;:?7J;

         7D:78HKFJ>7BJ $J>7:J>;FEM;H 7KJ>EH?JO 7D:H;IEKH9;IJEFHEJ;9J(EH=7D 

    $DIJ;7: />;0D?L;HI?JOE<1?H=?D?7 ?JI+H;I?:;DJ 7D:?JIJ>;D ;7DE<.JK:;DJI9>EI;JE

         KI;7BBE<J>EI;?DIJHKC;DJI7D:?JIL7IJFEM;HJE>7HC(EH=7D JE8KBBO(EH=7D 7D:JE

         HK?D(EH=7D 7D:J>;O:?:IE8;97KI;E<>;HH79; 

    />; 0D?L;HI?JO E< 1?H=?D?7 M7I 9>7HJ;H;: 8O J>; ECCEDM;7BJ> ?D  7D: <EKD:;:

         J>HEK=> J>; ;<<EHJI E< />EC7I %;<<;HIED  M>E I;HL;: 7I J>; 0D?L;HI?JOVI <?HIJ -;9JEH 

         !EHC;H0D?J;:.J7J;I+H;I?:;DJ%7C;I(7:?IEDI;HL;:7IJ>;I;9ED:-;9JEHKFED/>EC7I

         %;<<;HIEDVI :;7J>  .?D9; ?JI 9ED9;FJ?ED  <EKD:?D=  7D: 9EDIJHK9J?ED  J>; 0D?L;HI?JO E<

         1?H=?D?7VI FH?C7HO 97CFKI  97BB;: S"HEKD:I T ?I BE97J;: ?D >7HBEJJ;IL?BB;  1?H=?D?7 

         />EK=>BE97J;:;DJ?H;BOM?J>?DJ>;?D:;F;D:;DJ?JOE<>7HBEJJ;IL?BB; J>;0D?L;HI?JOVI

         S"HEKD:I T8;?D=ECCEDM;7BJ>FHEF;HJO <7BBI <EHJ>;CEIJF7HJ M?J>?DJ>;@KH?I:?9J?ED

         E<B8;C7HB;EKDJO7D:?JIFEB?9;:;F7HJC;DJ H7J>;HJ>7DJ>;?JOE<>7HBEJJ;IL?BB;EH

         J>;>7HBEJJ;IL?BB;+EB?9;;F7HJC;DJ 




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    />;0D?L;HI?JOE<1?H=?D?79ECCKD?JO9EDI?:;HIJ>;0D?L;HI?JOE<1?H=?D?7JE8;7KD?GK;

         ?DIJ?JKJ?ED7D:?JIEH?=?D7B"HEKD:I7I79H;: 7D: JEIEC; IF?H?JK7BFB79;R7FB79;M?J>EKJ

         ;GK7B?DC7DOH;=7H:I7FK8B?9I9>EEBJ>7JE99KF?;I7FEI?J?EDE<FHEC?D;D9;DEJEDBO?D

         J>;7DD7BIE<C;H?97D>?IJEHO8KJH;C7?DIH;B;L7DJ?DC7DO7IF;9JIE<J>;9KHH;DJD7J?ED7B

         :?I9EKHI; 

    *L;H J>; F7IJ JME 9;DJKH?;I  J>; 0D?L;HI?JO E< 1?H=?D?7 >7I ;LEBL;: ?DJE 7 C7II?L; 

         FEM;H<KB FEB?J?97BBO?D<BK;DJ?7B 7D:;DEHCEKIBOM;7BJ>O;DJ;HFH?I; ;IF?J;8;?D=7FK8B?9

         ;DJ?JO  J>; I?P; E< ?JI ;D:EMC;DJ 7BED; FB79;I ?J 7CED= J>; H?9>;IJ KD?L;HI?J?;I ?D J>;

         9EKDJHORFK8B?9EHFH?L7J; 

    />; B?IJ E< <7CEKI  KBJH7 M;7BJ>O  7D: FEM;H<KB <79KBJO 7D: 7BKCD? ?D9BK:;I SJ;9>

         8?BB?ED7?H;I T S>;:=; <KD: 8?BB?ED7?H;I T J?J7DI E< ?D:KIJHO 7D: <?D7D9;  FEB?J?9?7DI 

         B;=?IB7JEHI <;:;H7B7D:IJ7J;@K:=;I C?B?J7HO>;HE;I C7@EHC7?DIJH;7CC;:?7F;HIED7B?J?;I 

         >7BBE<<7C;7J>B;J;I C7@EHB;7=K;IFEHJIEMD;HI 7D:;L;D#EBBOMEE:9;B;8H?J?;I />;

         0D?L;HI?JO7D:?JI<79KBJO:EDEJC?D:J>HEM?D=J>;?HM;?=>J7D:;L;DJ>;?H7<<?B?7J?EDM?J>

         J>;0D?L;HI?JO7HEKD:F7HJ?I7DFEB?J?9I7D:FEB?J?97BH79;I<EHE<<?9; IEC;J?C;I:H7M?D=

         J>;?H;E<J>;;B;9JEH7J; />;H;B;L7D9;E<J>?I?IJ>7JDEJEDBO:E;IJ>;0D?L;HI?JOE<1?H=?D?7

         M?;B:?CC;DI;FEM;H7D:97HHO7FEJ;DJ?D<BK;D9;R?JADEMI?J 

    />; 0D?L;HI?JO E< 1?H=?D?7 ;CFBEOI EL;H   F;EFB; 7D: J>; I9>EEBVI 9KHH;DJ

         KD:;H=H7:K7J;7D:=H7:K7J;IJK:;DJ8E:O7FFHEN?C7J;I F;EFB; />;0D?L;HI?JO?I7

         B78OH?DJ>E<:;F7HJC;DJI7D::?L?I?EDIJ>7J<H;GK;DJBOEL;HB7F7D:IEC;J?C;I9EDJH7:?9J

         ED; 7DEJ>;H ?D J;HCI E< FEB?9?;I  :KJ?;I  7D: EKJ9EC;I  2?J>?D J>?I 9ECFB;N C7P;  J>;

         0D?L;HI?JO>7IDKC;HEKI?DIJHKC;DJI7D:?DIJHKC;DJ7B?J?;IJ>7J?JI;B;9J?L;BO8H?D=IJE8;7H

         JE7D?IIK;EH9EDJHEL;HIO M>;D?JIE9>EEI;I 




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    />;0D?L;HI?JO>7I?JIEMDB7M<?HC J>;*<<?9;E<0D?L;HI?JOEKDI;B M>?9>?IIKFFEHJ;:

         7D:IJ7<<;:8OJ>;JJEHD;O";D;H7BE<1?H=?D?7 />;0D?L;HI?JO:;FBEOIB7MO;HIJE<?BB

         DKC;HEKIHEB;I?D9EDJHEL;HI?;IIK9>7IJ>?I />;B7MO;HI7H;I;7IED;:B?J?=7JEHI <7C?B?7H

         M?J> 8EJ> EKH IJ7J; 7D: <;:;H7B 9EKHJI 7D: J>; IJ7J; 7D: <;:;H7B B7MI =EL;HD?D= J>;

         0D?L;HI?JO  ;OED: J>; 0D?L;HI?JOVI EMD B7M <?HC ?D J>; *<<?9; E< 0D?L;HI?JO EKDI;B 

         C7DO0D?L;HI?JO:?L?I?EDI7D::;F7HJC;DJI>7L;J>;?HEMD I;F7H7J;SB;=7B9EKDI;BT7D:

         SIF;9?7B 7:L?IEHI T />; 0D?L;HI?JO 7:C?D?IJH7J?ED H;7:?BO :;FBEOI J>;I; B7MO;HI JE

         9EEH:?D7J; 7D: F7HJ?9?F7J; ?D 7 CKBJ?JK:; E< HEB;I ?D IJK:;DJ :?I9?FB?D7HO FHE9;;:?D=I 

         >KC7DH;IEKH9;I?DL;IJ?=7J?EDI 7D:9?L?BH?=>JI?D9?:;DJI 7CED=EJ>;HC7JJ;HI />;97:H;

         E<B7MO;HI?IDE<H?;D:JEIJK:;DJIM>E<?D:J>;CI;BL;I?D/>;0D?L;HI?JOVIKD>7FFO=B7H; 

    />;<EHC;H;7DE<.JK:;DJI7D:+H;I?:;DJ 8EJ>E<M>EC7H;B7MO;HIJ>;CI;BL;I C7O

         97BBKFEDJ>;0D?L;HI?JOVIEMDB7M<?HC M>?B;;D@EO?D=J>;IKFFEHJ 7:L?9; 7D:9EKDI;B

         E<DKC;HEKIEJ>;HB7MO;HI7D:SIF;9?7B7:L?IEHI TM>E7FF;7HJE8;I;F7H7J;7D::?IJ?D9J

         <HECJ>;*<<?9;E<0D?L;HI?JOEKDI;B 

    />;0D?L;HI?JOE<1?H=?D?7>7I?JIEMDFEB?9;<EH9; ?D9BK:?D=DEB;IIJ>7DI;L;DJO <?L;

         IMEHDFEB?9;E<<?9;HI7D:I?NJO I?NI;9KH?JOE<<?9;HI $D7::?J?EDJEJ>;0D?L;HI?JO+EB?9;

         ;F7HJC;DJ  M?J>?D J>; 0D?L;HI?JOVI ;F7HJC;DJ E< .7<;JO 7D: .;9KH?JOVI 7C8?J 7D:

         EL;HI?=>J?IJ>;S/>H;7JII;IIC;DJ/;7CT7D:J>;S1?EB;D9;+H;L;DJ?EDECC?JJ;; T/>;

         ;7DE<.JK:;DJI?I7C;C8;HE<J>;0D?L;HI?JOVI/>H;7JII;IIC;DJ/;7C 99EH:?D=JE

         ;<;D:7DJ"HEL;I J>;:;B?8;H7J?L;FHE9;II;I7D::;9?I?EDIE<J>;/>H;7JII;IIC;DJ/;7C

         7H;;DJ?H;BOI;9H;J7D:JEJ7BBOI>?;B:;:<HEC:?I9EL;HOEH:?I9BEIKH;RJE7DOED;RKD:;H7

         L7H?;JO E< IJ7J; 7D: <;:;H7B B7MI  />EI; FH;9BK:;: <HEC H;9;?L?D= ?D<EHC7J?ED <HEC J>;

         />H;7JII;IIC;DJ/;7C?D9BK:;J>;L;HOJ7H=;JIE<J>;S/;7CTJ>;CI;BL;I M>EC7O8;




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          KD:;H9EDI?:;H7J?ED<EHFKD?I>C;DJ 87D?I>C;DJ 7D:8;?D=8H7D:;: IEC;J?C;I<7BI;BO 7I

          SJ>H;7JIJEJ>;9ECCKD?JO T

    DEJ>;H ?DIJHKC;DJ M?;B:;: EH H;IJH7?D;: 7J J>; :?I9H;J?ED E< J>; 0D?L;HI?JOVI I;D?EH

          B;7:;HI>?F ?D9BK:?D=J>;;7DE<.JK:;DJI7D:J>;+H;I?:;DJ 7H;J>;0D?L;HI?JO%K:?9?7HO

          ECC?JJ;;7D:?JI9ED9EC?J7DJ%K:?9?7B-;L?;ME7H: 8EJ>S>EKI;:TM?J>?DJ>;?L?I?ED

          E<.JK:;DJ<<7?HIRKD:;HJ>;IKF;HL?I?ED7D:C7D7=;C;DJE<J>;;7DE<.JK:;DJI7D:

          KBJ?C7J;BO  J>; +H;I?:;DJ  />; 0D?L;HI?JO %K:?9?7HO ECC?JJ;; ;DJ?JO ;D@EOI J>; I7C;

          FH?L?B;=;I7D:IJ7JKI7IJ>;.JK:;DJEKD9?B :?I9KII;:78EL; 7D:?IJ>KII?CFBO7DEJ>;H

          7HCE<J>;0D?L;HI?JO />;S0%T7I?J?I97BB;: >7I?JIEMD<KBB J?C; FHE<;II?ED7BB;=7B

          9EKDI;B7D:SIF;9?7B7:L?IEHITM>E7H;0D?L;HI?JO;CFBEO;;I DEJIJK:;DJI '?A;IEC7DO

          EJ>;H 7IF;9JI E< 0D?L;HI?JO E< 1?H=?D?7 B?<;  J>; 0% ?I I>HEK:;: ?D I;9H;9O  7D: J>;

          :C?D?IJH7J?ED=K7H:I7D:I>?;B:I;L;HO<79;JE<J>;0%VIFHE9;II;I7D::;9?I?EDI<HEC

          :?I9BEIKH;J>HEK=>H;B?7D9;ED<;:;H7B7D:IJ7J;IJK:;DJH;9EH:IFH?L79OB7MI 7BED=M?J>

          7JJEHD;O 9B?;DJ FH?L?B;=; FH?D9?FB;I  />; 0% 7D: ?JI FHE9;II;I >7L; 8;;D J>; <H;GK;DJ

          IK8@;9JE<:K;FHE9;II9>7BB;D=;I?D9EKHJ 

    3;J 7DEJ>;H ?DIJHKC;DJ 7J J>; 0D?L;HI?JO B;7:;HI>?FVI :?IFEI7B <EH J>; ?DL;IJ?=7J?ED 7D:

          FKD?I>C;DJ E< 0D?L;HI?JO 9ECCKD?JO C;C8;HI  CEIJBO IJK:;DJI 7D: ;CFBEO;;I  ?I J>;

          *<<?9;E< GK7B*FFEHJKD?JO7D:?L?B-?=>JIEHS *- T'?A;J>;EJ>;H?DIJHKC;DJI J>?I

          KD?JVI MEHA  ?DL;IJ?=7J?EDI  ;L?:;D9;  7D: 9ED9BKI?EDI 7H; 9EDI?:;H;: I;9H;J 7D:

          9ED<?:;DJ?7B KDB;IIJ>; *-7D:J>;:C?D?IJH7J?ED9>EEI;EJ>;HM?I; 

    />;I;7FF7H7JKI;I;CFBEO>KD:H;:IE<F;EFB; EDBO7<;ME<M>EC7H;IJK:;DJI (7DOE<

          J>EI;;CFBEO;;II;HL;7IS?DL;IJ?=7JEHIT?DED;<EHCEHJ>;EJ>;H M>;J>;HJ>7JMEH:?I

          ?D9BK:;:?DJ>;?HJ?JB;EHDEJ />;7:C?D?IJH7JEHI ?D9BK:?D=+H;I?:;DJ-O7D7D:J>;D ;7D




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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 46 of 102 Pageid#: 46




         E< .JK:;DJI "HEL;I  7D: J>; ?DL;IJ?=7JEHI 9ED:K9J J>;CI;BL;I 7I ?< J>;O 7H; 8;OED:

         H;FHE79>7D:799EKDJ78?B?JO<EHJ>;?H79J?EDI7D::;9?I?EDI 8;97KI; <EHJ>;CEIJF7HJ J>;O

         7H; 

    />;>?=> H7DA?D=7:C?D?IJH7JEHI7D:J>;F;EFB;M>EM?;B:J>;I;?DIJHKC;DJIE<FEM;H7D:

         ?D<BK;D9;KJ?B?P;C7DOJ79J?9IJE7LE?:I9HKJ?DO />;I;?D9BK:;J>;KI;E<B7MO;HIKD:;H7

         9B7?CE<FH?L?B;=; H;B?7D9;EDIJK:;DJ7D:;CFBEO;;FH?L79OB7MI   

                  7D: J>;D  ?D J>; H7H; E997I?EDI J>7J 7 IJK:;DJ EH

         ;CFBEO;;>7IJ>;J;C;H?JOJE8H?D=7B7MIK?J J>;0D?L;HI?JO7D:?JIE<<?9?7BI<7BB879AED

         J>;:;<;DI;IE<IEL;H;?=D7D:GK7B?<?;:?CCKD?JO?D7DEJ>;H7JJ;CFJJE7LE?:J>;C;H?JIE<

         J>;97I;I7=7?DIJJ>;C8;?D=7:@K:?97J;: 

    />; 7:C?D?IJH7JEHI 7D: ?DL;IJ?=7JEHI HEKJ?D;BO  ?< DEJ KD?L;HI7BBO  :;DO IJK:;DJI 7D:

         ;CFBEO;;IJ>;H?=>JJE8;C;7D?D=<KBBOH;FH;I;DJ;:8O9EKDI;B DEJ8;97KI;?J?IFHEF;H7D:

         <7?H 8KJ8;97KI;J>;O97D #EM;L;H J>;7:C?D?IJH7JEHI7D:?DL;IJ?=7JEHI<H;GK;DJBO97BB

         KFEDJ>;?H?D >EKI; EH;L;DFH?L7J;BO>?H;:JH7?D;:B?J?=7JEHI7D:JH?7B9EKDI;BJE7:L?I;

         J>;C7D:J7A;F7HJ?DJ>;?DL;IJ?=7J?EDI7D:FHE9;;:?D=I8KJ:;DOJ>;799KI;:J>;H?=>JJE

         >7L;J>;?HB7MO;HFH;I;DJ<EHC7DOE<J>;?DJ;HHE=7J?EDI7D::;DOJ>;799KI;:J>;H?=>JJE

         >7L; 7D ;GK7BBO JH7?D;: B?J?=7JEH EH JH?7B B7MO;H <KBBO F7HJ?9?F7J; ?D J>; FHE9;;:?D=I 7D:

         :;<;D: J>;?H H?=>JI  />; 0D?L;HI?JO +H;I?:;DJ M?BB I;B;9J?L;BO M7?L; J>; 7JJEHD;O 9B?;DJ

         FH?L?B;=; M>;D ?J IK?JI J>; :C?D?IJH7J?EDVI D7HH7J?L; ?D FK8B?9?JO 97CF7?=DI JE =7HD;H

         IKFFEHJ <EH 7D KDFEFKB7H :;9?I?ED R EJ>;HM?I;  ?J ?I 7 I;7B;: L7KBJ  (EIJ E< J>; J?C; 

         ;L?:;D9; ?D9BK:?D=;N9KBF7JEHO;L?:;D9; ?I>?::;D8;>?D:7M7BBE<I?B;D9;7D:I>HEK:;:

         ?DJEJ7BI;9H;9O 




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    />; +H;I?:;DJ E< J>; 0D?L;HI?JO  ;<;D:7DJ -O7D  >7I J>; <KBB 7KJ>EH?JO 7D: FEM;H JE

         ?D?J?7J;  B?C?J  7BJ;H  CE:?<O  EH J;HC?D7J; 7BJE=;J>;H 7DO ?DL;IJ?=7J?ED EH :?I9?FB?D7HO

         FHE9;IIE<7DO0D?L;HI?JO7FF7H7JKIEH?DIJHKC;DJ 

      ! "# !%  # 8 ! "!"  #! 
         
  
    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    />; 0D?L;HI?JO E< 1?H=?D?7 ?I M?:;BO 9EDI?:;H;: JE 8; 7 D7J?ED7BBO FH;;C?D;DJ FK8B?9

         KD?L;HI?JOJ>7J 799EH:?D=JE?JI+H;I?:;DJ IJH?L;IJE8;S8EJ>=H;7J7D:=EE:T<EHJ>;F;EFB;

         E< J>; ECCEDM;7BJ> E< 1?H=?D?7  />; 0D?L;HI?JO E< 1?H=?D?7 8E7IJI E< C7DO I9>EEBI 

         :;F7HJC;DJI 7D:9;DJ;HI:;:?97J;:JE@KIJJ>7JFKHFEI;IJK:O?D= FHECEJ?D= 7D:DKHJKH?D=

         :;CE9H79O :;CE9H7J?9=EL;HD7D9; =EE:FEB?J?9I 7D:IEKD:=EL;HDC;DJ 

    OEF;H7J?EDE<B7M7IM;BB7I?JIEMDFH?D9?FB;I FEB?9?;I 7D:7DDEKD9;:C?II?ED 7CED=

         J>; 0D?L;HI?JO E< 1?H=?D?7 7D: ?JI E<<?9?7BIV FH?C; :?H;9J?L;I ?I J>; FH;I;HL7J?ED 7D:

         FHEJ;9J?ED E< ?JI 9EDIJ?JK;D9OVI CEIJ I79H;: 9?L?B H?=>JI  M>?9> ?D9BK:; J>EI; 9B;7HBO

         ;IJ78B?I>;: <;:;H7BBOFHEJ;9J;:9EDIJ?JKJ?ED7BH?=>JI;C8E:?;:?DJ>;?BBE<-?=>JI .?CFBO

         FKJ J>;0D?L;HI?JOE<1?H=?D?77D:?JIE<<?9?7BI7H;8EKD:JEDEJEDBOE8I;HL;8KJE8;OJ>;

         B7M ;L;DJ>EI;J>7J:EDEJ<?J?JII;D?EHB;7:;HI>?FVIFEB?J?97B?:;EBE=?;I />;I;;:K97JEHI

         7D:7:C?D?IJH7JEHI7H;7BIEE8B?=7J;:JE:E;L;HOJ>?D=?DJ>;?HFEM;HJEFHEJ;9J0D?L;HI?JO

         IJK:;DJI<HEC8;?D=L?9J?CIE<L?EB7J?EDIE<J>EI;B7MI7D:CKIJJ>;CI;BL;IJH;7:B?=>JBO

         7D:M?J>;NJH;C;97KJ?ED8;<EH;J>;0D?L;HI?JO;D=7=;I?D7DOFH79J?9;EH79JJ>7J9EKB:

         FEII?8BO?D<H?D=;KFED IKFFH;II EHL?EB7J;J>EI;H?=>JI 

    #EM;L;H J>;0D?L;HI?JOE<1?H=?D?7>7I7JHEK8B;:7D:JKCKBJKEKI>?IJEHOM>;D?J9EC;I

         JEGK;IJ?EDIE<J>;9?L?BH?=>JIE<?JIIJK:;DJI7D:<79KBJO7D:J>;I;F7H7J; I;DI?J?L;IK8@;9J



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         E<H79; />;0D?L;HI?JO7D:?JIE<<?9?7BI>7L;8;;D;C8HE?B;:?DCEH;J>7D7<;M9?L?BH?=>JI

         9EDJHEL;HI?;I ?DLEBL?D= J>; :;FH?L7J?ED E< IJK:;DJIV !H;; .F;;9> 7D: GK7B +HEJ;9J?ED

         H?=>JI?DM>?9>H79;7D:H79?7B?IIK;IFB7O;:79;DJH7BHEB; 

    /E8;IKH; J>;H;?IDE?IIK;7JEH?DLEBL?D=J>;0D?L;HI?JOE<1?H=?D?7J>7J>7I7JJH79J;:

         CEH;7JJ;DJ?ED7D:9EDJHEL;HIOJ>7DJ>;I;DI?J?L;IK8@;9JE<H79; 

    0D:;H ;<;D:7DJ -O7DVI 7:C?D?IJH7J?ED  J>; 0D?L;HI?JO >7I :;L;BEF;: M>7J C?=>J 8;

         J;HC;: 7D E8I;II?ED M?J> H79;  H79?IC  7D: H79?7B?IJ FEB?9?;I 7D: ?:;EBE=?;I  />7J

         ?DIJ?JKJ?ED7BE8I;II?ED :?H;9J;:7D:?CFB;C;DJ;:<HECJ>;>?=>;IJB;L;BI >7IB;:JEJ>;

         9H;7J?ED  JEB;H7D9;  7D: H;?D<EH9;C;DJ E< 7 M?:;IFH;7: 7D: F;HL7I?L; 9KBJKH; 7D:

         ;DL?HEDC;DJ E< H7CF7DJ H79; 87I;: FH;@K:?9; 7D: 8?7I 7I M;BB 7I :?IF7H7J; JH;7JC;DJ 

         :?I9H?C?D7J?ED 7D:>7H7IIC;DJEDJ>;87I?IE<H79; 

    $DJ;H;IJ?D=BO J>;9KBJKH;E<H79?7B:?I>7HCEDO7FF;7HIJE8;;GK7BBOKDFEFKB7H7CED=7BB

         9EDIJ?JK;DJI ?HH;IF;9J?L;E<J>;?HH79; 

    />;<EBBEM?D=7H;8KJ7<;M;N7CFB;IE<J>;;DL?HEDC;DJ7D:9KBJKH;J>7JIJK:;DJI <79KBJO 

         7BKCD? 7D:;L;DL?I?JEHI;NF;H?;D9;ED79EDIJ7DJ7D:F;HL7I?L;87I?I

              J>;0D?L;HI?JOVIFHE<;II?ED7B7D:=H7:K7J;I9>EEBI;CFBEOH79?7BBO:?I9H?C?D7JEHO

                 FH79J?9;I?DJ>;?HH;IF;9J?L;7:C?II?EDI:;9?I?EDI />;:;9?I?EDIJE7:C?JEHH;@;9J

                 7D7FFB?97DJ>7L;8;;DCEJ?L7J;:7D:?D<BK;D9;:FEI?J?L;BO7D:D;=7J?L;BO8OJ>;

                 7FFB?97DJVI H79;  />EI; FH79J?9;I >7L; 8;;D :;9B7H;: JE 8; ?BB;=7B 7D:

                 KD9EDIJ?JKJ?ED7B *D7JB;7IJJ>H;;E997I?EDIEL;HJ>;F7IJO;7H 7DJ?9?F7J?D=J>7JJ>;

                 0D?J;:.J7J;I.KFH;C;EKHJMEKB:HKB;J>7JH79?7B:?I9H?C?D7J?ED?D7:C?II?EDI?I

                 IJ?BBH79?7B:?I9H?C?D7J?ED7D:L?EB7J?L;E</?JB;1$7D:J>; GK7B+HEJ;9J?EDB7KI; 

                 +H;I?:;DJ-O7D>7IJ7A;DJEJ>;7?HM7L;I FH?DJC;:?7 7D:IE9?7BC;:?7JEB7C87IJ;




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              J>; EKHJ 7D: J>; FHE@;9J;: :;9?I?ED 7D: LEM;: JE 9EDJ?DK; FKHIK?J E< J>; I7C;

              E8@;9J?L;IJ>7J>7L;DEM8;;D:;;C;:?BB;=7B 8KJIEC;>EM SE<9EKHI; T:E?D=IE

              M>?B;<EBBEM?D=J>;B7M />;FK8B?I>;:IJ7J;C;DJI7H;J>;CI;BL;IIJHED=;L?:;D9;

              E< J>; +H;I?:;DJ 7D: J>; 0D?L;HI?JOVI 9EC<EHJ M?J> H79?7B :?I9H?C?D7J?ED 7D: 7D

              ;NFH;II?EDE<:;<?7D9;J>7J?I8EJ>>EIJ?B;JEJ>;?DJ;H;IJIE<J>;0D?L;HI?JO7D:J>;

              ECCEDM;7BJ>7D:?BBKIJH7J?L;E<:?I9H?C?D7JEHO7D?CKI7D:?DJ;DJ

           J>;0D?L;HI?JO>EIJIH79?7BBOI;=H;=7J;:H;KD?EDI

           J>;0D?L;HI?JO>EIJI7D:FHECEJ;IEJ>;H7BKCD? IJK:;DJ 7D:<79KBJOFHE=H7CC?D=

              7D:E<<;H?D=IJ>7J7H;I;=H;=7J;:EDJ>;87I?IE<H79;

           J>;0D?L;HI?JO7D:?JIS7<<?B?7J;:T<EKD:7J?EDI M>?9>H;9;?L;0D?L;HI?JO<KD:?D= 

              ;NFH;IIBO;CFBEOH79?7BFH;<;H;D9;I?DJ>;?H>?H?D=7D:I;B;9J?EDFH79J?9;I 7D:J>;I;

              FH79J?9;I7H;M;BB ADEMDJEJ>;KFF;H;9>;BEDIE<J>;0D?L;HI?JO>?;H7H9>O

            J>;0D?L;HI?JOE<<;HI7D:H7J?EDIFHE=H7CC?D=7D:IJK:;DJIK99;IIH;IEKH9;IEDJ>;

              87I?IE<H79; ;N9BK:?D=IEC;IJK:;DJI<HECJ>;8;D;<?JE<J>;I;FHE=H7CI87I;:ED

              J>;?HH79;

       !    J>HEK=>?JIS7<<?B?7J;:T<EKD:7J?EDI J>;0D?L;HI?JOE<<;HIFH;IJ?=?EKII9>EB7HI>?FI

              J>7J8;IJEM;B78EH7J;7D:;NJ;DI?L;FHE=H7CC?D=7D:8;D;<?JI;N9BKI?L;BOEDJ>;

              87I?I E< H79;  +H;I?:;DJ -O7D >7I FK8B?9BO 7D: EF;DBO 7:C?JJ;: J>7J ED; E< J>;

              H;7IEDI >; IKFFEHJI IK9> <EKD:7J?EDI ?I J>;?H 78?B?JO 7D: M?BB?D=D;II JE :E ED

              8;>7B<E<J>;0D?L;HI?JOM>7JJ>;0D?L;HI?JOB;=7BBO7D:9EDIJ?JKJ?ED7BBO97DDEJ

       "    0D?L;HI?JOIJK:;DJIHEKJ?D;BO>EIJH79?7BBOI;=H;=7J;:;L;DJI?D0D?L;HI?JO<79?B?J?;I

              ?DM>?9>0D?L;HI?JOIJ7<<C;C8;HI7H;JEB:JESBEEAJ>;EJ>;HM7OTH;=7H:?D=J>;




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             ?BB;=7BFH79J?9;I7D:JEC7D?FKB7J;IJK:;DJA;O97H:799;IIIEJ>7JIJK:;DJI97D8;

             7:C?JJ;:EH:;D?;:799;IIEDJ>;87I?IE<J>;?HH79;

       #   FH;IJ?=?EKI  9ECF;J?J?L; IJK:;DJ EH=7D?P7J?EDI >EB: H79?7BBO I;=H;=7J;: I;C?D7HI

             7D: FH;F7H7J?ED I;II?EDI JE 7II?IJ 7D: FHECEJ; 9;HJ7?D IJK:;DJIV 97D:?:79O 7D:

             7FFB?97J?EDI ;N9BK:?D=9;HJ7?DIJK:;DJIEDJ>;87I?IE<H79;

       $   FH;IJ?=?EKI 9ECF;J?J?L;I9>EEBIEH7H;7IE<C7@EHIJK:OM?J>?DJ>;0D?L;HI?JO>EB:

             H79?7BBOI;=H;=7J;:I;C?D7HI7D:FH;F7H7J?EDI;II?EDIEDJ>;87I?IE<H79;JE7II?IJ

             7D: FHECEJ; 9;HJ7?D IJK:;DJIV 97D:?:79O 7D: 7FFB?97J?EDI  ;N9BK:?D= 9;HJ7?D

             IJK:;DJIEDJ>;87I?IE<H79;

       %   IKF;HL?IEHI ?D ?CFEHJ7DJ 0D?L;HI?JO :?L?I?EDI 7D: :;F7HJC;DJI >EB: H79?7BBO

             I;=H;=7J;:C;;J?D=I7D:H79?7BBOI;=H;=7J;:IE9?7B;L;DJI  CFBEO;;;NF;H?;D9;I

             ?D9BK:;8;?D=JEB:J>7J;CFBEO;;IE<79;HJ7?DH79;7H;DEJ7BBEM;:JEIF;7ADEHM?BB

             J>;?HEF?D?EDI8;>;7H:EHJEB;H7J;:?DJ>;0D?L;HI?JOMEHA;DL?HEDC;DJ

       &   H;FEHJI>7L;IKH<79;:?DJ>;C;:?7H;=7H:?D=J>;FH79J?9;E<<EH9?D=7FFB?97DJI<EH

             ;CFBEOC;DJ EH 7:L7D9;C;DJ ?D IEC; 0D?L;HI?JO :;F7HJC;DJI  I9>EEBI  7D:

             :?L?I?EDIJEFB;:=;J>;?H7BB;=?7D9;JEH79?7B?IJ?:;EBE=?;I7D:7<<?HCJ>;?H8;B?;<?D

             H79?7BBO:?I9H?C?D7JEHOFEB?9?;I7D:F>?BEIEF>?;I?DEH:;HJE8;9EDI?:;H;:<EHJ>;

             FEI?J?EDEHFHECEJ?ED

       '   C;C8;HIE<J>;FK8B?97D:0D?L;HI?JO;CFBEO;;I7D:IJK:;DJI;NF;H?;D9;H79?7BBO

             E<<;DI?L;7D::;C;7D?D=9ECC;DJIIK9>7IJEKH=K?:;IJ;BB?D=7K:?;D9;I M?J>?D

             J>; >;7H?D= E< ;CFBEO;;I 7D: IJK:;DJI  J>7J F;EFB; E< 7 9;HJ7?D H79;  ?D9BK:?D=

             9;HJ7?D7:C?D?IJH7JEHI7D:<79KBJO S97DDEJ8;JHKIJ;:T8;97KI;E<J>;?HH79;




                                                
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 51 of 102 Pageid#: 51




         (     C;C8;HIE<J>;0D?L;HI?JO<79KBJO7D:7:C?D?IJH7J?ED<H;GK;DJBOFEIJ7D:FK8B?I>

                 E<<;DI?L;7D:>EIJ?B;9ECC;DJI7D:IJ7J;C;DJIJ>7J7H;H79?7B?DD7JKH; 9H;7J?D=7

                 H79?7BBO>EIJ?B;;DL?HEDC;DJ7D:79KBJKH;E<H79?7B>7H7IIC;DJ7D:

         )     IJK:;DJI>7L;8;;DIK8@;9J;:JEJ7KDJI J>H;7JI 7D:?DIJ7D9;IE<79JK7BL?EB;D9;ED

                 J>; 87I?I E< H79;  M>?9> 9EDIJ?JKJ; >7J; 9H?C;I KD:;H 1?H=?D?7 7D: <;:;H7B B7M 

                 M?J>EKJ7DOH;IFEDI;<EH79J?EDJ7A;D<HEC+H;I?:;DJ-O7DEH>?I7:C?D?IJH7J?ED

         *     IJK:;DJI 7D: <79KBJO E< 9;HJ7?D H79;I H;FEHJ B?L?D= 7D: EF;H7J?D= ?D <;7H E< 8;?D=

                 I?D=B;: EKJ  H;J7B?7J;: 7=7?DIJ  FKD?I>;: M?J> BEM =H7:;I  :;<7C;:  EH ;L;D

                 J>H;7J;D;:M?J>F>OI?97B?D@KHOEDJ>;87I?IE<J>;?HH79; 

    />; 0D?L;HI?JO E< 1?H=?D?7VI JEB;H7D9; E< 7D: IJ;7:<7IJ H;<KI7B JE 79ADEMB;:=; 7D:

         ;B?C?D7J;J>;I;FH;@K:?9?7B7D:?BB;=7B8;>7L?EHI>7IEDBOI;HL;:JEMEHI;DJ>;;DL?HEDC;DJ

         7D:9KBJKH;E<H79?7B>7H7IIC;DJ7D:>EIJ?B?JOED"HEKD:I 

    />;0D?L;HI?JOE<1?H=?D?797DDEJ?:;DJ?<O;L?:;D9;E<?D9?:;DJI7D:J>;7:C?D?IJH7J?EDVI

         H;IFEDI;J>7J:?IFHEL;:?IF7H7J;JH;7JC;DJEDJ>;87I?IE<H79;<EH;NFH;II?EDIE<IF;;9> 

         FK8B?97J?EDE<IJ7J;C;DJI EHJ>;KJJ;H7D9;E<MEH:I 

    />;0D?L;HI?JOE<1?H=?D?797DDEJ?:;DJ?<O;L?:;D9;E<?D9?:;DJI7D:J>;7:C?D?IJH7J?EDVI

         H;IFEDI; J>7J :?IFHEL; :?IF7H7J; JH;7JC;DJ ED J>; 87I?I E< H79; <EH >7H7IIC;DJ EH

         :?I9H?C?D7J?ED 

    />;KD;GK7B7FFB?97J?EDE<FEB?9?;I7D:FH79J?9;I?I:?I9H?C?D7JEHO7D:?BB;=7B7D:7BIE>7I

         J>;;<<;9JE<<KHJ>;H;B;L7J?D=H79?7B>7H7IIC;DJ7D::?I9H?C?D7JEHOFH79J?9;IED"HEKD:I 

    0D:;H ;<;D:7DJ -O7DVI 7:C?D?IJH7J?ED 7D: B;7:;HI>?F  J>; 0D?L;HI?JO >7I <EIJ;H;: 7

         9KBJKH; J>7J FHECEJ;I 7D: JEB;H7J;I H79?7B >7H7IIC;DJ  H79?7B :?I9H?C?D7J?ED  7D: H79?7B

         >EIJ?B?JO 




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         
  
    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    />;0D?L;HI?JOC7?DJ7?DI7IJH?9J9E:;E<I?B;D9;7D:I>HEK:E<I;9H;9OEL;H7IC7DOE<J>;

         ;L;DJIJ>7J?DLEBL;9B7?CIE<:?I9H?C?D7J?ED7D: EH:;FH?L7J?EDIE<9ECCKD?JOC;C8;HIV

         9?L?BH?=>JI7I?J97D 

    />; <EBBEM?D= 7H; 8KJ 7 <;M ;N7CFB;I E< IK8IJ7DJ?7BBO I?C?B7H <79JI  ?IIK;I  7D:

         9?H9KCIJ7D9;IM>;H;J>;EKJ9EC;7D:0D?L;HI?JOVI79J?EDI:?<<;H;:EDJ>;87I?IE<H79; 

         />;I;;N7CFB;I7H;IK<<?9?;DJJE:;CEDIJH7J;J>;:C?D?IJH7J?EDVI:?I9H?C?D7JEHO?DJ;DJ

         7D:M?BB?D=D;IIJE:?I9H?C?D7J;EDJ>;87I?IE<H79;

              *D EH 7HEKD: !;8HK7HO     7 B79A MEC7D :?IHKFJ;: J>; H;9;DJBO EF;D;:

                 (KBJ? KBJKH7B;DJ;H?D);M9EC8#7BBED0D?L;HI?JO"HEKD:I M>?B;I9>EEBM7I

                 ?D.FH?D=I;II?ED $D7BEK:LE?9; J>;MEC7D?DJ;HHKFJ;:IJK:;DJIE99KFO?D=J>;

                 IF79;

                         +K8B?9 .;HL?9; DDEKD9;C;DJ N9KI; (; $< OV7BB :?:DVJ ADEM 
                         J>?I?IJ>;(. 7D:<H7DABOJ>;H;VI@KIJJEEC7DOM>?J;F;EFB;?D
                         >;H;  7D: J>?I ?I 7 IF79; <EH F;EFB; E< 9EBEH  IE @KIJ 8; H;7BBO
                         9E=D?P7DJE<J>;IF79;J>7JOEKVH;J7A?D=KF8;97KI;?J:E;IC7A;
                         IEC; E< KI +*I KD9EC<EHJ78B; M>;D M; I;; JEE C7DO M>?J;
                         F;EFB;?D>;H; $JVIEDBO8;;DEF;D<EH<EKH:7OI 7D:<H7DABOJ>;H;VI
                         J>;M>EB;0D?L;HI?JO<EH7BEJE<OV7BBJE8;7J 7D:J>;H;VIL;HO<;M
                         IF79;I<EHKI .E A;;FJ>7J?DC?D: />7DAOEK 
                         
                 />; IJ7J;C;DJ 7FF;7HI JE L?EB7J; I;L;H7B FHEL?I?EDI E< 8EJ> J>; .JK:;DJ E:; E<

                 ED:K9J 7D: J>; 0D?L;HI?JOVI +H;L;DJ?D= 7D: ::H;II?D= ?I9H?C?D7J?ED 7D:

                 #7H7IIC;DJ +EB?9O  (7DO IJK:;DJI 7D: C;C8;HI E< J>; 9ECCKD?JO M;H; :;;FBO

                 >KHJ7D:E<<;D:;:8OJ>;MEC7DVIIJ7J;C;DJJ>7JSJ>;H;7H;JEEC7DOM>?J;F;EFB;




                                                    
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             ?D>;H;T7D:SM;I;;JEEC7DOM>?J;F;EFB;?D>;H; T7D:7B;HJ;:J>;0D?L;HI?JOE<

             J>;?H9ED9;HDI I<7H7IJ>;+B7?DJ?<<7D:J>;FK8B?9ADEM J>;0D?L;HI?JO +H;I?:;DJ

             -O7D 7D:;<;D:7DJ"HEL;I:?:DEJ

                S9ED:;CDT J>; IF;7A;H EH >;H H79?IJ  I;=H;=7J?ED?IJ C;II7=;  DEH :?: ?J

                    FHEC?I; JE S?DL;IJ?=7J;T EH ;L;D 9>7H79J;H?P; J>; IJ7J;C;DJ <EH M>7J ?J

                    9B;7HBO M7I  7 H79?IJ :;C7D: J>7J IJK:;DJI 8; 87DD;: <HEC 7 0D?L;HI?JO

                    <79?B?JO87I;:EDJ>;9EBEHE<J>;?HIA?D

                9EDL;D; J>; />H;7J II;IIC;DJ /;7C EH J>; 1?EB;D9; +H;L;DJ?ED

                    ECC?JJ;;

                ?D?J?7J;7DOFHE9;;:?D=I8;<EH;J>;0D?L;HI?JO%K:?9?7HOECC?JJ;;

                ?D?J?7J;7DOFHE9;;:?D=I8;<EH;J>; *-

                ?DLEBL;J>;0D?L;HI?JO+EB?9; J>;B8;C7HB;EKDJO+EB?9; EHJ>;!;:;H7B

                    KH;7KE<$DL;IJ?=7J?ED

                9ED:K9J7DO?DL;IJ?=7J?EDI?DJEJ>;C7JJ;H

             $DIJ;7:  +H;I?:;DJ -O7D FK8B?I>;: 7 9ECC;DJ JE >?I M?:;BO I>7H;:

             S+H;I%?C-O7DT/M?JJ;H799EKDJ

                    />;H;>7I8;;D7BEJE<JH7<<?978EKJJ>;?D9?:;DJ7JJ>;(. /E8;
                    9B;7H J>;(.?I<EH7BBIJK:;DJI KJJ>;H;?ICEH;JEI7OJ>7D97D
                    8; 9ECCKD?97J;: ?D 7 I>EHJ IJ7J;C;DJ ED IE9?7B C;:?7  7D: $VC
                    MEHA?D=ED7D;II7O<EHJ>;97L7B?;H:7?BOIE<EHJ>EI;?DJ;H;IJ;: 
                    IJ7OJKD;: 
                    
             +H;I?:;DJ-O7DJ>;DF;DD;:7D7HJ?9B;<EHJ>;7L7B?;H7?BO M>?9>M7I8HE7:97IJ

             M?:;BO ?D J>; 01/E:7O EDB?D; C7=7P?D; ;DJ?JB;: S/EM7H: 7 .>7H;: .;DI; E<

             +KHFEI;7D:ECCKD?JO T$DJ>;7HJ?9B; D;?J>;HJ>;+H;I?:;DJDEHJ>;0D?L;HI?JO

             JEEA?IIK;M?J>J>;H79?7BBO>EIJ?B;D7JKH;E<J>;MEC7DVI8;>7L?EH 7D:?D<79J J>;




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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 54 of 102 Pageid#: 54




             +H;I?:;DJVI 9H?J?9?ICI 7D: 9EDIJ;HD7J?ED M;H; H;I;HL;: <EH J>; C;C8;HI E< J>;

             9ECCKD?JO M>E 9ECFB7?D;: 78EKJ J>; MEC7DVI E<<;DI?L; 7D: KDM;B9EC;

             C?I9ED:K9J7JJ>;IJK:;DJ<79?B?JO/E8;IKH; +H;I?:;DJ-O7D9B7?C;:J>7J?JM7I

             J>EI; 9ECFB7?D7DJI  H7J>;H J>7D J>; MEC7D M>E KJJ;H;: J>; H79?7BBO E<<;DI?L;

             IJ7J;C;DJI  M>E M;H; J>; H79?IJI  />; +H;I?:;DJ IJ7J;: J>7J >?I L?;MI S:EDVJ <?J

             D;7JBO?DJE;?J>;H97CF T/>;0D?L;HI?JOJEEADE79J?EDE<7DOA?D: 

          $D J>; B7J; IKCC;H E<  7J J>; 8;=?DD?D= E< J>; I9>EEB O;7H  @KIJ 7I (EH=7D

             ;JJ?D=;HM7I8;?D=L?=EHEKIBOF;HI;9KJ;:<EHKJJ;H?D=<?<J;;DMEH:I:KH?D=7DE<<

             97CFKIFHEJ;IJ 7DEJ>;HH79?7B9EDJHEL;HIO;HKFJ;:ED"HEKD:IJ>;S'7MD-EEC

             .?=D$D9?:;DJ TS!EKHJ>3;7HTIJK:;DJ7D:'7MD-;I?:;DJM>E97BBI>;HI;B<7

             S(KIB?C +;HIED E< EBEHT F7?DJ;: 7 LKB=7H 7D: H79?7BBO E<<;DI?L; CKH7B ED >;H

             '7MD-EEC:EEHI 97KI?D=7DKFHE7HJ>7JM;DJM;BB8;OED:J>;0D?L;HI?JO 7D:

             ;L;DJ>;9EKDJHO />;MEH:IS!0&01TM;H;;C8B7PED;:?DH;: <EBBEM;:8O

             F>H7I;I ?D9BK:?D= S&&&EFI T S" )*$ T S.'1 -3 T 7D: S'& 

             -*2)'$! T1?I?JEHI JEMDIF;EFB; IJK:;DJI <79KBJO 7D:;L;D7:C?D?IJH7JEHI

             M;H;KFI;J8OM>7J7FF;7H;:JE8;H79?IJ LKB=7HL7D:7B?ICE<7C7@EH?DJ;HD7J?ED7B

             >?IJEH?97BB7D:C7HA (EIJJ>EK=>JJ>7JJ>;'7MD-;I?:;DJMEKB:8;9>7H=;:M?J>

             IEC;<EHCE<L7D:7B?IC 7JJ>;L;HOB;7IJ (7DO9ECFB7?DJIM;H;8HEK=>JJEJ>;

             0D?L;HI?JOVI7:C?D?IJH7J?ED )7J?ED7B7D:?DJ;HD7J?ED7BD;MIEKJB;JIF?9A;:KFJ>;

             IJEHO M7?J?D=JEI;;M>7JJ>;0D?L;HI?JO7D:?JI+H;I?:;DJMEKB::E />;7DIM;H

             S)EJ>?D= TI<7H7IJ>;+B7?DJ?<<7D:J>;FK8B?9ADEM J>;0D?L;HI?JO J>;+H;I?:;DJ 

             7D:J>;J>;D ;7DE<.JK:;DJI:?:DEJ




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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 55 of 102 Pageid#: 55




                 S9ED:;CDTJ>;I?=DIEHJ>;H;I?:;DJ :;IF?J;<H;GK;DJ7:C?II?EDIJ>7JJ>;

                     I?=DIM;H;SE<<;DI?L;T

                 S9ED:;CDTJ>;IF;7A;HEH>;HH79?IJC;II7=;I7D:?C7=;I

                 9EDL;D; J>; />H;7J II;IIC;DJ /;7C EH J>; 1?EB;D9; +H;L;DJ?ED

                     ECC?JJ;;

                 ?D?J?7J; 9ECFB7?DJI EH FHE9;;:?D=I 8;<EH; J>; 0D?L;HI?JO %K:?9?7HO

                     ECC?JJ;;

                 ?D?J?7J;9ECFB7?DJIEHFHE9;;:?D=I8;<EH;J>; *-

                 ?DLEBL;J>;0D?L;HI?JO+EB?9; J>;B8;C7HB;EKDJO+EB?9; EHJ>;!;:;H7B

                     KH;7KE<$DL;IJ?=7J?EDEH

                 J7A;7DO79J?ED7J7BB

             +H;I?:;DJ -O7D :?:  >EM;L;H  ?DL?J; J>; '7MD -;I?:;DJ JE IF;7A M?J> >?C R 7

             FH?L?B;=;>;>7IO;JJE7<<EH:(EH=7D;JJ?D=;H />;'7MD-;I?:;DJ7D:7DEJ>;H

             F;HIED H;9EH:;: J>;?H 97BB ?D M>?9> J>;O D;;:B;:  97@EB;:  7D:  IEC; C?=>J I7O 

             >KC?B?7J;:J>;+H;I?:;DJE<J>;?H0D?L;HI?JO />;DJ>;'7MD-;I?:;DJFK8B?I>;:J>;

             H;9EH:?D=EDB?D;?D<KHJ>;H;C87HH7IIC;DJE<J>;+H;I?:;DJ =7?D J>;0D?L;HI?JO

             JEEADE79J?EDM>7JIE;L;H ;L;DJ>EK=>B7H=;=HEKFIE<?D<BK;DJ?7B7BKCD?<EHC;:

             <EHC7B 7IIE9?7J?EDI 7I 7 H;IKBJ E< J>?I 9EDJHEL;HIO 7D: FHEC?I;: JE M?J>>EB:

             :ED7J?EDI KDB;II J>; E<<;DI?L; I?=DI M;H; H;CEL;: <HEC FK8B?9 FHEF;HJO  $D 7D

             KDKIK7B 7D: KDFH;9;:;DJ;: CEL;  +H;I?:;DJ -O7D FK8B?I>;: 7 B;=7B EF?D?ED

             IKFFEHJ?D=>?IH;<KI7BJEJ7A;7DO79J?ED<HEC>?IJ>;D 0D?L;HI?JOEKDI;BIJ7J?D=

             J>7JJ>;'7MD-EECI?=DI9EDIJ?JKJ;:KDJEK9>78B;<H;;IF;;9> />;0D?L;HI?JO:?:

             DEJ>?D= 




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          .EC;J?C;?DJ>;2?DJ;HE<  M>?B;JMEE<J>;J>H;;(EH=7D;JJ?D=;H

             ?DL;IJ?=7J?EDI7D:FHE9;;:?D=IM;H;IJ?BBKD:;HM7O M>?B;I>;M7I9EDIJHK9J?L;BO

             IKIF;D:;:7D:;NF;BB;: ?D9BK:?D=J>;IF;9J;HE<8;?D=:;D?;:>;H:;=H;; 7=HEKF

             E< 2>?J; 7D: DED B79A C?DEH?JO IJK:;DJI 9EHH;IFED:;: 7D: 9ECCKD?97J;:

             ;NJ;DI?L;BOM?J>+H;I?:;DJ-O7D ;7D"HEL;I 7D:J>;E7H:E<1?I?JEHIH;=7H:?D=

             H79?7B78KI; 9O8;H 8KBBO?D= >7H7IIC;DJ 7D:J>H;7JIE<L?EB;D9;7=7?DIJJ>;CED

             J>;87I?IE<J>;?HH79;7D:J>;?HFEB?J?97B?:;EBE=O *D;E<J>;IJK:;DJI 7!?HIJ3;7H

             EH<H;I>C7D9B7IIC7J;E<J>;J;;D7=;:79J?L?IJ7JJ>;9;DJ;HE<J>?IB7MIK?J H;FEHJ;:

             JE +H;I?:;DJ -O7D J>7J >; >7: 8;;D F>OI?97BBO J>H;7J;D;: 7D: ?DJ?C?:7J;:  />;

             IJK:;DJ7D:EJ>;HIJK:;DJIFH;F7H;::;J7?B;:B;JJ;HI7D:CKBJ? C;:?7FH;I;DJ7J?EDI

             I;JJ?D=EKJ?DIJ7D9;IE<>7H7IIC;DJ7=7?DIJJ>;C />;0D?L;HI?JO:?:DEJ9ED:K9J7

             />H;7JII;IIC;DJ/;7C$DL;IJ?=7J?ED />;0D?L;HI?JO:?:DEJ?D?J?7J;7%K:?9?7HO

             ECC?JJ;;?DL;IJ?=7J?EDEHFHE9;;:?D= />;0D?L;HI?JO:?:DEJ?D?J?7J;7D *-

             ?DL;IJ?=7J?ED />;0D?L;HI?JO:?:DEJ?DLEBL;J>;FEB?9;EHJ>;!$ I<7H7IJ>;

             +B7?DJ?<< 7D: J>; FK8B?9 ADEM  +H;I?:;DJ -O7D  J>; E7H: E< 1?I?JEHI  7D: J>;

             0D?L;HI?JO H;<KI;: JE J7A; 7DO 79J?ED EH FHEJ;9J J>;I; C7B; 7D: <;C7B; IJK:;DJI 

             $CFEHJ7DJBO J>;J;;D7=;HM>EF;HF;JH7J;:J>;>E7N7JJ>;>;7HJE<J>?IB7MIK?JM7I

             :;;FBO?DLEBL;:?DC7DOE<J>;?DJ;H79J?EDIJ>7J<EHC;:J>;87I?IE<J>;IJK:;DJIV

             9ECFB7?DJI 9ED9BKI?L;BO:;CEDIJH7J?D=J>7JJ>;0D?L;HI?JOM7IJ7A?D=DE79J?ED

             M>7JIE;L;HJE>7BJEH;L;DIBEM>;H78KI?L;8;>7L?EH7D:M7I?DIJ;7:;CFEM;H?D=

             >;HJE9EDJ?DK;:E?D=IE 

          HEKD:J>;I7C;J?C; C;7D?D=2?DJ;HH;7AEH;7HBO.FH?D=J;HCE<J>;

             I9>EEBO;7H 7SF;HIEDE<9EBEHT;:?JEHE<J>;7L7B?;H7?BO M>?9>?IED;E< 




                                                 
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              ?<DEJJ>;CEIJFHEC?D;DJ7D:FEM;H<KBEH=7D?P7J?EDI?DJ>;0D?L;HI?JO FEIJ;:7D:

              FK8B?I>;:J>;IJ7J;C;DJS8EB?I>M>?J;F;EFB;;N9;FJ?BB)O;TEDIE9?7BC;:?7 

              />; 0D?L;HI?JO :?: DEJ 9ED:K9J 7 />H;7J II;IIC;DJ /;7C ?DL;IJ?=7J?ED  />;

              0D?L;HI?JO:?:DEJ?D?J?7J;7%K:?9?7HOECC?JJ;;?DL;IJ?=7J?EDEHFHE9;;:?D= />;

              0D?L;HI?JO:?:DEJ?D?J?7J;7D *-?DL;IJ?=7J?ED />;0D?L;HI?JO:?:DEJ?DLEBL;

              J>;FEB?9;EHJ>;!$ I<7H7IJ>;+B7?DJ?<<7D:J>;FK8B?9ADEM +H;I?:;DJ-O7D 

              J>;E7H:E<1?I?JEHI 7D:J>;0D?L;HI?JO:?:DEJ79ADEMB;:=; H;IFED:JE EHJ7A;

              7DO79J?EDE<7DOA?D:H;=7H:?D=J>?IH79?7BBO>EIJ?B;7D:E<<;DI?L;J>H;7J 

            KH?D=J>7JI7C;F;H?E: M>?B;(EH=7D;JJ?D=;HM7IIJ?BBC?H;:?DJ>;C?:IJE<

              JMEE<J>;0D?L;HI?JOVIJ>H;;?DL;IJ?=7J?EDI7D:FHE9;;:?D=I7=7?DIJ>;H J>;'7MD

              -;I?:;DJI?=D C7A;HJEEA:EMD>;HI?=DI />EK=>J>;9ECCKD?JO8H;7J>;:7I?=>

              E< H;B?;<  J>;?H 9EC<EHJ M7I I>EHJ B?L;:  2>;D I>; H;JKHD;:  J>; '7MD -;I?:;DJ

              FEIJ;:7D;L;DCEH;;B78EH7J;7D:;L;DCEH;H79?7BBOE<<;DI?L;F7?DJ?D= J>?IED;

              :;F?9J?D= J>; "H?C -;7F;H EL;HB7?: ED 7 >EE:;: &K &BKN &B7DIC7D  7BB

              IKHHEKD:?D=J>;0D?L;HI?JO-EJKD:7F?9JKH;:7I8;?D=;D=KB<;:?D<B7C;I />;I?=D

              H;7:S$DEH:;H<EHDED L?EB;D9;JEMEHA OEKHEFFED;DJCKIJ>7L;79EDI9?;D9; 

              01#.)*) 0-)$/''*2) T;IF?J;J>;E8L?EKIH79?7BBO>EIJ?B;

              C;II7=;7D:?C7=;HO :;IF?J;J>;H;<;H;D9;JE7D:97BB<EHL?EB;D9; J>;0D?L;HI?JO

              :?:DEJ9ED:;CDJ>;9ED:K9JEHJ>;F7?DJ?D= />;0D?L;HI?JO7D:?JI+H;I?:;DJ:?:

              DEJJ7A;JE/M?JJ;HJE7IIKH;J>;9ECCKD?JOJ>7J7D?DL;IJ?=7J?EDM7IKD:;HM7O 

              />; '7MD -;I?:;DJ M7I DEJ S:ENN;: T J>H;7J;D;:  87D?I>;: <HEC "HEKD:I  EH

              >KC?B?7J;:8OJ;79>;HI7D:F;;HI $DIJ;7: +H;I?:;DJ-O7DFEB?J;BO7IA;:J>;'7MD

              -;I?:;DJJELEBKDJ7H?BOH;CEL;J>;I?=DI M>?9>>;9>7H79J;H?P;:7I 




                                                 
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                +H;I?:;DJ-O7DFHEC?I;:JE  J;HC?D7J?D=J>;-;I?:;DJVI

             '7MD-EECFH?L?B;=;I?<I>;:?:DEJ9ECFBO =7?D DE79J?EDIM;H;J7A;D7=7?DIJ

             J>;'7MD-;I?:;DJ :;IF?J;CKBJ?FB;9ECFB7?DJIE<H79?7BE<<;DI;7D:IK==;IJ?EDI

             E<L?EB;D9; 7D:J>;0D?L;HI?JO 7=7?D :?:DEJ>?D=)E/>H;7JII;IIC;DJ/;7C

             ?DL;IJ?=7J?EDI DE 0% 9ECFB7?DJI  ?DL;IJ?=7J?EDI  7D: JH?7BI DE            *-

             ?DL;IJ?=7J?EDIEHFHE9;;:?D=IDEFEB?9;EH!$?DLEBL;C;DJ 7D:DEFKD?I>C;DJEH

             :?I9?FB?D7HOC;7IKH;I7J7BB />;0D?L;HI?JO9;HJ7?DBO:?:DVJ9EDIJHK9J?L;BOIKIF;D:

             EH;NF;BJ>;'7MD-;I?:;DJ 

       !   .EC;J?C;?DJ>;!7BBI;C;IJ;HE< 7B79A<;C7B;IJK:;DJIC7I>;:7M?D:EM

             7JJ>;*<<?9;E<<H?97DC;H?97D<<7?HIR7FF7H;DJBO?D7J7H=;J;:7JJ79A7=7?DIJ

             7 IF;9?<?9 <79KBJO C;C8;H  />; 0D?L;HI?JO 9ECCKD?JO M7I DEJ =?L;D 7DO

             ?D<EHC7J?ED78EKJJ>;?:;DJ?JOE<J>;7JJ79A;H ;IF?J;?CC;:?7J;9ECCKD?JO M?:;

             EKJH7=;7D:<;7HJ>7JJ>;7JJ79AM7IH79?7BBOCEJ?L7J;:EH7>7J;9H?C; EH8EJ> J>;

             0D?L;HI?JOM7I9KH?EKIBOI?B;DJ7D:?D79J?L; +H;I?:;DJ-O7D7D:>?I7:C?D?IJH7J?ED

             MEKB: EDBO I7O J>7J J>; SF;HIED M7I IEC;ED; ADEMD JE J>; *<<?9; E< <H?97D

             C;H?97D<<7?HIT7D:J>7JJ>;O:?:DEJ8;B?;L;J>;L7D:7B?ICEHL?EB;D9;M;H;

             H79; H;B7J;:  />;O :?: DEJ ;NFB7?D M>O 8;?D= SADEMD JE J>; *<<?9;T MEKB:

             ;B?C?D7J; J>; FHEIF;9J E< 7 >7J; 9H?C; EH H79?7BBO CEJ?L7J;: 7JJ79A  KDB;II ED;

             9ED9BK:;I 7I ;L;HOED; GK?9ABO :?: J>7J 8;97KI; +H;I?:;DJ -O7D 7D: >?I

             7:C?D?IJH7J?EDAD;MJ>;7JJ79A;HVIH79; J>;O;?J>;H:;9?:;:J>7JJ>;7JJ79A9EKB:

             DEJ 9EDIJ?JKJ; 7 >7J; 9H?C; EH H79?7BBO CEJ?L7J;: 7JJ79A M>?9> ?I FKH; H79?7B

             IJ;H;EJOF?D=7D::?IF7H7J;JH;7JC;DJ7J?JIL;HOMEHIJEHJ>;OM;H;DEJ=E?D=JE

             FKHIK;?DL;IJ?=7J?EDI FHE9;;:?D=I EH9>7H=;I7=7?DIJJ>;7JJ79A;H8;97KI;E<>;H




                                                
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             H79;M>?9>9EDIJ?JKJ;I:?IF7H7J;JH;7JC;DJEDJ>;87I?IE<H79;7J?JIL;HOMEHIJ 

              ?J>;HM7O J>;0D?L;HI?JOVI8;>7L?EHH;=7H:?D=J>?I?D9?:;DJ?IIJHED=;L?:;D9;E<

             ?JIH79?7B7D?CKI7D:?JI9EC<EHJ:?I9H?C?D7J?D=EDJ>;87I?IE<H79; I<7H7IJ>;

             9ECCKD?JOADEMI JE:7J; DE79J?EDE<7DOA?D:M7IJ7A;DH;=7H:?D=J>?I9B;7H

             L?EB7J?ED E< CKBJ?FB; IJK:;DJ 9E:;I 7D: FEB?9?;I  I <7H 7I J>; +B7?DJ?<< 7D: J>;

             FK8B?9 ADEM  J>; 0D?L;HI?JO :?: DEJ 9ED:K9J 7 />H;7J II;IIC;DJ /;7C

             $DL;IJ?=7J?ED/>;0D?L;HI?JO:?:DEJ?D?J?7J;7%K:?9?7HOECC?JJ;;?DL;IJ?=7J?ED

             EHFHE9;;:?D=/>;0D?L;HI?JO:?:DEJ?D?J?7J;7D *-?DL;IJ?=7J?ED/>;!$M7I

             DEJ8HEK=>J?DJEJ>;C7JJ;H +H;I?:;DJ-O7D7D:J>;0D?L;HI?JOVI/M?JJ;H799EKDJI

             :?:DEJ?D9BK:;9ED:;CD7J?EDIE<J>;IJK:;DJEH>;HL?EB;DJ8;>7L?EH $D<79J 7I<7H

             7I J>; +B7?DJ?<< 7D: J>; FK8B?9 ADEM  +H;I?:;DJ -O7D 7D: J>; 0D?L;HI?JO :?:

             78IEBKJ;BODEJ>?D= 

       "   HEKD: J>; I7C; J?C; 7I J>; HE9A J>HEM?D= 7JJ79A  7 2>?J; F;HIED JEJ7BBO

             KD9EDD;9J;:JEJ>;0D?L;HI?JOIDK9AEDJE"HEKD:I?DJ>;C?::B;E<J>;D?=>J7D:

             >KD=7DEEI;EHDEEI; B?A;HEF;EDJ>;#EC;H.J7JK;ED"HEKD:I +H;I?:;DJ-O7D

             7D:J>;0D?L;HI?JOM;H;GK?9ABO78B; J>HEK=>IKHL;?BB7D9;<EEJ7=; JE:;J;HC?D;

             J>; H79; E< J>; ?D:?L?:K7B M>E 9ECC?JJ;: J>; 79J  $CC;:?7J;BO  FH;II H;B;7I;I 

             /M?JJ;H9ED:;CD7J?EDI M;8 7B;HJI 7D:0D?L;HI?JO M?:;FHE9B7C7J?EDIE<7D=K?I>

             7D: EKJH7=; M;H; FK8B?I>;: 7D: 8HE7:97IJ  />; />H;7J II;IIC;DJ /;7C M7I

             79J?L7J;: />;0D?L;HI?JO97BB;:KFEDJ>;B8;C7HB;EKDJO+EB?9;7D:J>;1?H=?D?7

             .J7J;+EB?9;7D:J>;!;:;H7BKH;7KE<$DL;IJ?=7J?EDJE?DL;IJ?=7J; 7FFH;>;D: 7D:

             FHEI;9KJ; J>; F;HF;JH7JEH  +H;I?:;DJ -O7D FK8B?I>;: <H;GK;DJ KF:7J;I 7D: FH;II

             H;B;7I;IH;=7H:?D=J>;0D?L;HI?JO7D:0D?L;HI?JO+EB?9;;F7HJC;DJVI9EEF;H7J?ED




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                    M?J>J>;!$ J>;B8;C7HB;EKDJO+EB?9;;F7HJC;DJ 7D:1?H=?D?7.J7J;+EB?9; 

                     H;M7H: E<   M7I FEIJ;: <EH ?D<EHC7J?ED  );7HBO ;L;HO 0D?L;HI?JO

                    EH=7D?P7J?ED EH 7<<?B?7J; ?CC;:?7J;BO FK8B?9BO FK8B?I>;: IEC; <EHC E<

                    9ED:;CD7J?ED  +H;I?:;DJ -O7D 7D: CEIJ E< J>; I;D?EH B;7:;HI>?F E< >?I

                    7:C?D?IJH7J?ED C;J M?J> B79A IJK:;DJI 7D: 9ECCKD?JO C;C8;HI <H;GK;DJBO JE

                    7BB7OJ>;?H<;7HI7D::?I9KIIJ>;0D?L;HI?JOVIH;IFEDI; JIEC;FE?DJ J>;?D:?L?:K7B

                    M7I 7HH;IJ;: 7D: 9>7H=;: ?D B8;C7HB; EKDJO ?H9K?J EKHJ M?J> <;BEDO >7J;

                    9H?C;I 

           #      '7J;H  7 0D?L;HI?JO ;CFBEO;; M7I IK8@;9J;: JE CK9> E< J>; I7C; JH;7JC;DJ

                    ;NF;H?;D9;:8O(EH=7DH;=7H:?D=7D?D9?:;DJJ>7JE99KHH;:M>?B;J>;F;HIEDM7I

                    F;H<EHC?D=J>;?H:KJ?;I<KBBOM?J>?DJ>;9EKHI;7D:I9EF;E<J>;?H;CFBEOC;DJM?J>

                    J>;0D?L;HI?JO />;;CFBEO;;H;FEHJ;:8;?D=7L?9J?CE<H79?7B>7H7IIC;DJ 9O8;H

                    8KBBO?D=  S:ENN?D= T :;<7C7J?ED  7D: :;7J> J>H;7JI ED J>; 87I?I E< J>;?H H79; 8O

                    I;L;H7B IJK:;DJI M>E M;H; SF;HIEDI E< 9EBEH T />; ;CFBEO;;VI <7C?BO M7I

                    S:ENN;: T7D:J>;?HFH?L7J;?D<EHC7J?EDM7I8HE7:97IJEDJ>;?DJ;HD;J .;L;H7BE<

                    J>;IJK:;DJI?DLEBL;:?DJ>;>7H7IIC;DJM;H;H;FEHJ;:JE8;BKHA?D=?D<HEDJE<J>;

                    ;CFBEO;;VIE<<?9;ED7:7?BO87I?I?DJ>;M;;AI7<J;HJ>;?D9?:;DJ />;;CFBEO;;VI

                    9ECFB7?DJIM;H;?CC;:?7J;7D:?D9BK:;:J>;FHE:K9J?EDE<;L?:;D9;E<J>;79JK7B

                    H79?IJJ>H;7JI7D:78KI;JEJ>;?HIKF;HL?IEHI7D:#KC7D-;IEKH9;I />;;DJ?H;9>7?D

                    E< 9ECC7D: 7D: I;D?EH 7:C?D?IJH7J?ED B;7:;HI>?F  ?D9BK:?D= +H;I?:;DJ -O7D  >?I




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          (% .)6%23)49 %-0,/9%%<3 .!-% !.$ )$%.4)49 !2% +./7. 4/ 5.$%23)'.%$ #/5.3%, !.$ !2% "%).' +%04
  #/.&)$%.4)!,4/02/4%#44(%-&2/-2%4!,)!4)/.()3%-0,/9%%2%-!).3%-0,/9%$"94(%.)6%23)49!.$'%.5).%,9&%!23
  2%4!,)!4)/.&2/-4(%.)6%23)49!.$4(%.)6%23)49#/--5.)49&/202/6)$).'4254(&5,4%34)-/.9/2).&/2-!4)/.).4()3
  -!44%2/24(!4!.$4(%/4(%22%!3/.3-%.4)/.%$!"/6%4(%,!).4)&&(!3./4.!-%$/253%$!.9)$%.4)&9).').&/2-!4)/.
  2%'!2$).'4(%%-0,/9%%"54)302%0!2%$4/$)3#,/3%4(%).&/2-!4)/.)&2%15)2%$4/$/3/"94(%/524


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                *<<?9; J>;.JK:;DJ<<7?HI?L?I?ED #KC7D-;IEKH9;I J>; *- 7D:*<<?9;E<

                0D?L;HI?JOEKDI;BM;H;ED79JK7BDEJ?9;E<7D:<KBBO7M7H;E<J>;78KI;7D:J>;

                ;CFBEO;;VI9ECFB7?DJI />;0D?L;HI?JOVIEDBO79J?EDJEFHEJ;9JJ>;;CFBEO;;M7I

                7:L?I?D=J>;CJESKI;J>;8K::OIOIJ;CTM>;DJ>;OM;H;?DFK8B?97D:?D<;7H<EH

                J>;?HB?<;7D:I7<;JO *DJ>;EJ>;H>7D: J>;I7C;0D?L;HI?JO7FF7H7JKI;IEF;D;:

                ?DL;IJ?=7J?EDI ?DJE J>; ;CFBEO;; ?D EF;D 7D: E8L?EKI H;J7B?7J?ED <EH J>;?H

                9ECFB7?DJI />;JMEIJK:;DJIM>EB;7:J>;<7BI;7D:C7B?9?EKI97CF7?=DM;H;DEJ

                IK8@;9J;: JE 7DO FHE9;;:?D=I 7D: M;H; 7BBEM;: JE =H7:K7J; M?J> J>;?H IJK:;DJ

                H;9EH:I;DJ?H;BO?DJ79J7D:KDJ7HD?I>;: />;;CFBEO;;M7IIK8@;9J;:JEJMECEDJ>I

                E<7:C?D?IJH7J?L;B;7L; 7J;CFEH7HOS)E/H;IF7II*H:;H T7D:J>;J>H;7JE<BEI?D=

                J>;?H @E8 8;<EH; J>;O M;H; JH7DI<;HH;: JE 7 :?<<;H;DJ BE97J?ED KD:;H :?<<;H;DJ

                IKF;HL?IEHI  />; 0D?L;HI?JO 9B7?C;: JE >7L; <KBBO H;IJEH;: J>;?H FEI?J?ED M?J> 7

                F;H<;9JBO9B;7DH;9EH: 8KJEDBO7<J;HJ>;JMEIJK:;DJI=H7:K7J;:7D:M;H;BED==ED;

                <HEC"HEKD:I )E79J?EDE<7DOA?D:M7IJ7A;DH;=7H:?D=J>;H79?7B>7H7IIC;DJEH

                J>H;7JI 

    />;I;;N7CFB;IE<:?IF7H7J;JH;7JC;DJ7H;O;J7DEJ>;H<EHCE<FHEE<7D:;L?:;D9;E<H79?7B

         7D?CKI7D::?I9H?C?D7JEHO?DJ;DJ 

      !"# !%# !9 !!

    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    />;0D?L;HI?JOE<1?H=?D?7 ;<;D:7DJ-O7D 7D:;<;D:7DJ"HEL;IADEM?D=BOIK8@;9J;:

         J>;+B7?DJ?<<JE7J>?HJ;;D CEDJ>BED=FHE9;IIE<F;HI;9KJ?ED<EBBEM;:8OJ>;F;HC7D;DJ

         KD9EDIJ?JKJ?ED7B?CF7?HC;DJE<>;HH;FKJ7J?ED7D:<EHC7BIJK:;DJH;9EH:I 7BB8;97KI;E<




                                                   
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         H79; 7D: 8;97KI; E< (EH=7D ;JJ?D=;HVI H79;  KJ <EH (EH=7D ;JJ?D=;HVI H79;  J>;I;

         ;<;D:7DJI MEKB: DEJ >7L; J7A;D J>; 7:L;HI; 79J?EDI 7=7?DIJ >;H DEH MEKB: J>;O >7L;

         H;<KI;:JEFHEL?:;>;HM?J>J>;8;D;<?JI7D:H?=>JIJEM>?9>I>;M7I;DJ?JB;:7I70D?L;HI?JO

         IJK:;DJ7D:C;C8;HE<J>;9ECCKD?JO 

    CED= EJ>;H 79J?ED78B; 79JI  ;HHEHI  7D: EC?II?EDI J>7J 8H;79>;: (EH=7D ;JJ?D=;HVI

         <;:;H7BBO FHEJ;9J;: H?=>JI  J>; ;<;D:7DJI MHED=;: (EH=7D ;JJ?D=;H ?D J>; <EBBEM?D=

         M7OI EDJ>;87I?IE<>;HH79;

              7:EFJ;:  L7B?:7J;:  H7J?<?;:  7K=C;DJ;:  7D: CEIJ E< 7BB 7CFB?<?;: J>; J;;D7=;:

                 79J?L?IJVI C7B?9?EKIBO <7BI; 7D: H79?7BBO CEJ?L7J;: 97CF7?=D 7=7?DIJ (EH=7D

                 ;JJ?D=;H

              M?J>EKJ 7DO B;=7B EH <79JK7B 87I?I  8KJ CEJ?L7J;: 8O H79;  9ED:K9J;: 7 />H;7J

                 II;IIC;DJ/;7C?DL;IJ?=7J?EDE<M>;J>;H(EH=7D;JJ?D=;HI>EKB:8;9EDI?:;H;:

                 JEFEI;7J>H;7JE<?CC?D;DJL?EB;D9;EH>7HCJEJ>;9ECCKD?JO7I7H;IKBJE<>;H

                 <?<J;;D IFEA;D MEH:I H;IKBJ?D= ?D J>; S/;7CT ?D9BK:?D= ;<;D:7DJ "HEL;I

                 9ED9BK:?D=J>7J(EH=7DM7IDEJ7D::?:DEJFEI;7J>H;7JJE7DOED; JJ>;I7C;

                 J?C;  J>; 0D?L;HI?JO 7D: ;<;D:7DJI -O7D 7D: "HEL;I ;NFH;IIBO :;9B?D;: 7D:

                 H;<KI;: JE 9ED:K9J 7 />H;7J II;IIC;DJ /;7C ?DL;IJ?=7J?ED ?DJE J>; DKC;HEKI

                 J>H;7JIE<:;7J>7D:L?EB;D9;7=7?DIJ(EH=7D;JJ?D=;H7D:>;H<7C?BOJ>7JM;H;

                 FEIJ;:8OIJK:;DJI7D:EJ>;HADEMDC;C8;HIE<J>;9ECCKD?JO?DMH?J?D=

              M?J>EKJ7DOB;=7BEH<79JK7B87I?I 8KJCEJ?L7J;:8OH79; ?D?J?7J;: 9ED:K9J;: 7D:

                 J7CF;H;: M?J> J>; 0D?L;HI?JO %K:?9?7HO ECC?JJ;; 7D: %K:?9?7B -;L?;M E7H:

                 S?DL;IJ?=7J?EDI T >;7H?D=I  I>7C JH?7BI  7D: KJJ;HBO 8E=KI SH;L?;MIT J>7J M;H;

                 ;DJ?H;BO:;LE?:E<7DO9EDIJ?JKJ?ED7BEHB;=7BB;=?J?C79O IJ7HJ?D=<HEC%KBO




                                                    
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                7D:B7IJ?D=M;BB?DJEFH?B (EH=7DMEKB:DEJADEMKDJ?BJ>;:7O8;<EH;>;H

                =H7:K7J?EDM>;J>;HI>;MEKB:8;7BBEM;:JEJ7A;F7HJ?D>;H=H7:K7J?ED9;H;CEDO

                7D:MEKB:DEJADEMKDJ?BK=KIJ  M>;J>;HJ>;0D?L;HI?JOMEKB:M?J>>EB: 

                M?J>:H7M EHH;I9?D:>;H:;=H;;7D: EHM>;J>;HJ>;0D?L;HI?JOMEKB:9EDJ?DK;JE

                ?CF7?H >;H :;=H;; 7D: >;H F;HC7D;DJ H;9EH: M?J> J>; S?I9?FB?D7HO NFKBI?EDT

                DEJ7J?EDI7D:EJ>;HKD9EDIJ?JKJ?ED7B?CF7?HC;DJI

             M?J>EKJ7DOB;=7BEH<79JK7B87I?I 7D:CEJ?L7J;:8OH79; ?D?J?7J;:7D:IK8@;9J;:

                (EH=7D;JJ?D=;HJE7O;7H BED=S?L?B-?=>JIT?DL;IJ?=7J?EDJ>7JMEKB:KBJ?C7J;BO

                H;IKBJ?D>;HJEJ7B;NED;H7J?EDJ>; *-;NFH;IIBO7D:?CFB?;:BO>;B:J>;FEM;H

                JE M?J>>EB: EH H;I9?D: EH H;9ECC;D: JE +H;I?:;DJ -O7D J>; M?J>>EB:?D= EH

                H;I9?II?EDE<(EH=7D;JJ?D=;HVI:;=H;;7D:;NF;B>;H<HECJ>;0D?L;HI?JO ;L;D 

                ?J>7I8;;DIK==;IJ;: H;JHE79J?L;BO

              M?J>EKJ 7DO B;=7B EH <79JK7B 87I?I  7D: CEJ?L7J;: 8O H79;  IK8@;9J;: (EH=7D

                ;JJ?D=;HJE<79KBJO?DJ;HHE=7J?EDI7D:CKBJ? IJK:;DJI>7C?D=EH:;7BI7D:

         !    9H;7J;: JEB;H7J;: 7D:H;?D<EH9;:7D;DL?HEDC;DJE<9EDIJ7DJ<;7HE<:;7J> 8E:?BO

                ?D@KHO 8KBBO?D= 7D:78KI;EDJ>;87I?IE<>;HH79;7D:97J;=EH?97BBOH;<KI;:JE:E

                7DOJ>?D=M>7JIE;L;HJEFHEJ;9J(EH=7DEH;L;D?DGK?H;?<I>;M7II7<;7D:>;7BJ>O 

    />;0D?L;HI?JOVI<?HIJ9ED9;HDI7D:79J?EDII>EKB:>7L;9;DJ;H;:7HEKD:(EH=7D7D:>;H

         <7C?BOVIF>OI?97BFHEJ;9J?ED I7<;JO 7D:M;BB 8;?D= 

    />;0D?L;HI?JO:?:DEJ>?D= 

    />;0D?L;HI?JOFK8B?9?P;:7D:8HE7:97IJJ>;J;;D7=;HVI<7BI;799KI7J?EDI7D:J>;DFK8B?9BO

         9ED:;CD;:(EH=7D7D:>;HSJ>H;7JIT79HEIIL7H?EKIC;:?77D:FB7J<EHCI7D:?D:?<<;H;DJ




                                                  
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          M7OI R ?D9BK:?D= E< 9EKHI; IE9?7B C;:?7 8KJ 7BIE ?D9BK:?D= ;C7?B 9ED:;CD7J?EDI <HEC

          FHE<;IIEHIJECKBJ?FB;9B7II;IE<9E>EHJI 

    J IEC; FE?DJ IEED 7<J;H J>; !H?:7O ;L;D?D= ?D9?:;DJ  J>; J;;D7=;H C7D7=;: JE H;J7?D 7

          B?J?=7J?EDF7HJD;H?DED;E<>7HBEJJ;IL?BB;VIB7H=;IJ EB:;IJ 7D:CEIJFH;IJ?=?EKIB7M<?HCI

          JEH;FH;I;DJ>;H JB;7IJED;E<J>;J;;D7=;HVIB7MO;HVIB7MF7HJD;HIFH;L?EKIBOMEHA;:<EH

          J>;0D?L;HI?JO>7D:B?D=9?L?BH?=>JI?DL;IJ?=7J?EDI7D:?DFH?L7J;FH79J?9; J>7JI7C;B7M

          F7HJD;H?IHEKJ?D;BO>?H;:8OJ>;0D?L;HI?JOJEF7HJ?9?F7J;?D9?L?BH?=>JIFHE9;;:?D=I7D:

          7:@K:?97J?EDI 7BBE<M>?9>JEK9>KFEDEH7H;:?H;9JBO?DLEBL;:M?J>J>;?L?I?EDE<.JK:;DJ

          <<7?HI7D:J>;;7DE<.JK:;DJI 

    J J>; I7C; J?C;  +H;I?:;DJ -O7D  ;7D "HEL;I  7D: J>; 0D?L;HI?JO 7:C?D?IJH7J?ED 7D:

          ;L;D<79KBJOC;C8;HIM;H;H;9;?L?D=CKBJ?FB; <H;GK;DJ:;C7D:I<HEC7BBGK7HJ;HI97BB?D=

          <EHJ>;0D?L;HI?JOJEIA?FH?=>JJEJ>;KBJ?C7J;FKD?I>C;DJ;NFKBI?ED 

    KH?D= J>; F;D:;D9O E< J>; 0D?L;HI?JOVI FHE9;;:?D=I 7=7?DIJ (EH=7D  J>; 0D?L;HI?JO

          +EB?9; M>EMEKB:>7L;8;;DH;GK?H;:JE7B;HJJ>;+H;I?:;DJE<J>;0D?L;HI?JO7D:J>;;7D

          E< .JK:;DJI  H;9;?L;: 9H;:?8B; H;FEHJI J>7J ?< J>; 0D?L;HI?JO <7?B;: JE 9EDL?9J 7D: ;NF;B

          (EH=7D;JJ?D=;H J>;J;;D7=;H7D:>;H<EBBEM;HIFB7DD;:JEH?EJ M?J>FB7DIJE:?IHKFJ7D:

          97KI;C7O>;CED"HEKD:I />;J>H;7JM7IIF;9?<?9J>;J7H=;J;:;L;DJM7I7<EEJ87BB=7C;

          7=7?DIJ KA; 0D?L;HI?JO M>?9> MEKB: 8; 7 C7@EH 0D?L;HI?JO ;L;DJ  7IIKC;: JE 8;

          D7J?ED7BBOJ;B;L?I;: ?DJ>;0D?L;HI?JOVI.9EJJ.J7:?KC />;:;J7?BI?D9BK:;:J>;79J?L?IJIV

          FB7DI JE >7L; C7II;I E< FHEJ;IJ;HI B?; :EMD ?D <HEDJ E< KA; 0D?L;HI?JOVI J;7C 8KI;I 

          FH;L;DJ?D=J>;C<HEC;DJ;H?D=7D:JH7L;HI?D="HEKD:IJEJ>;IJ7:?KC 7D:J>;H;8O97KI?D=

          KDJEB:FHE8B;CI7D:FEJ;DJ?7B;9EDEC?9:7C7=;IJEJ>;JMEKD?L;HI?J?;I7D:>KD:H;:IE<

          ?DLEBL;:FB7O;HI7D:EJ>;HF7HJ?9?F7DJI $CFEHJ7DJBO7D:=?L?D=9H;:;D9;JEJ>;H;FEHJI J>;




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          1?H=?D?7L;HIKIKA;<EEJ87BB=7C;M7II9>;:KB;:<EH.;FJ;C8;H  J>;:7O7<J;H

          J>; 0D?L;HI?JO %K:?9?7HO ECC?JJ;;VI SJH?7BT J>7J ?J FB7DD;: JE IJ7=; ED J>; ;L;D?D= E<

          .;FJ;C8;H  

    />;C;II7=;JEJ>;0D?L;HI?JOM7I9B;7H J>;C;II7=;M7IEC?DEKI 7D:J>;C;II7=;M7I

          H;9;?L;:;IJHEO(EH=7D;JJ?D=;H EH;BI; 

    />; 0D?L;HI?JO FKHFEI;<KBBO ?D?J?7J;: DE B;II J>7D J>H;; ?DL;IJ?=7J?EDI 7D: 7:@K:?97J?L;

          FHE9;II;I7=7?DIJ(EH=7D;JJ?D=;HJ>7JMEKB:8;=?DED%KBO  7D:9EDJ?DK;KDJ?B

          K=KIJ  

    +H;I?:;DJ -O7D 7D: >?I E<<?9; H;C7?D;: 9BEI;BO ?DLEBL;: ?D 7D: CED?JEH;: ;79>

          :;L;BEFC;DJ7D:J>;FHE=H;IIE<;79>E<J>;0D?L;HI?JOVI;<<EHJI7=7?DIJ(EH=7D;JJ?D=;H 

    ;<;D:7DJ"HEL;IM7I?DJH?97J;BO ?DJ?C7J;BO 7D:;NJ;DI?L;BO?DLEBL;:?D;L;HO7IF;9JE<

          J>;F;HI;9KJ?ED7D:FHEI;9KJ?EDE<(EH=7D;JJ?D=;H ?D9BK:?D=J>;0D?L;HI?JO:;9?I?EDI

          DEJJEFHEJ;9J>;H<HECJ>;CEC;DJJ>;;L;DJIE99KHH;:KDJ?B>;B;<JJ>;0D?L;HI?JO7JJ>;

          ;D:E<%KD; 

    ;<;D:7DJ"HEL;IFKHFEI;<KBBOJ7CF;H;:M?J>7JB;7IJJMEE<J>;SFHE9;;:?D=ITJ>;/>H;7J

          II;IIC;DJ/;7C?DL;IJ?=7J?ED7D:J>;0%SFHEI;9KJ?ED T/>;D ;7D"HEL;I E8B?=7J;:

          JE79J?D(EH=7DVI8;IJ?DJ;H;IJI ?I7BB;=;:JE>7L;FH;I?:;:EL;H8EJ>?DL;IJ?=7J?EDI?D>?I

          E<<?9?7BHEB;7I;7DE<.JK:;DJI?I7BB;=;:JE>7L;7:L?I;:J>;0%H;FH;I;DJ7J?L;I7D:

          E<<?9;HI78EKJ(EH=7DVI97I;7D:?JI>7D:B?D=7D::?IFEI?J?ED ?I7BB;=;:JE>7L;F;HIED7BBO

          ?D?J?7J;: 7 9ECFB7?DJ  >?CI;B< 7D: ED >?I EMD 8;>7B<  7=7?DIJ (EH=7D M?J> J>; 0%  ?I

          7BB;=;:JE>7L;?DJ;H<79;:7D:9ECCKD?97J;:M?J>J>;*<<?9;E<J>;0D?L;HI?JOEKDI;B

          7D:7II?IJ;:M?J>>;BF?D=EH;D9EKH7=?D=J>;0D?L;HI?JOEKDI;BJE7II?IJ8EJ>J>;0%7D:

          ?JISJH?7BF7D;BTM?J>(EH=7DVIFHEI;9KJ?ED ?I7BB;=;:JE>7L;;D=7=;:KD?:;DJ?<?;:SB7M




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         FHE<;IIEHIT<HECJ>;0D?L;HI?JOVI'7M.9>EEBJE7:L?I;>?C78EKJ(EH=7DVI97I;7D:>;H

         !?HIJC;D:C;DJFHEJ;9J?EDI ?I7BB;=;:JE>7L;?DJ;H<79;:M?J>J>;S1?9;>7?H<EH/H?7BIT

         <EHJ>;0% ?D9BK:?D=9B7?C?D=JE>7L;SJ;;:KFT(EH=7D<EHSJH?7BT7D:?I;L;D7BB;=;:

         JE >7L; F7HJ?9?F7J;: 7I 7 M?JD;II 7=7?DIJ (EH=7D 7J >;H IE 97BB;: SJH?7B T />; ;7D E<

         .JK:;DJI <EH J>; 0D?L;HI?JO E< 1?H=?D?7 :?: DEJ I?CFBO FKJ >?I FHEL;H8?7B J>KC8 ED J>;

         I97B;IE<@KIJ?9; >;FKJ>?I;DJ?H;M;?=>JED?J 

    #EMJ>?IEF;DBO>EIJ?B;7D:M7DJEDBOKD<7?H8;>7L?EH9EKB:8;M7HH7DJ;:EH;N9KI;:?I

         :?<<?9KBJJE<7J>EC 

    ;97KI;E<H79; +H;I?:;DJ-O7D7D:;7DE<.JK:;DJI"HEL;I<7?B;: 7D:?D<79JH;<KI;:

         JE

              FK8B?I> 7DO M7HD?D= EH FB;7I JE J>; 0D?L;HI?JO 9ECCKD?JO H;=7H:?D= (EH=7DVI

                 H?=>JI >;H>;7BJ> >;HI7<;JO EHJ>;FH;IKCFJ?EDE<?DDE9;D9;

              9ED:;CDH79?7B>7H7IIC;DJ 8KBBO?D= 7D::;7J>J>H;7JI7=7?DIJ(EH=7D

              ?DL;IJ?=7J; EH FH;L;DJ H79?7B >7H7IIC;DJ  8KBBO?D=  7D: :;7J> J>H;7JI 7=7?DIJ

                 (EH=7D

              ;D=7=;EH79J?L7J;J>;/>H;7JII;IIC;DJ/;7CJE:;J;HC?D;M>;J>;HJ>;79J?L?IJVI

                 EH >;H <EBBEM;HIV >7J;<KB J>H;7JI 7D: 78KI; M;H; MEHJ>O E< ?DL;IJ?=7J?ED EH

                 FHEJ;9J?ED

               ?DIJHK9J 0D?L;HI?JO 7:C?D?IJH7JEHI 7D: <79KBJO C;C8;HI DEJ JE FH;:;J;HC?D;

                 (EH=7DVI<7J; H;J7B?7J;7=7?DIJ>;H?D7DOM7O EHFKD?I> :?I9?FB?D; EH78KI;>;H

         !     I;;A0D?L;HI?JOEKDI;BVIEHJ>;H?D=E<<?L;IF;9?7BB;=7B9EKDI;BEHIV7:L?9;7D:

                 9EKDI;BH;=7H:?D=J>;9EDIJ?JKJ?ED7B?JOE<FKD?I>?D=(EH=7DVIIF;;9>

         "     ?DJ;HL;D;JEFH;L;DJEHJ;HC?D7J;J>;KD9EDIJ?JKJ?ED7BFHE9;;:?D=I




                                                     
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         #     H;L?;M 7BB E< J>; ;N9KBF7JEHO ;L?:;D9; ;NED;H7J?D= (EH=7D 7D: :?IFHEL?D= J>;

                 J;;D7=;HVI<7BI;>EE:I7D:B?;I

         $     7I JE +H;I?:;DJ -O7D F;HIED7BBO ?DJ;HL?;M EH E<<;H JE ?DJ;HL?;M EH IF;7A M?J>

                 (EH=7D ;JJ?D=;H 7I >; :?: IE H;7:?BO M?J> EJ>;H IJK:;DJI M>E :?: DEJ I>7H;

                 (EH=7DVI H79;  $D <79J  +H;I?:;DJ -O7D >7I D;L;H C;J EH IFEA;D M?J> (EH=7D

                 ;JJ?D=;HEH>;H<7C?BO

         %     KJ<EHH79; IF;9?<?97BBO(EH=7D;JJ?D=;HVIH79; J>;I;;<;D:7DJIMEKB:>7L;

                 H;D:;H;:7D:J7A;D;N79JBOEFFEI?J;:;9?I?EDI7D:79J?EDIJ>7JJ>;O:?: 

    />; 0D?L;HI?JO ?D?J?7J;: 7 />H;7J II;IIC;DJ /;7C ?DL;IJ?=7J?ED 7=7?DIJ (EH=7D  />7J

         S/;7CT ?DL;IJ?=7J?ED 9ED9BK:;: J>7J (EH=7D ;JJ?D=;H :?: DEJ FEI; 7 J>H;7J JE J>;

         9ECCKD?JOEH7DOED;?D?J />?I9ED9BKI?EDM7IH;79>;:?DB7J;%KBOEH;7HBOK=KIJ 

         7BCEIJ7<KBBO;7H8;<EH;J>;0D?L;HI?JOVI F7=;<?D7BH;FEHJJEJ7BBO;NED;H7J?D=(EH=7D

         ;JJ?D=;HM7I:;B?L;H;:JE+H;I?:;DJ-O7D 

    ;<;D:7DJ "HEL;I 7D: +H;I?:;DJ -O7D 7BIE IK8@;9J;: (EH=7D JE 7D 78IEBKJ; <7H9; E< 7

         S@K:?9?7BFHE9;;:?D=T8;<EH;J>;0D?L;HI?JO%K:?9?7BECC?JJ;;EHS0%T7D:7DKJJ;HBO

         B7MB;IISH;L?;MT8;<EH;J>;%K:?9?7B-;L?;ME7H: J>7J?D9BK:;:7CED=?JIC;C8;HI7

         9EDIJ?JKJ?ED7BB7MFHE<;IIEH7JJ>;0D?L;HI?JOVI'7M.9>EEBM>EM7IED;E<;7D"HEL;IV

         7D:+H;I?:;DJ-O7DVIJ;79>;HI7D:7<EHC;H9EBB;7=K;E<+H;I?:;DJ-O7DVI 

    $D7F>EDOI>EMJH?7BJ>7JMEKB:>7L;C7:;;L;D-E8;IF?;HH;7L;HJ>?I;O;I 7@KHOE<<?L;

         KD:;H=H7:K7J;IJK:;DJI M?J>DEB;=7BJH7?D?D=7D:DEH?=>JM>7JIE;L;HJEH;D:;H:;9?I?EDI

         H;=7H:?D= J>; 9EDIJ?JKJ?ED7B FHEJ;9J?EDI JE 8; 7<<EH:;: 7 IJK:;DJVI IF;;9>  :;B?L;H;: 7

         L;H:?9JE<S=K?BJOTIEC;J?C;7J(?DJ>;CEHD?D=ED.;FJ;C8;HRJ>;:7OE<J>;

         <EEJ87BB=7C;7=7?DIJKA;0D?L;HI?JO7J.9EJJ.J7:?KC 




                                                    
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 68 of 102 Pageid#: 68




    />;78IKH:?JOE<J>;SJH?7BT7D:J>;;DJ?H;FHE9;II?I;L?:;DJ?DJ>;SL;H:?9JT?JI;B<

               2;J>;@K:=;IE<J>?IJH?7BF7D;B<?D:J>7JOEKH79J?EDIED%KBOJ>M;H;
               I>7C;<KB 7D: FKJ C;C8;HI E< J>; 9ECCKD?JO 7J H?IA  3EK OEKHI;B<
               79ADEMB;:=;:I7O?D=S?JVI7=EE:J>?D=OEK7H;>;H;8;97KI; EJ>;HM?I; 
               J>;I; F;EFB; MEKB: >7L; 8;;D IF;;: 8KCFI T "?L;D J>; JH7=?9 ;L;DJI E<
               K=KIJ  7D: J>; 9EDJ;NJ ?D M>?9> OEK KJJ;H;: J>;I; MEH:I  OEK
               :?IH;=7H:;: >7HBEJJ;IL?BB;VI L?EB;DJ >?IJEHO   >?IJEHO OEK I>EKB: >7L;
               8;;D9E=D?P7DJE<7I701IJK:;DJ7D:H;I?:;DJE<>7HBEJJ;IL?BB; KH?D=
               J>;I; FHE9;;:?D=I OEK >7L; I>EMD DE KD:;HIJ7D:?D= E< J>; H?IA J>?I
               IJ7J;C;DJFEI;: 
               
    +KJJ?D=7I?:;J>;I7D9J?CED?EKIJED;E<J>;?HS@K:=C;DJT7D:J>;:K8?EKID;IIE<9EBB;=;

         A?:I FEI?D= 7I >?=> FH?;IJI E< 7 H79?7B @KIJ?9; ?DGK?I?J?ED M>;D 7 OEKD= MEC7DVI CEIJ

         I79H;:9EDIJ?JKJ?ED7BH?=>JIM;H;7J?IIK; J>;CEH7B?BB;=?J?C79OE<J>;;DJ?H;S0%TFHE9;II

         ?I 8EHD; EKJ ?D J>; S@KHOVIT SL;H:?9JT 7D: ?JI SI7D9J?EDI T M>?9> 8;7H DE 9EDD;9J?ED

         M>7JIE;L;HJEL?EB;D9;EHSJHK;J>H;7JIT

             ED:K9J  C;;J?D=I M?J> 57D <H?97D C;H?97D FHE<;IIEH ?D J>; 7JJ;D
             .9>EEB E< ';7:;HI>?F6 ?D M>?9> OEK M?BB :?I9KII J>; >?IJEHO E< FEB?9;
             9ECCKD?JOH;B7J?EDIJE8HE7:;DOEKHKD:;HIJ7D:?D= 
             
             >EKHIE<9ECCKD?JOI;HL?9;JE8;9ECFB;J;:8O(7O />;I;>EKHIM?BB
             8;9ECFB;J;:M?J>7DEH=7D?P7J?EDJ>7JM?BB>;BFOEK8;JJ;HKD:;HIJ7D:J>;
             9EDJ;NJE<.E9?7B%KIJ?9;?DC;H?97 3EKM?BB8;9EDJ79J;:8OM;;AI<HEC
             JE:7OJE:?I9KIIFEJ;DJ?7BEH=7D?P7J?EDIJEF7HJD;HM?J><EHJ>;9ECFB;J?ED
             E<I;HL?9; 
             
             2H?J; 7D 7FEBE=O B;JJ;H JE 5J>; J;;D7=;H6 79ADEMB;:=?D= J>; >7HC OEKH
             79J?EDIFEI;:JE8EJ>>;H7D:JEJ>;019ECCKD?JO 
             
             2;I7D9J?EDOEKJE;NFKBI?ED?D78;O7D9;?<OEKH;JKHDJEJ>;0%7D:7H;
             <EKD:=K?BJOE<7I;9ED:IJ7D:7H:9>7H=; 
             
    )EM>;H; 7D: 7J DE J?C; :?: J>; />H;7J II;IIC;DJ /;7C  J>; 0%  J>; *-  EH J>;

         0D?L;HI?JO<79KBJO79JEHJH;7J(EH=7D7I?<I>;FEI;:7DOJ>H;7JJEJ>;CRDEI;9KH?JOM7I

         FH;I;DJ:KH?D=>;HJH?7B <EH?DIJ7D9; )EM>;H;7D:7JDEJ?C;:?:J>;/>H;7JII;IIC;DJ




                                                    
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 69 of 102 Pageid#: 69




         /;7C J>;0% J>; *- EHJ>;0D?L;HI?JO<79KBJOIK==;IJEHEH:;H(EH=7DJE7JJ;D:

         7D=;HC7D7=;C;DJEHL?EB;D9;FH;L;DJ?ED9B7II;I <EH?DIJ7D9; 

    (EH=7D:?:DEJ9EDL;O7J>H;7J (EH=7D:?:DEJFEI;7J>H;7J (EH=7DM7IDEJ7J>H;7J 

    $DIJ;7: 8;97KI;E<>;HH79; 8;97KI;E<J>;H79;E<J>;J;;D7=;:799KI;H 7D:8;97KI;E<

         H79?7B FEB?J?9I  (EH=7D M7I F?BBEH?;: <EH DEJ I>EM?D= IK<<?9?;DJ 7M7H;D;II E<

         S>7HBEJJ;IL?BB;VIL?EB;DJ>?IJEHO T

    />;S>7HBEJJ;IL?BB;VIL?EB;DJ>?IJEHOTH;<H7?D?I7B;=7BBO7D:BE=?97BBO87DAHKFJ87I?IKFED

         M>?9> JE 87I; J>; :;FH?L7J?ED E< (EH=7DVI H?=>JI E< !H;; .F;;9>  8KJ J>7JVI @KIJ M>7J

         +H;I?:;DJ-O7D7D:;7D"HEL;IJH?;:JE:EM>;DJ>;OB7KD9>;:J>?I;<<EHJ7=7?DIJ(EH=7D

         ;JJ?D=;H ;HJ7?D<7CEKI0D?L;HI?JOE<1?H=?D?7+HE<;IIEHIM>EB?L;?DS+7L?B?EDITEDJ>;

         L7KDJ;:S'7MDT?DJ>;S97:;C?97B1?BB7=; T>7L;I7?:J>7JJ>;O97DD;L;HBEEA7J017VI

         '7MDEHJ>;JEMDE<>7HBEJJ;IL?BB;J>;I7C;M7O7<J;HJ>;S0D?J;J>;-?=>JTH7BB?;I7D:

         L?EB;DJ9B7I>;IEDK=KIJ7D:  +H;I?:;DJ-O7D>?CI;B< J>EK=>;DI9ED9;:<7H

         7M7O?D7C8H?:=; (7II79>KI;JJI7JJ>;J?C;E<J>;H7BB?;I MEKB: M>;D>;799;FJ;:J>;

         FH;I?:;D9OE<J>;0D?L;HI?JO7O;7HB7J;H IJ7J;?DJ>;FH;IIJ>7J S>;@KIJ>7:JE9EC;879AT

            J>;0D?J;J>;-?=>JH7BB?;I ;7DE<.JK:;DJI"HEL;I?IH;FEHJ;:JE>7L;8;;D

         F>OI?97BBO ?D@KH;: 7D: J>EHEK=>BO JH7KC7J?P;: 8O J>; H7BBO ED J>; ;L;D?D= 8;<EH; J>;

         97J79BOIC?9FHEJ;IJI 

    2>?B; IEC; F;EFB; C7O :H?L; J>HEK=> >7HBEJJ;IL?BB;  EH :EMDJEMD >7HBEJJ;IL?BB;  EH

         M7BA SJ>; '7MD T 7D: H;97BB J>EI; >EHH?8B; ;L;DJI  C7DO F;EFB;?D J>?I 9ECCKD?JO 7D:

         L?I?JEHIJE?JI?CFBO:EDEJ 2>;D(EH=7D>;7HIJ>;:7J;SK=KIJ TI>;J>?DAIE<ED;

         J>?D=7D:ED;J>?D=EDBORJ>;:7O>;H<7J>;H:?;: 2>OJ>;;<;D:7DJI7D:J>;0%SJH?7B




                                                     
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           F7D;BT9ECFH?I;:E<7HHE=7DJ7D::?IH;IF;9J<KBKD:;H=H7:K7J;IJ>EK=>JJ>7JJ>;=?HB<HEC

           J>;EKDJOM>EM7I7D;?=>J;;D O;7H EB:9ECCKD?JO9EBB;=;IJK:;DJ7JJ>;J?C;E<J>;

           SL?EB;DJ>?IJEHOTMEKB:>7L;8;;D 7JJ>7JL;HOCEC;DJ J>?DA?D=E<J>7JSL?EB;DJ>?IJEHOT

           ?IJHKBOJ>;>;?=>JE<COEF?9I;B< H?=>J;EKID;II 

    2?J>?D ED; M;;A E< J>; 0D?L;HI?JOVI S9ED:;CD7J?EDT E< (EH=7D 7D: J>; <7BI;

           C?I9>7H79J;H?P7J?EDE<>;HIF;;9>7I7SJ>H;7J TM?J>EKJIF;7A?D=M?J>(EH=7DEHH;L?;M?D=

           7DO;L?:;D9; ;L;HOIJK:;DJ?DJ>;B7IIE<  7D:S9E>EHJITE<+EB?J?97B

           +>?BEIEF>O +EB?9O 7D:'7M+HE=H7C?DJ>;EBB;=;E<HJI.9?;D9;IH;9;?L;:7D;C7?B

           <HEC J>; +HE=H7C ?H;9JEH IJ7J?D=  7CED= EJ>;H J>?D=I  J>7J (EH=7DVI IF;;9> CKIJ 8;

           SKD9ED:?J?ED7BBO9ED:;CD;: T

    KH?D=J>;M;;AIJE9EC; (EH=7DMEKB:8;<EH9;:JEC;;JM?J><79KBJOC;C8;HIE<>;H

           :;F7HJC;DJ M?J>EKJ 9EKDI;B FH;I;DJ 7D: 9ECF;BB;: 8O J>EI; FHE<;IIEHI JE 7JJ;D: JME

           S4EECTI;II?EDIM?J>C;C8;HIE<>;H+EB?J?97B+>?BEIEF>O +EB?9O7D:'7M9E>EHJ KH?D=

           J>;CKBJ? >EKHI;II?EDI (EH=7DM7I>KC?B?7J;: ;N9EH?7J;: 7D:I>7C;: (EH=7DM7IJEB:

           8OED;IJK:;DJ M?J>7FFHEL?D=7FFB7KI;<HECJ>;EJ>;HI J>7JI?JJ?D=?D9B7IIM?J>>;H ;L;D

           J>HEK=>79ECFKJ;HI9H;;DED4EEC M7IJ>;;GK?L7B;DJE<J>;IJK:;DJ8;?D=<EH9;:JEI?J

           ?D7HEECSM?J>>;HH7F?IJ T(EH=7DM7IJEB:8OJ>;IJK:;DJI?D>;H9E>EHJJ>7J?DEH:;HJE

           8;7BBEM;:JE7JJ;D:9B7II I>;MEKB:>7L;JEFHEL;J>7JI>;M7IDVJ7H79?IJ (EH=7D?DI?IJ;:

           J>7JI>;M7I?DDE9;DJ7D:J>7JJ>;O:?:DVJADEMJ>;<KBBIJEHO M>?9>FHECFJ;:J>;CJE

           ?D<EHCJ>;J;79>;HJ>7JI>;I>EKB:DEJ8;7BBEM;:JE7JJ;D:9B7II;I ;L;DEDB?D;J>HEK=>

           4EEC 0BJ?C7J;BO :K;JEJ>;IJK:;DJIVFH;:;J;HC?D7J?EDJ>7J(EH=7DM7I=K?BJOIEC;E<


  
          .%.%%$/.,92%!$4(%72)44%.#/--5.)#!4)/.3"%47%%.4(%!.$/2'!./2/2'!.<3#/5.3%,!2%4)2%$
  #2)-).!,$%&%.3%,!79%27/2+).'/.!"!3)3!!69&)'(4%20),/47(/&,%7/6%2 #/-"!4-)33)/.3).
     )%4.!-4/6)3#%2!,,9&%%,4(%$)3$!).!.$$)3'5344(!44(%3%.)6%23)49345$%.43%8()")4%$4/7!2$3/2'!.!.$(%2
  !$6)3/2


                                                           
Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 71 of 102 Pageid#: 71




          J>;IJK:;DJIM;H;7BIEC;C8;HIE<J>;0%RED;M7I7S0%.;D?EH.KFFEHJ*<<?9;HTM>E

          M7I?DLEBL;:JEIEC;:;=H;;?D(EH=7DVI0%FHE9;;:?D=J>7JM7IED=E?D=7JJ>;J?C; 

          (EH=7DM7I<EH9;:JE7JJ;D:>;H9B7II;I?D7DS7IOD9>HEDEKIT<EHC7J M>?9>?I<7D9OM7O

          E<I7O?D=J>7JI>;M7I<EH9;:JEM7J9>B;9JKH;IED3EK/K8;M?J>EKJJ>;8;D;<?JE<7DO9B7II

          F7HJ?9?F7J?ED 

    />; 0D?L;HI?JO ?D?J?7J;: 7 <EHC7B 9ECFB7?DJ FHE9;II M?J> J>; *-  ;L;D J>EK=> DE

          9H;:?8B; EH JHKIJMEHJ>O ;L?:;D9; >7: EH >7I ;L;H 8;;D FHE:K9;: IKFFEHJ?D= 7 9B7?C EH

          IK==;IJ?EDJ>7J(EH=7D;D=7=;:?D7DOH79?7B>7H7IIC;DJEHH79; 87I;:9ED:K9J7J7BB 

    />;0D?L;HI?JO +H;I?:;DJ-O7D 7D:;<;D:7DJ"HEL;IMEKB:DEJ>7L;J7A;DJ>;I;79J?EDI

          7D:MEKB:DEJ>7L;7BBEM;:J>;I;79J?EDIJE8;J7A;D7=7?DIJ(EH=7D;JJ?D=;H8KJ<EH>;H

          H79; 

    />; 0D?L;HI?JO >7I D;L;H ;NFB7?D;: M>O ?J ?D?J?7J;: J>H;; I;F7H7J; FHE9;II;I ?DLEBL?D=

          CKBJ?FB; ?DL;IJ?=7JEHI  ?DJ;HL?;MI  H;L?;MI E< ;L?:;D9;  7D: 7:@K:?97J?ED  7D: J>;

          0D?L;HI?JO>7ID;L;H;NFB7?D;:M>OJ>;I;FHE9;II;IJEEAJ>?HJ;;DCEDJ>IJE9ECFB;J; 

    />;?DL;IJ?=7J?EDI 7D7BOI;I 7D::;B?8;H7J?EDIEL;H(EH=7DVI<7J;RM>;J>;HI>;MEKB:8;

          7BBEM;:JE7JJ;D:>;H=H7:K7J?ED9;H;CEDO M>;J>;HI>;MEKB:H;9;?L;>;H:;=H;; M>;J>;H

          >;HF;HC7D;DJH;9EH:MEKB:<EH;L;H8;IJ7?D;:M?J>?BB;=7B7D:KD9EDIJ?JKJ?ED7BD;=7J?L;

          DEJ7J?EDI B7IJ;:J>?HJ;;DCEDJ>I 

       L;D M>;D J>; 0D?L;HI?JO 7D: ;<;D:7DJI -O7D 7D: "HEL;I AD;M E< 7 FEI?J?L;

          :;L;BEFC;DJEHKD9EL;H;:<79JIJ>7JMEKB:8;<7LEH78B;JE(EH=7D J>;O;?J>;HH;<KI;:JE

          FHEL?:; J>7J ?D<EHC7J?ED JE (EH=7D EH M?J>>;B: J>; ?D<EHC7J?ED M>?B; J>;O IEK=>J

          7::?J?ED7B SH;L?;MIT 7D: S7FFHEL7BIT 8O DKC;HEKI >?=> H7DA?D= 7:C?D?IJH7JEHI 7D:

          SIF;9?7B9EKDI;BTB7MO;HI />?I>7:J>;FH79J?97B7D:L;HOH;7B;<<;9JE<A;;F?D=(EH=7D




                                                     
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          ?D79EDIJ7DJ7D:9EDJ?DK?D=IJ7J;E<F;H?B 2>;D7IA;:8O(EH=7DVI9EKDI;BM>;J>;HJ>;

           *->7:9ECFB;J;:?JI?DL;IJ?=7J?ED8;97KI;J>; *-7FF;7H;:JE8;8;OED:?JIEMD

          :;7:B?D;I<EH9ED9BK:?D=IK9>;<<EHJI J>; *- ADEM?D=J>7JJ>;;L?:;D9;9ECF;BB?D=BO

          :;CEDIJH7J;:(EH=7DVI?DDE9;D9; 7D:ADEM?D=J>7J?J?DJ;D:;:JE<?D:7D:9ED9BK:;J>7J

          (EH=7DM7IDEJ=K?BJOE<J>;9>7H=;I7=7?DIJ>;H MEKB:EDBOI7OJ>7J?JI9ED9BKI?EDIM;H;

          SKD:;HH;L?;MT8OI;D?EH7:C?D?IJH7JEHI7D:B7MO;HI 

    />; :7O 8;<EH; (EH=7DVI =H7:K7J?ED  >;H B7MO;H M7I <EH9;: JE 7IA *- M>;J>;H I>;

          MEKB:8;7BBEM;:JE7JJ;D: />; *-IJH7D=;BO8KJL;HOJ;BB?D=BOH;IFED:;:J>7J?JS>7I

          DEJH;GK;IJ;:J>7J(EH=7DVI:;=H;;8;M?J>>;B:T7D:?D:?97J;:J>7JI>;M7I<H;;JE7JJ;D:

          !?D7B N;H9?I;I 

    +H?EH JE J>7J  IEC;J?C; ?D J>; .FH?D= E<   *- 9ED9BK:;: ?JI ?DL;IJ?=7J?EDI 7D:

          H;D:;H;:?JI<?D:?D=I?D7<?D7BH;FEHJJ>7J?IJ>EK=>JJE8; F7=;IBED= />;+B7?DJ?<<

          :E;IDEJADEMM>;D+H;I?:;DJ-O7D7D:;7D"HEL;IM;H;SKDE<<?9?7BBOTC7:;7M7H;E<

          J>;H;FEHJIEHJ>; *-VI9ED9BKI?EDI 7BJ>EK=>8EJ>;<;D:7DJIFEII;II;:7B7H=;8E:O

          E<;L?:;D9;H;=7H:?D=(EH=7DVI?DDE9;D9;<EHC7DOCEDJ>I 

    !EHH;7IEDIJ>7J>7L;D;L;H8;;D;NFB7?D;:EH@KIJ?<?;: J>; *-9EDJ;D:;:J>7JM>?B;

          J>;?H MEHA M7I :ED;  J>;?H 9ED9BKI?EDI 7D: <?D:?D=I 7D: J>; H;FEHJI 9EDJ7?D?D= J>;C

          H;GK?H;:CKBJ?FB;7::?J?ED7BB;L;BIE<H;L?;M7D:7FFHEL7B 

       L;DJK7BBO  IEC;J?C; ?D %KD; E<   M;BB  =H7:K7J?ED 7D: :KH?D= J>; GK?;J E<

          IKCC;H M>;DJ>;0D?L;HI?JO>7:H;7IEDJE8;B?;L;J>7J(EH=7DMEKB:8;=ED;<HECJ>;

          0D?L;HI?JO <EH;L;H 7D: J>; J;;D7=;: 79J?L?IJ 7D: >;H <EBBEM;HI MEKB: 8; 7M7O <HEC

          "HEKD:I ED IKCC;H 8H;7A  J>; *- <EHC7BBO 7D: E<<?9?7BBO FH;I;DJ;: JME H;FEHJI JE

          +H;I?:;DJ-O7DR7 F7=;H;FEHJJ>7J>7ID;L;H8;;DFHE:K9;:JEJ>;+B7?DJ?<<EH>;H




                                                     
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         9EKDI;B7D:7I?NF7=;H;FEHJIKCC7H?P?D=J>;;L?:;D9; J>; *-VI9ED9BKI?EDI 7D:

         J>; *-VI:;9?I?EDIH;=7H:?D=J>;9ECFB7?DJI7D:?DL;IJ?=7J?EDIJ>7J>7: 8OJ>;D 8;;D

         F;D:?D=<EHD;7HBO7O;7H 

    />; *-VI H;FEHJI <KBBO 7D: 9ECFB;J;BO ;NED;H7J;: (EH=7D  />; *- <EKD: J>7J

         (EH=7DD;L;HIFEA;EH79J;:?D7H79?7BBO:?I9H?C?D7JEHOEH>7H7II?D=C7DD;H />; *-

         <EKD:J>7J(EH=7DD;L;HJ>H;7J;D;:7DOED; J>7J(EH=7DM7IDEJ7J>H;7JJE7DOED; J>7J

         (EH=7DVI MEH:I 9EKB: DEJ 8; H;7IED78BO ?DJ;HFH;J;: 7I 7 J>H;7J  J>7J DE ;L?:;D9; E<

         J>H;7J;D?D=?DJ;DJ;N?IJ;:H;=7H:?D=(EH=7DVIIJ7J;E<C?D: J>7JJ>;J;;D7=;HM>EI;9B7?C

         E<8;?D=J>H;7J;D;:<EHC;:J>;IEB;87I?IE<7BBE<J>;9ECFB7?DJI7D:FHE9;;:?D=I7=7?DIJ

         (EH=7DD;L;H;L;D>;7H:(EH=7DIF;7A 7D:J>7JI>;7:C?JJ;:>;H799KI7J?EDIM;H;<7BI;

         7D:87I;:EDSIEC;J>?D=I>;C7O>7L;UC?I>;7H:VT

    #7L?D= 8;;D <KBBO 7D: <EHC7BBO 7FFH?I;: E< <79JI 7D: FHE<;II?ED7B ?DL;IJ?=7JEHIV

         9ED9BKI?EDI J>7J (EH=7D ;JJ?D=;H M7I ?DDE9;DJ 7D: J>7J  J>;H;<EH;  J>; 0D?L;HI?JOVI

         :?I9?FB?D;E<>;HM7IKD9EDIJ?JKJ?ED7B7I7C7JJ;HE<B7M7D: DEM FK8B?9H;9EH: +H;I?:;DJ

         -O7DI>EKB:>7L;   EH:;H;:J>7JJ>;0D?L;HI?JO?CC;:?7J;BOJ7A;C;7IKH;IJE

         H;9J?<OJ>;:;FH?L7J?EDIE<(EH=7DVI9EDIJ?JKJ?ED7BH?=>JI ?D9BK:?D=J>;;NFKD=;C;DJE<

         J>;D;=7J?L;DEJ7J?EDI7D:?D<EHC7J?ED?D>;HF;HC7D;DJIJK:;DJH;9EH:7D:IEC;<EHCE<

         7DDEKD9;C;DJH;L;HI?D=FH?EHS9ED:;CD7J?EDIT7D:C?IJH;7JC;DJE<J>;+B7?DJ?<< 

    $DIJ;7: +H;I?:;DJ-O7D7D:;7D"HEL;IH;C7?D;:I?B;DJ 

    +H;I?:;DJ-O7DM7IDVJ78EKJJEFK8B?9BO7:C?J;HH?D=EH:E7DOJ>?D=J>7J9EKB:7FF;7HJE

         8;IKFFEHJ?D=EH:;<;D:?D=J>;SH79?IJTSJ>H;7JITE<7SM>?J; TS)7P? TS8?J9> TS&7H;DT

         M?J>EKJ8;?D=<EH9;:JE:EIE );?J>;HM7I;7D"HEL;I ;L;DJ>EK=>>?IJ?C;ED"HEKD:I

         M7I9EC?D=JE7D;D: 




                                                   
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    .E  +H;I?:;DJ -O7D 7D: ;7D "HEL;I B;J J>; C7B?9?EKI  H79?7BBO CEJ?L7J;:  0D?L;HI?JO

         FHEF7=7J;:7D:7CFB?<?;:B?;IIJ7D:7D:B;JJ>;>7HC7D::7C7=;IJE(EH=7D9EDJ?DK; 

    />;0D?L;HI?JOVI7D:;<;D:7DJI-O7DVI7D:"HEL;IV:;9?I?EDIJEFKHFEI;<KBBOJ7A;DE

         79J?EDJE;NED;H7J;7D:FHEJ;9J(EH=7D;JJ?D=;H7<J;H8;?D=FHEL?:;:M?J>DEJ?9;E<J>;

         ;L?:;D9;7D:J>;?DL;IJ?=7JEHIV<?D:?D=IM;H;CEJ?L7J;:8OH79; CEJ?L7J;:8O(EH=7DVI

         H79; 7D:MEKB:DEJ>7L;E99KHH;:8KJ<EH(EH=7DVIH79; 

    <J;H H;9;?FJ E< J>; *-VI IKCC7HO H;FEHJ  J>; +B7?DJ?<< J?C;BO 7D: 7FFHEFH?7J;BO

         F;J?J?ED;:J>;EDBOF;HIEDM?J>J>;79JK7B7D:JHK;7KJ>EH?JOJEH;D:;H ;<<;9J 7D:;D<EH9;

         :?I9?FB?D; 7=7?DIJ >;H 7D: J>; EDBO F;HIED M>E M7I IF;9?<?97BBO 7KJ>EH?P;: 8O B7M JE

         H;L;HI;  M?J>:H7M  CE:?<O  EH 9EHH;9J IJK:;DJ :?I9?FB?D; :;9?I?EDI ;<;D:7DJ +H;I?:;DJ

         %7C;I -O7D 

    *DK=KIJ  ;<;D:7DJ%7C;I -O7D9>EI;JE:EJ>;;N79JEFFEI?J;E<J>;H?=>J

         J>?D=7D:;B;9J;:DEJJEE8I;HL; >EDEH 7D:FHEJ;9J(EH=7DVI9B;7HBOFHEJ;9J;:7D:M;BB

         ;IJ78B?I>;: H?=>JI  $DIJ;7:  +H;I?:;DJ -O7D 9>EI; JE F;HC7D;DJBO FKD?I> (EH=7D 7D:

         <EH;L;HJ7HD?I>>;HH;FKJ7J?ED7D:9>7H79J;H ;L;DJ>EK=>>;FEII;II;:J>;>7H:;L?:;D9;

         J>7J>?I:;9?I?EDM7I;DJ?H;BO:;LE?:E<7B;=7BEH<79JK7B87I?I !?D7BBO >?I;HHED;EKI7D:

         KD9EDIJ?JKJ?ED7B:;9?I?EDIM;H;CEJ?L7J;:8OH79; CEJ?L7J;:8O(EH=7DVIH79; 7D:MEKB:

         DEJ>7L;8;;DC7:;8KJ<EH(EH=7DVIH79; 

      !"!!!

    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    ;=?DD?D=EDJ>;CEHD?D=E<%KBO  7D:9EDJ?DK?D=J>HEK=>EKJJ>;:7O ;L;HO:7O 

         M?J>B?JJB;H;IF?J; KDJ?BJ>;FH;I;DJ :7OI7D:B?A;BO<EHC7DOJ>EKI7D:IE<:7OIJE




                                                    
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         9EC;?DJE(EH=7DVI<EH;I;;78B;<KJKH; (EH=7D>7I7M7A;D;:?D7IJ7J;E<JEJ7B78@;9J<;7H

         7D:7DN?;JO S$IJ>?IJ>;:7OJ>;OM?BB<?D:C;7D:A?BBC;TS$IJE:7OJ>;:7OJ>7J$M?BB8;

         8KHD;:7B?L;?DCO97HTS2?BBIEC;ED;>7H7II7D:>KHJCOCEJ>;HT

    (EH=7D7D:>;H<7C?BOM;H;S:ENN;:T7D:J>;?H?:;DJ?J?;I7D:F;HIED7B?D<EHC7J?EDM;H;

         M?:;BO8HE7:97IJ ;L;DJ>;?:;DJ?JOE<>;H:;9;7I;:<7J>;H />;0D?L;HI?JOJEEADEIJ;FIJE

         >7BJJ>7J?D>KC7D;JH;7JC;DJE<(EH=7D?D<79J 0D?L;HI?JOB;7:;HI@E?D;:?DJ>;;<<EHJ 

    -7H;?IJ>;:7OJ>7J(EH=7DVI:7?BOB?<;7D:9EDI9?EKID;II7H;DVJ9BE7A;:?D7:7HA :;;F

         I;DI;E<<;7H7D:<EH;8E:?D= .EC;J?C;I J>;F7?D7D:7DN?;JO7H;IEFHE<EKD: (EH=7D

         IF;D:IJ>;:7O?D>;H8;:HEEC ?D:7HAD;II M?J>EDBOE997I?ED7BL?I?JIJEJ>;87J>HEECJE

         J>HEMKF .EC;J?C;I (EH=7D>7I7S=EE::7O T8KJCEH;E<J;DJ>7DDEJ ;L;DJ>EI;S=EE:

         :7OITM?BB8;?DJ;HHKFJ;:8O7IJH7O9ECC;DJEH;L;D7D?DDE9KEKI;L;DJJ>7JM?BBH;C?D:

         >;HE<J>;J>H;7JI7=7?DIJ>;H7D:M?BB8K88B;JEJ>;IKH<79;E<>;HC?D:7D:9EDI9?EKID;II 

         97KI?D=>;HC;DJ7B7D:F>OI?97BC7D?<;IJ7J?EDIE<I;L;H;;CEJ?ED7B:?IJH;II 

    2>;D (EH=7D M7J9>;I J>; L?:;EI E< J>; FHEJ;IJ;HI 7JJ79A?D= >;H 7D: J7KDJ?D= >;H 7D:

         87D=?D=ED>;H97H J>;>;7HJCED?JEHED>;HM7J9>H;=?IJ;HI7D?D9H;7I;<HEC8;7JIF;H

         C?DKJ;JEM;BBEL;H 

    JJ>;J?C;E<J>;J>H;7JIE<:;7J>7D:=HK;IEC;8E:?BO?D@KHOJE(EH=7D I>;M7I7:L?I;:

         8O0D?L;HI?JO+EB?9;JEIJ7O7M7O<HEC"HEKD:IRC;7D?D=IJ7O7M7O<HECJ>;9EBB;=;

         97CFKIM>;H;I>;M;DJJEI9>EEB7D:IJ7O7M7O<HECEMDJEMD>7HBEJJ;IL?BB;EHEJ>;H

         CEH;FEFKB7J;:FB79;I?DJ>;?JORC;7D?D=IJ7O<HECI>EFF?D=9;DJ;HIEHH;IJ7KH7DJI?D

         J>;?JOJ>7JM7I>;H>EC;JEMD (EH=7DH;GK;IJ;:J>7JJ>;0D?L;HI?JOFHEL?:;>;HM?J>7D

         S;I9EHJTEHC87II7:EHEHFEB?9;E<<?9;HEHI;9KH?JO=K7H:JE799ECF7DO>;HM>;D;L;HI>;

         M7I H;GK?H;: JE 9EC; EDJE 0D?L;HI?JO FHEF;HJO 7D: I>; <;BJ 7<H7?: EH ?D :7D=;H  />;




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          0D?L;HI?JOEKJH?=>J:;D?;:>;HH;GK;IJ $DIJ;7: J>;FEB?9;7:L?I;:(EH=7DJEM;7H7C7IA

          J>7J9EL;H;:7ICK9>E<>;H<79;7IFEII?8B;7D:JEM;7H7>7JJE9EL;HJ>;H;IJE<>;H>;7: 

          7BBIEI>;9EKB:7LE?::;J;9J?ED B;7HBO J>;FEB?9;MEKB:DEJC7A;IK9>H;9ECC;D:7J?EDI

          KDB;II J>;O H;7IED78BO 8;B?;L;: J>7J (EH=7D M7I  EH 9EKB: 8;  ?D :7D=;H  3;J  J>;

          0D?L;HI?JOH;<KI;:JE>;BF 

    !HECJ>;CEC;DJI>;7MEA;ED%KBO  JES97BBIJE79J?EDT8OJ>;J;;D7=;H7D:>;H

          <EBBEM;HI  ?D9BK:?D= FHEC?D;DJ 0D?L;HI?JO <79KBJO C;C8;HI  <EH (EH=7D JE 8; ;NF;BB;:

          <HECJ>;0D?L;HI?JO KDJ?B+H;I?:;DJ-O7DVIKD9EDIJ?JKJ?ED7B7D:H79?7BBOCEJ?L7J;:7:L;HI;

          :;9?I?EDI 7=7?DIJ >;H ED K=KIJ     (EH=7D 97HH?;: J>; 9EDIJ7DJ :H;7: 7D: :;;F

          7DN?;JOJ>7JI>;MEKB:8;;NF;BB;:<HECJ>;0D?L;HI?JO7D: EHJ>7J>;H:;=H;;MEKB:8;

          H;<KI;: M?J>>;B: M?J>:H7MD EHH;I9?D:;: (EH=7D>7:MEHA;:J>;8;JJ;HF7HJE<>;HB?<;

          JE 8;9EC; 7 0D?L;HI?JO E< 1?H=?D?7 IJK:;DJ 7D: =H7:K7J; 7D: JE I;9KH; J>; FH;IJ?=?EKI

          :;=H;;<HECJ>;>?=>BOH;=7H:;:I9>EEB7D:FHE=H7C BBE<?JM7IJEHD<HEC>;H7D:JEII;:

          7I?:; B?A;>;HFB;7I<EH>;BF 8OJ>;0D?L;HI?JOVI7D:;<;D:7DJ-O7DVI7D:"HEL;IV79JI 

          ;HHEHI 7D:EC?II?EDI M>?9>M;H;KD9EDIJ?JKJ?ED7B7D:H79?7BBOCEJ?L7J;: 

    (EH=7D M7I IK8@;9J;: JE KDIF;7A78B; ;CEJ?ED7B 7D: C;DJ7B 78KI; 8O J>; 0D?L;HI?JO

          9ECCKD?JO CEIJDEJ78BOJ>;M?:;IFH;7:S9ED:;CD7J?EDITE<>;H7D:J>;>KC?B?7J?D=7D:

          :;C;7D?D=SIJHK==B;I;II?EDITI>;M7I<EH9;:JE7JJ;D:7D:M>;H;I>;M7I8KBB?;: J7KDJ;: 

          7D:CE9A;: (EH=7DM7IIE9?7BBOEIJH79?P;:8OJ>;0D?L;HI?JO9ECCKD?JO7I7H;IKBJE<

          J>;;<;D:7DJIV7CFB?<?97J?ED7D:L7B?:7J?EDE<J>;H79?7BBOCEJ?L7J;:97CF7?=D7=7?DIJ

          >;H7D:J>;;<;D:7DJIVED=E?D= ;D:B;II?DL;IJ?=7J?EDI7D:FHEI;9KJ?EDIE<>;H 

    0D?L;HI?JO <79KBJO J;79>;HI H;<KI;: JE 9EC; JE (EH=7DVI 7?:  9B7?C?D= J>7J J>;O <;7H;:

          H;J7B?7J?ED<HECJ>;0D?L;HI?JO7D:J>;-O7D:C?D?IJH7J?ED 




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    (EH=7DVI J;79>;HI 7BJ;H;: >;H 9EKHI; E< IJK:O 7D: >;H H?=>J 7D: 78?B?JO JE 7JJ;D: 9B7II 

          ;NFH;II?D=<;7HJ>7JJ>;OMEKB:8;7JJ79A;:8OJ>;CE87D:J>;0D?L;HI?JO9ECCKD?JO 

    (EH=7D7D:>;HCEJ>;H7JJ;D:;:J>;B7H=; ?CF;HIED7BS!?D7B N;H9?I;IT:E?D=M>7JJ>;O

          9EKB: JE >?:; >;H ?:;DJ?JO M>?B; C7?DJ7?D?D= IEC; I;C8B7D9; E< DEHC7B9O 7D: :?=D?JO 

          (EH=7DM7IDEJ?DL?J;:JE>;HIC7BB;H ?DJ?C7J;:;=H;;9;H;CEDO7D:MEKB:H;9;?L;>;H

          :?FBEC7IEC;J?C;B7J;H ?DJ>;C7?B BIE (EH=7DM7IDEJ?DL?J;:JE7DO0D?L;HI?JOEH

          :;F7HJC;DJ=H7:K7J?ED9;B;8H7J?EDI )EJIKHFH?I?D=BO =?L;DJ>;>EIJ?B?JO<EC;DJ;:7=7?DIJ

          (EH=7D8OJ>;0D?L;HI?JO?D?JI9ECCKD?JO M?:;97CF7?=DR7D:J>;0D?L;HI?JOVI<7?BKH;

          JE7DDEKD9;(EH=7DVI?DDE9;D9;R(EH=7DM7IDEJ?DL?J;:JE7DOIJK:;DJ B;:9;B;8H7J?EDI

          EHF7HJ?;I 

    !HEC %KBO     J>HEK=> K=KIJ     M>;D +H;I?:;DJ -O7D H;D:;H;: >?I

          KD9EDIJ?JKJ?ED7B 7D: H79?7BBO CEJ?L7J;: :;9?I?ED JE FKD?I> (EH=7D 7D: DEJ; ?J ED >;H

          F;HC7D;DJ H;9EH:  8KJ :?: DEJ E<<?9?7BBO H;I9?D: >;H :;=H;; DEH E<<?9?7BBO IJ7J; J>7J >;H

          :;=H;; MEKB: DEJ 8; H;I9?D:;: ?D J>; <KJKH; R 7 FEM;H J>7J J>; 0D?L;HI?JO 7D: ?JI

          7:C?D?IJH7J?ED 9B7?C JE IJ?BB FEII;II  J>HEK=> J>; FH;I;DJ  (EH=7D >7I 7M7A;D;: ;79>

          CEHD?D=M?J>:H;7: MED:;H?D=?<JE:7OM?BB8;J>;:7OI>;M?BB8;<EH;L;H87D?I>;:<HEC

          J>;0D?L;HI?JO9ECCKD?JO7D: EH>;H:;=H;;M?J>>;B: M?J>:H7MD EHH;I9?D:;: 

    /E:7O (EH=7D?I7<H7?:JE=EEKJ?DJEFK8B?9 (EH=7D7LE?:IJ>;S>7BBEM;:T"HEKD:IE<

          J>;ED9; 8;BEL;:0D?L;HI?JO<EH<;7HE<8;?D=7JJ79A;: 

    (EH=7DM7I<?H;:<HEC7@E8I>;>;B: J>;;CFBEO;HI9?J?D=J>;?H<;7HE<H;J7B?7J?ED8OJ>;

          0D?L;HI?JO7D:?JI9ECCKD?JO?<J>;?H;CFBEOC;DJE<>;HM7I:?I9EL;H;: 

    (EH=7D>7I>7:7@E8E<<;HM?J>:H7MDED9;J>;;CFBEO;H:?I9EL;H;:M>EI>;M7I EKJE<

          <;7HE<H;J7B?7J?ED8OJ>;0D?L;HI?JO7D:?JI9ECCKD?JO 




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    (EH=7D>7I>7:;CFBEO;HI9EDL;D;SH?IA7II;IIC;DJTC;;J?D=IJE:;J;HC?D;?<;CFBEO?D=

         >;H9EKB:FKJJ>;EH=7D?P7J?ED7JH?IAE<H;J7B?7J?ED8OJ>;0D?L;HI?JO9ECCKD?JO 

    (EH=7D>7I8;;DJEB:8OFH79J?9?D=B7MO;HI?D1?H=?D?7J>7JJ>;B?A;B?>EE:E<>;H8;?D=

         799;FJ;:JEB7MI9>EEBEH;L;H8;?D=E<<;H;:7@E8?DJ>;B;=7BFHE<;II?EDR;IF;9?7BBOJ>;

         >7HBEJJ;IL?BB;7D:B8;C7HB;EKDJO7H;7 7H;IB?CJEDED; 

    (EH=7D>7IB;7HD;:J>7J>;HCEJ>;H>7I8;;D>7H7II;:7JMEHA8O9E MEHA;HIEDJ>;87I?I

         E<>;HH79;7D:J>;<79JJ>7JI>;?I7SH79?IJVITCEJ>;H ;IF?J;DEJ?9;JEJ>;0D?L;HI?JOVI

           *- 7D: #- 7FF7H7JKI;I  DE 79J?ED JE FHEJ;9J EH :;<;D: (EH=7DVI CEJ>;H >7I 8;;D

         KD:;HJ7A;D 

    (EH=7D >7I IK<<;H;: I;L;H; ;CEJ?ED7B 7D: FIO9>EBE=?97B :?IJH;II J>7J >7I 9EDJ?DK7BBO

         ?DJ;HHKFJ;:7D:?CF7?H;:>;HC7@EHB?<;79J?L?J?;I7D:;D@EOC;DJE<B?<;<EH :7OI7D:

         M?BB  JE 7 H;7IED78B; :;=H;; E< I9?;DJ?<?9 7D: C;:?97B 9;HJ7?DJO  9EDJ?DK; M;BB ?DJE J>;

         <KJKH; 

    (EH=7D>7IIK<<;H;:I?=D?<?97DJ =HK;IEC; 7D:KJJ;HBO>;7HJ8H;7A?D=C;:?97B9ED:?J?EDI

         7D:?D@KH?;IJ>7J7H; JE7H;7IED78B;:;=H;;E<C;:?97B7D:I9?;DJ?<?99;HJ7?DJO :?H;9JBO7D:

         FHEN?C7J;BO 97KI;: 8O 7D: 7JJH?8KJ78B; JE J>; 0D?L;HI?JO E< 1?H=?D?7VI 7D: ;<;D:7DJI

         -O7DVI7D:"HEL;IVC?IJH;7JC;DJE<>;H 

    2>?B;CEIJIJK:;DJIIF;D:J>;?H<?D7BO;7HE<9EBB;=;;D@EO?D=J>;?HB7IJCEC;DJIE<9EBB;=;

         B?<;7D:FH;F7H?D=<EHJ>;MEHB:8;OED: (EH=7D;JJ?D=;HVIB?<;M7I9EDIKC;:M?J>J>;

         :7?BO:;9?I?EDE<M>;J>;HJE8H7L;J>;EKJI?:;MEHB: B;IJI>;8;S97K=>JT7D:8KHD;:7B?L;

         ?D >;H L;>?9B; 9EDIKC;: M?J> 7 CKBJ?JK:; E< ?DL;IJ?=7J?EDI  <79KBJO 7D: IJK:;DJ

         ?DGK?I?J?EDI S@K:?9?7BFHE9;;:?D=I7D:JH?7BI T9?L?BH?=>JI?DL;IJ?=7J?EDI7D:?DJ;HHE=7J?EDI

         9EDIKC;:M?J>J>;I7:D;II7D:I>7C;E<8;?D=7DEKJ97IJ7D:E<>7L?D=8;;DEIJH79?P;:




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         9EDIKC;: M?J> J>; :;=H7:?D= 7D: >KC?B?7J?D= ADEMB;:=; J>7J I>; M7I DEJ M;B9EC; 7J

         IE9?7BEHIJK:;DJ;L;DJI9EDIKC;:M?J>J>;7DN?;JO7D:7D=K?I>J>7J>;H9EBB;=;97H;;HM7I

         ?DJ7JJ;HI7D:J>7J>;H:H;7CIE<8;?D=7B7MO;H7D:FH79J?9?D=B7M?DJ>;9ECCKD?JOMEKB:

         8;<EH;L;H:7I>;:7D: <?D7BBO 9EDIKC;:M?J>J>;:;;F7D:F;HL7I?L;=H?;<IJ;CC?D=<HEC

         J>;ADEMB;:=;J>7JI>;M7I?DDE9;DJE<J>;S9H?C;ITM?J>M>?9>I>;M7I9>7H=;:7D:J>7J

         DE7KJ>EH?JOEHF;HIED?DFEM;H97H;:EHMEKB:FHEJ;9J>;H 

    (EH=7D>7IIK<<;H;:R7D:IK<<;H;:C?=>J?BO 

    />;;<;D:7DJ0D?L;HI?JO7D:;<;D:7DJI-O7D7D:"HEL;IHK?D;:(EH=7DVIB?<; 

                                       #"  !

    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

                                           "!
                        !!  
                                          " 7 
               15&-204)'4,0/-&53)0*4+) .)/(.)/48 " 7                   
                              !,4-)#8 " 7 (
                                      
  
    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    0 .  QFHE>?8?JI?DJ;DJ?ED7BH79?7B:?I9H?C?D7J?ED7D:H79?7B>7H7IIC;DJ8OFK8B?9

         KD?L;HI?J?;I 7D: FK8B?9 KD?L;HI?JO E<<?9?7BI ?D J>; 9EDJ;NJ E< J>; IJK:;DJ ;NF;H?;D9; 7D:

         ;DL?HEDC;DJ ?D9BK:?D=IJK:;DJ:?I9?FB?D;7D:;NFKBI?ED 

    />;!EKHJ;;DJ>C;D:C;DJVI GK7B+HEJ;9J?EDB7KI; 7FFB?;:JEJ>;I;;<;D:7DJI8O

         0 .  Q FHE>?8?JI?DJ;DJ?ED7BH79?7B:?I9H?C?D7J?ED7D:H79?7B>7H7IIC;DJ8OFK8B?9

         KD?L;HI?J?;I 7D: FK8B?9 KD?L;HI?JO E<<?9?7BI ?D J>; 9EDJ;NJ E< J>; IJK:;DJ ;NF;H?;D9; 7D:

         ;DL?HEDC;DJ ?D9BK:?D=IJK:;DJ:?I9?FB?D;7D:;NFKBI?ED 



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    /?JB;1$ <EKD:7J0 .  Q: FHE>?8?JI?DJ;DJ?ED7B:?I9H?C?D7J?ED ?D9BK:?D=

         :?IF7H7J;JH;7JC;DJ7D:>7H7IIC;DJ EDJ>;87I?IE<H79; 9EBEH EHD7J?ED7BEH?=?D?D7DO

         FHE=H7CEH79J?L?JOJ>7JH;9;?L;I<;:;H7B<KD:IEHEJ>;H<;:;H7B<?D7D9?7B7II?IJ7D9; />;

         0D?L;HI?JOE<1?H=?D?7H;9;?L;I<;:;H7B<KD:I7D:<?D7D9?7B7II?IJ7D9;7D:>7I7:C?JJ;:?D

         EJ>;HC7JJ;HI7D:7JEJ>;HJ?C;IJ>7J?J<7BBIM?J>?DJ>;@KH?I:?9J?ED7D:FKHL?;ME</?JB;1$ 

    I7BB;=;:78EL;7D:7I>;H;8O7BB;=;:7D;M J>;;DJ?H;I;GK;D9;E<;L;DJIR<HEC(EH=7D

         ;JJ?D=;H7HH?L?D=7J#?=>.JH;;JJ>HEK=>+H;I?:;DJ%7C;I -O7DVI?DJ;DJ?ED7B:;9?I?EDJE

         L?EB7J; J>; 0D?J;: .J7J;I EDIJ?JKJ?ED ED EH 7HEKD: K=KIJ    R M7I

         9ECFH;>;DI?L;BO7D:J>EHEK=>BOF;HL;HJ;: ?CF79J;: ?D<BK;D9;: J7?DJ;: 7D:CEJ?L7J;:

         8OH79;7D:H79?7B9EDI?:;H7J?EDI 

    )ED;E<J>;;L;DJI DED;E<J>;7:L;HI;79J?EDI 7D:DED;E<J>;C?IJH;7JC;DJE<(EH=7D

         ;JJ?D=;HMEKB:>7L;E99KHH;:?DJ>;78I;D9;E<H79;7D: EHH79?7B:?I9H?C?D7J?ED7D: EH

         H79?7B>EIJ?B?JO7D: EH?CF;HC?II?8B;H79?7B9EDI?:;H7J?EDI 

    KJ<EH(EH=7D;JJ?D=;HVIH79; DED;E<J>;;L;DJI DED;E<J>;7:L;HI;79J?EDI 7D:DED;

         E<J>;C?IJH;7JC;DJMEKB:>7L;E99KHH;: -79;?IDEJ@KIJJ>;CEIJFB7KI?8B;;NFB7D7J?ED

         <EHJ>;KD9EDIJ?JKJ?ED7B:;9?I?EDI7D:7:L;HI;79J?EDI7=7?DIJ(EH=7D;JJ?D=;H ?J?IJ>;

         EDBO;NFB7D7J?ED 

    $D :?I9H?C?D7J?D= 7=7?DIJ (EH=7D ;JJ?D=;H ED J>; 87I?I E< >;H H79;  ;<;D:7DJ />;

         0D?L;HI?JO E< 1?H=?D?7  79J?D= KD:;H 9EBEH E< IJ7J; B7M  L?EB7J;: J>; <;:;H7B 7DJ? H79;

         :?I9H?C?D7J?ED IJ7JKJ;   0 .   Q  L?EB7J;: J>; GK7B +HEJ;9J?ED B7KI; E< J>;

         !EKHJ;;DJ>C;D:C;DJJEJ>;0D?J;:.J7J;IEDIJ?JKJ?ED 7I7FFB?;:JEJ>;I;;<;D:7DJI

         8O0 .  Q 7D:L?EB7J;:/?JB;1$ <EKD:7J0 .  Q:




                                                     
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    $D:?I9H?C?D7J?D=7=7?DIJ(EH=7D;JJ?D=;HEDJ>;87I?IE<>;HH79; ;<;D:7DJ-O7D 79J?D=

         KD:;H 9EBEH E< IJ7J; B7M  L?EB7J;: J>; <;:;H7B 7DJ? H79; :?I9H?C?D7J?ED IJ7JKJ;   0 .  

         Q 7D: L?EB7J;: J>; GK7B +HEJ;9J?ED B7KI; E< J>; !EKHJ;;DJ> C;D:C;DJ JE J>;

         0D?J;:.J7J;IEDIJ?JKJ?ED 7I7FFB?;:JE>?C8O0 .  Q 

    $D:?I9H?C?D7J?D=7=7?DIJ(EH=7D;JJ?D=;HEDJ>;87I?IE<>;HH79; ;<;D:7DJ"HEL;I 

         79J?D= KD:;H 9EBEH E< IJ7J; B7M  L?EB7J;: J>; <;:;H7B 7DJ? H79; :?I9H?C?D7J?ED IJ7JKJ;  

         0 .  Q 

    !HEC 7BB ;<;D:7DJI ;N9;FJ ;<;D:7DJ "HEL;I  J>; +B7?DJ?<< ?I ;DJ?JB;: JE FHEIF;9J?L;

         ?D@KD9J?L;H;B?;<H;=7H:?D=J>;H;CEL7B7D:;NFKD=;C;DJE<H79?7BBO:?I9H?C?D7JEHOJ7?DJ

         <HEC >;H IJK:;DJ H;9EH:  H;=7H:?D= 799;II JE 7D: 7L7?B78?B?JO E< 7BB E< J>; 8;D;<?JI 

         FH?L?B;=;I J;HCI7D:9ED:?J?EDI7JJ;D:7DJJE7D7BKCD7M>E>7IH;9;?L;:7DKDJ7HD?I>;:

         :;=H;;  H;=7H:?D= 799;II JE 7D: 7L7?B78?B?JO E< 7BB E< J>; 8;D;<?JI  FH?L?B;=;I  J;HCI  7D:

         9ED:?J?EDI7JJ;D:7DJJE7D7BKCD7M>EI;H;FKJ7J?ED7D:9>7H79J;H7H;KDJ7HD?I>;:7D:>7L;

         DEJ8;;D8;IC?H9>;: ?D9BK:?D=F>OI?97BI7<;JOM>;DED"HEKD:I7D:FHEJ;9J?EDI<HEC

         H;J7B?7J?ED7D: EH<KHJ>;HF>OI?97B ;CEJ?ED7B 7D:H;FKJ7J?ED7B>7HCEHJ>H;7JIE<>7HC 

    !HEC;<;D:7DJ/>;0D?L;HI?JOE<1?H=?D?7 J>;+B7?DJ?<<?I;DJ?JB;:JEH;9EL;H7D7M7H:E<

         9ECF;DI7JEHO:7C7=;IKD:;H/?JB;1$ ?D9BK:?D=8KJDEJB?C?J;:JEJ>EI;:7C7=;IH;B7J?D=

         JE7D:H;=7H:?D=J>;JEJ7B7D:?HH;LE978B;BEII <HKIJH7J?ED :;D?7B 7D::;IJHK9J?EDE<J>;

         8;D;<?JI FH?L?B;=;I J;HCI 7D:9ED:?J?EDIE<8;?D=7IJK:;DJ7D:7BKCD7?D=EE:IJ7D:?D=

         M>E>7IDEJ8;;D?BB;=7BBOJ7HD?I>;: 8;IC?H9>;: 7D:IKBB?;:?D>;HIJK:;DJH;9EH:I >;H

         H;FKJ7J?ED  7D: >;H 9>7H79J;H  M>E >7I DEJ 8;;D ?BB;=7BBO 9EDIJHK9J?L;BO IKIF;D:;: 7D:

         ;NF;BB;: 7D:M>E?IDEJ?D7IJ7J;E<9EDIJ7DJ<;7H I>7C; 7D:7DN?;JOE<8;?D=>7HC;:




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          M>;D I>; L?I?JI EH 9EC;I JE "HEKD:I EH =E;I 7DOM>;H; J>; 0D?L;HI?JOVI ?D<BK;D9; ?I

          FH;I;DJ 

    !HEC ;<;D:7DJI -O7D 7D: "HEL;I  J>; +B7?DJ?<< ?I ;DJ?JB;: JE CED;J7HO H;B?;< 7D: EH 7

          <?D7D9?7B7M7H:E<9ECF;DI7JEHO:7C7=;I<EH>;H;NJ;DI?L;?D@KH?;I7D:;9EDEC?97D:DED

          ;9EDEC?9:7C7=;I7D:BEII;I 

    ;97KI; ;<;D:7DJI -O7DVI 7D: "HEL;IV 79JI  ;HHEHI  7D: EC?II?EDI J>7J L?EB7J;: J>;

          <;:;H7B 9?L?B H?=>JI B7MI M;H; C7B?9?EKI  ?DJ;DJ?ED7B  ?DJ;DJ?ED7BBO :?I9H?C?D7JEHO  7D:

          H79?7BBOCEJ?L7J;: 7D7M7H:E<FKD?J?L;:7C7=;IH;<B;9J?L;E<J>;?HFKHFEI;<KB?DJ;DJ J>;?H

          M?BB<KB:?IH;=7H:<EH(EH=7D;JJ?D=;HVI<;:;H7BBOFHEJ;9J;:H?=>JI J>;;NJ;DJE<J>;>7HC

          J>;O 97KI;: J>; +B7?DJ?<<  7D: J>; 9;HJ7?DJO J>7J J>; +B7?DJ?<< MEKB: 8; F;HC7D;DJBO 7D:

          <EH;L;H>7HC;:8OJ>;?H79J?EDI?ID;9;II7HO7D:7FFHEFH?7J; 

                                            "!
         ! !#!!  
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             15&-204)'4,0/-&53)0*4+) .)/(.)/48 " 7 
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                                                  
    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

          7I?<7BB;=;:7D;M 

    0 .  QFHE>?8?JI?DJ;DJ?ED7BH79?7B:?I9H?C?D7J?ED7D:H79?7B>7H7IIC;DJ8OFK8B?9

          KD?L;HI?J?;I 7D: FK8B?9 KD?L;HI?JO E<<?9?7BI ?D J>; 9EDJ;NJ E< J>; IJK:;DJ ;NF;H?;D9; 7D:

          ;DL?HEDC;DJ ?D9BK:?D=IJK:;DJ:?I9?FB?D;7D:;NFKBI?ED 

    />;!EKHJ;;DJ>C;D:C;DJVI GK7B+HEJ;9J?EDB7KI; 7FFB?;:JEJ>;I;;<;D:7DJI8O

          0 .  Q FHE>?8?JI?DJ;DJ?ED7BH79?7B:?I9H?C?D7J?ED7D:H79?7B>7H7IIC;DJ8OFK8B?9

          KD?L;HI?J?;I 7D: FK8B?9 KD?L;HI?JO E<<?9?7BI ?D J>; 9EDJ;NJ E< J>; IJK:;DJ ;NF;H?;D9; 7D:

          ;DL?HEDC;DJ ?D9BK:?D=IJK:;DJ:?I9?FB?D;7D:;NFKBI?ED 



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    /?JB;1$ <EKD:7J0 .  Q: FHE>?8?JI?DJ;DJ?ED7B:?I9H?C?D7J?ED ?D9BK:?D=

         :?IF7H7J;JH;7JC;DJ7D:>7H7IIC;DJ EDJ>;87I?IE<H79; 9EBEH EHD7J?ED7BEH?=?D?D7DO

         FHE=H7CEH79J?L?JOJ>7JH;9;?L;I<;:;H7B<KD:IEHEJ>;H<;:;H7B<?D7D9?7B7II?IJ7D9; />;

         0D?L;HI?JOE<1?H=?D?7H;9;?L;I<;:;H7B<KD:I7D:<?D7D9?7B7II?IJ7D9;7D:>7I7:C?JJ;:?D

         EJ>;HC7JJ;HI7D:7JEJ>;HJ?C;IJ>7J?J<7BBIM?J>?DJ>;@KH?I:?9J?ED7D:FKHL?;ME</?JB;1$ 

    />;0D?L;HI?JOE<1?H=?D?7 +H;I?:;DJ%7C;I -O7D7D:<EHC;H;7DE<.JK:;DJIBB;D

         2 "HEL;I9H;7J;: DKHJKH;: <EIJ;H;: F;HC?JJ;: 7D:;D9EKH7=;:7JEN?9;DL?HEDC;DJE<

         H79?7B7D?CKI7D:>EIJ?B?JO7D:>7H7IIC;DJ:?H;9J;:IF;9?<?97BBO7J(EH=7D;JJ?D=;H 

    />; >EIJ?B; ;DL?HEDC;DJ 7D: >7H7IIC;DJ M;H; KDM;B9EC;:  KDM7DJ;:  IK8@;9J?L;BO

         E<<;DI?L; 7D:E8@;9J?L;BOE<<;DI?L; 

    />;78KI;7D:>7H7IIC;DJ7D:8KBBO?D=JEM>?9>(EH=7D;JJ?D=;HM7IIK8@;9J;:M7IED

         J>;87I?IE<H79; M7I8;97KI;E<H79; M7I8;97KI;E<>;HH79; 7D:MEKB:DEJ>7L;E99KHH;:

         8KJ<EH>;HH79; 

    !EH(EH=7D;JJ?D=;H 7I7H;IKBJE<J>;0D?L;HI?JOVI +H;I?:;DJ-O7DVI 7D:J>;D ;7DE<

         .JK:;DJIV?DJ;DJ?ED7B79JI ;HHEHI EC?II?EDI IF;9?<?97BBO?D9BK:?D=J>;?HIJ;7:<7IJH;<KI7B

         JEFHEJ;9J(EH=7D >;H;:K97J?ED7BIF79;7D:;DL?HEDC;DJR>;H0D?L;HI?JO >;H0D?L;HI?JO

         9ECCKD?JO >;HSFB79;TEDS"HEKD:ITRM;H;IEI;L;H;BOF;HC;7J;:M?J>:?I9H?C?D7JEHO

         ?DJ?C?:7J?ED H?:?9KB; 7D:?DIKBJJ>7JJ>;8;D;<?JI FH?L?B;=;I J;HCI7D:9ED:?J?EDIE<>;H

         ;:K97J?ED7B ;NF;H?;D9; 7D: >;H H;B7J?EDI>?F M?J> J>; 0D?L;HI?JO E< 1?H=?D?7 M;H;

         ?HH;LE978BO 7BJ;H;:  :?C?D?I>;:  ?CF7?H;:  <HKIJH7J;:  7D: :;IJHEO;:  />; H79; 87I;:

         >7H7IIC;DJ 78KI; 8KBBO?D= >KC?B?7J?ED ?DJ?C?:7J?ED H?:?9KB; 7D:J>H;7JIE<?D@KHO7D:

         ;L;D :;7J> M;H; H;=KB7H  9EDIJ7DJ  F;HL7I?L;  IE ;NJH7EH:?D7H?BO I;L;H; J>7J ;L;D ?D

         ?IEB7J?ED 7>EIJ?B;;:K97J?ED7B;DL?HEDC;DJ;N?IJ;:7I7C7JJ;HE<B7M 




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    +H;I?:;DJ-O7D7D:J>;D ;7D"HEL;I C7DOC;C8;HIE<J>;E7H:E<1?I?JEHI7JJ>;J?C; 

         J>;*<<?9;E<0D?L;HI?JOEKDI;B J>; *- J>;0D?L;HI?JO+EB?9;;F7HJC;DJ CEIJ?<DEJ

         7BBE<J>;1?9;+H;I?:;DJI?DJ>;0D?L;HI?JOVIEH=7D?P7J?ED7B>?;H7H9>O7D:IJHK9JKH;M;H;

         F;HIED7BBO  9EDI9?EKIBO 7M7H; E< J>; H79?7B >7JH;: 7D: 78KI; 8;?D= :?H;9J;: 7J (EH=7D

         ;JJ?D=;H8OC;C8;HIE<J>;0D?L;HI?JO9ECCKD?JO7D:J>;:?I9H?C?D7JEHO:;9?I?EDI7D:

         H79?7BBO>EIJ?B;;DL?HEDC;DJJEM>?9>(EH=7DM7I8;?D=IK8@;9J;: 

    $D<79J +H;I?:;DJ-O7DVI7D:J>;D ;7D"HEL;IVEMD79JI ;HHEHI 7D:EC?II?EDI ?D9BK:?D=

         J>;?HH79?7BBO:?I9H?C?D7JEHO8;>7L?EHJEM7H:I(EH=7D7D::?IF7H7J;JH;7JC;DJE<IJK:;DJI

         7D: ;CFBEO;;I ED J>; 87I?I E< J>;?H H79; FHEN?C7J;BO  :?H;9JBO  7D: <EH;I;;78BO 97KI;: 

         H7J?<?;: L7B?:7J;: 7FFHEL;: 7CFB?<?;: 7D:;N79;H87J;:J>;H79?7B>EIJ?B?JO8;?D=:?H;9J;:

         7J7D:;N>?8?J;:JEM7H:I(EH=7D 

    +H;I?:;DJ -O7D 7D: ;7D "HEL;I AD;M J>?I  7D: J>;O :;B?8;H7J;BO H;<KI;: JE FHEJ;9J

         (EH=7D 

    />;OFKHFEI;<KBBO9>EI;DEJJE;CFBEO7DOE<J>;C;7IKH;IJ>7JJ>;O?DIJ?JKJ;:?DEJ>;H

         97I;I KD:;HIK8IJ7DJ?7BBOI?C?B7HEH;L;D?:;DJ?97B9?H9KCIJ7D9;I<EHIJK:;DJIE<7:?<<;H;DJ

         H79; $DIJ;7: J>;O?DJ;DJ?ED7BBO:?:DEJ>?D= ADEM?D=J>7JJ>;?HI?B;D9;9EKB:7D:?D<79J

         :?:;D9EKH7=;7D:;CFEM;HJ>EI;M>EIEK=>JJE:;IJHEO(EH=7D 7D:ADEM?D=J>7J;L;D

         J>;IC7BB;IJ <B;;J?D= 7D:CEIJC?D?C7BE<;<<EHJI8OJ>;CMEKB:>7L;8HEK=>J78EKJJ>;

         ?CC;:?7J;9;II7J?EDE<J>;>7H7IIC;DJ :?I9H?C?D7J?ED 7D:78KI;JEM>?9>(EH=7DM7I

         8;?D=IK8@;9J;: 

    D:O;J J>;O:?:DEJ>?D=JE>;BFEHFHEJ;9J(EH=7D 7D:J>;OH;<KI;:JEJ7A;79J?ED8;97KI;

         E<(EH=7DVIH79; 




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    $DIK8@;9J?D=(EH=7D;JJ?D=;HJE7>EIJ?B;;:K97J?ED7B;DL?HEDC;DJ7D:>7H7IIC;DJED

         J>;87I?IE<>;HH79; ;<;D:7DJ/>;0D?L;HI?JOE<1?H=?D?7 79J?D=KD:;H9EBEHE<IJ7J;B7M 

         L?EB7J;:J>;<;:;H7B7DJ? H79;:?I9H?C?D7J?EDIJ7JKJ; 0 .  Q L?EB7J;:J>; GK7B

         +HEJ;9J?ED B7KI; E< J>; !EKHJ;;DJ> C;D:C;DJ JE J>; 0D?J;: .J7J;I EDIJ?JKJ?ED  7I

         7FFB?;:JEJ>;I;;<;D:7DJI8O0 .  Q 7D:L?EB7J;:/?JB;1$ <EKD:7J0 .  

         Q:

    $DIK8@;9J?D=(EH=7D;JJ?D=;HJE7>EIJ?B;;:K97J?ED7B;DL?HEDC;DJ7D:>7H7IIC;DJED

         J>;87I?IE<>;HH79; ;<;D:7DJ%7C;I -O7D 79J?D=KD:;H9EBEHE<IJ7J;B7M L?EB7J;:

         J>; <;:;H7B 7DJ? H79; :?I9H?C?D7J?ED IJ7JKJ;   0 .   Q 7D: L?EB7J;: J>; GK7B

         +HEJ;9J?ED B7KI; E< J>; !EKHJ;;DJ> C;D:C;DJ JE J>; 0D?J;: .J7J;I EDIJ?JKJ?ED  7I

         7FFB?;:JEJ>;I;;<;D:7DJI8O0 .  Q

    $DIK8@;9J?D=(EH=7D;JJ?D=;HJE7>EIJ?B;;:K97J?ED7B;DL?HEDC;DJ7D:>7H7IIC;DJED

         J>;87I?IE<>;HH79; ;<;D:7DJBB;D2 "HEL;I 79J?D=KD:;H9EBEHE<IJ7J;B7M L?EB7J;:

         J>;<;:;H7B7DJ? H79;:?I9H?C?D7J?EDIJ7JKJ; 0 .  Q 

    I7:?H;9J7D:FHEN?C7J;H;IKBJE<J>;;<;D:7DJIV79JI ;HHEHI 7D:EC?II?EDI J>;+B7?DJ?<<

         >7IIK<<;H;:7D:M?BB9EDJ?DK;JEIK<<;H?HH;F7H78B;>7HC FHE<EKD:;CEJ?ED7B7D:F>OI?97B

         ?D@KH?;I  IK8IJ7DJ?7B ;9EDEC?9 7D: DED ;9EDEC?9 BEII;I  7D: ;NF;9J7J?ED 7D: :;D?7B E<

         8;D;<?JI7D:FH?L?B;=;I:7C7=;IJ>7JM?BB9EDJ?DK;M;BB?DJEJ>;<KJKH; 

    !HEC 7BB ;<;D:7DJI ;N9;FJ ;<;D:7DJ "HEL;I  J>; +B7?DJ?<< ?I ;DJ?JB;: JE FHEIF;9J?L;

         ?D@KD9J?L;H;B?;<H;7IED78BO97B9KB7J;:JE9H;7J;7D:9ECF;B799;IIJE7D:7L7?B78?B?JOE<7BB

         E<J>;8;D;<?JI FH?L?B;=;I J;HCI 7D:9ED:?J?EDI7JJ;D:7DJJE7D7BKCD77BBE<M>?9>M;H;

         :;D?;:(EH=7D7I7H;IKBJE<J>;?BB;=7B7D:KD9EDIJ?JKJ?ED7B>7H7IIC;DJEDJ>;87I?IE<>;H

         H79; 




                                                   
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    !HEC;<;D:7DJ/>;0D?L;HI?JOE<1?H=?D?7 J>;+B7?DJ?<<?I;DJ?JB;:JEH;9EL;H7D7M7H:E<

          9ECF;DI7JEHO:7C7=;IKD:;H/?JB;1$ ?D9BK:?D=8KJDEJB?C?J;:JEJ>EI;:7C7=;IH;B7J?D=

          JE7D:H;=7H:?D=J>;JEJ7B7D:?HH;LE978B;BEII <HKIJH7J?ED :;D?7B 7D::;IJHK9J?EDE<J>;

          8;D;<?JI FH?L?B;=;I J;HCI 7D:9ED:?J?EDIE<8;?D=7IJK:;DJ7D:7BKCD7?D=EE:IJ7D:?D=

          M>E>7IDEJ8;;D?BB;=7BBOJ7HD?I>;: 8;IC?H9>;:7D:IKBB?;:?D>;HIJK:;DJH;9EH:I >;H

          H;FKJ7J?ED  7D: >;H 9>7H79J;H  M>E >7I DEJ 8;;D ?BB;=7BBO 9EDIJHK9J?L;BO IKIF;D:;: 7D:

          ;NF;BB;: 7D:M>E?IDEJ?D7IJ7J;E<9EDIJ7DJ<;7H I>7C; 7D:7DN?;JOE<8;?D=>7HC;:

          M>;D I>; L?I?JI EH 9EC;I JE "HEKD:I EH =E;I 7DOM>;H; J>; 0D?L;HI?JOVI ?D<BK;D9; ?I

          FH;I;DJ 

    !HEC ;<;D:7DJI -O7D 7D: "HEL;I  KD:;H  0 .   Q   J>; +B7?DJ?<< ?I ;DJ?JB;: JE

          H;9EL;H CED;J7HO H;B?;< 7D: EH 7 <?D7D9?7B 7M7H: E< 9ECF;DI7JEHO :7C7=;I <EH J>;

          FHE<EKD: 7D: >;7HJ8H;7A?D= ?D@KH?;I 7D: >7HC I>; >7I IK<<;H;:  ?D9BK:?D= IK8IJ7DJ?7B

          ;9EDEC?97D:DED ;9EDEC?9:7C7=;I7D:BEII;I 

    ;97KI; ;<;D:7DJI -O7DVI 7D: "HEL;IV 79JI  ;HHEHI  7D: EC?II?EDI J>7J L?EB7J;: J>;

          <;:;H7B 9?L?B H?=>JI B7MI M;H; C7B?9?EKI  ?DJ;DJ?ED7B  ?DJ;DJ?ED7BBO :?I9H?C?D7JEHO  7D:

          H79?7BBOCEJ?L7J;: 7D7M7H:E<FKD?J?L;:7C7=;IH;<B;9J?L;E<J>;?HFKHFEI;<KB?DJ;DJ J>;?H

          M?BB<KB:?IH;=7H:<EH(EH=7D;JJ?D=;HVI<;:;H7BBOFHEJ;9J;:H?=>JI J>;;NJ;DJE<J>;>7HC

          J>;O 97KI;: J>; +B7?DJ?<<  7D: J>; 9;HJ7?DJO J>7J J>; +B7?DJ?<< MEKB: 8; F;HC7D;DJBO 7D:

          <EH;L;H>7HC;:8OJ>;?H79J?EDI?ID;9;II7HO7D:7FFHEFH?7J;KD:;H0 .  Q 

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                         !"! !!  !!"!
                                           " 7 
                            
                                                  
    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

          7I?<7BB;=;:7D;M 

    OEF;H7J?EDE<J>;!?HIJC;D:C;DJJEJ>;0D?J;:.J7J;IEDIJ?JKJ?ED7D:?JI7FFB?97J?ED

          JEIJ7J;I7D:IJ7J;79JEHI IK9>7IFK8B?9KD?L;HI?J?;I 8OJ>;!EKHJ;;DJ>C;D:C;DJ J>;

          0D?L;HI?JOE<1?H=?D?7C7ODEJB?C?J 9;DIEH 78H?:=; EH CEIJ?CFEHJ7DJBO :?I9?FB?D;EH

          FKD?I>7IJK:;DJVIIF;;9>EH<EHJ>;;N;H9?I;E<<H;;IF;;9> 0D?J;:.J7J;IE:;0 .  

          QFHEL?:;IJ>;<;:;H7BIJ7JKJEHO<H7C;MEHA7D:L;>?9B;8OM>?9>7==H?;L;:IJK:;DJI

          7J 7 FK8B?9 KD?L;HI?JO  M>E >7L; 8;;D FKD?I>;: 7D: :?I9?FB?D;: FKH;BO <EH J>;?H IF;;9>

          7D: EHJ>;;N;H9?I;E<J>;?H<H;;IF;;9> C7OI;;AH;:H;II 

       L;D799EH:?D=JEJ>;0D?L;HI?JOE<1?H=?D?7VIEMDMH?JJ;DFEB?9?;I7D:7:C?II?EDI J>;

          0D?L;HI?JOE<1?H=?D?7S97DDEJFKD?I>7IJK:;DJ<EHKJJ;H?D=MEH:IEH;D=7=?D=?DIF;;9>

          FHEJ;9J;:8OJ>;!?HIJC;D:C;DJJEJ>;EDIJ?JKJ?EDE<J>;0D?J;:.J7J;I T

    (EH=7D;JJ?D=;HSKJJ;H;:MEH:IEH;D=7=;:?DIF;;9>FHEJ;9J;:8OJ>;!?HIJC;D:C;DJ

          JEJ>;EDIJ?JKJ?EDE<J>;0D?J;:.J7J;I T

    *DK=KIJ  J>;0D?L;HI?JOE<1?H=?D?77D:+H;I?:;DJ%7C;I -O7DFKD?I>;:7D:

          9EDJ?DK;JEFKD?I>(EH=7D;JJ?D=;HFKH;BO7D:IEB;BO<EHKJJ;H?D=FHEJ;9J;:MEH:I7D:

          ;D=7=?D=?DFHEJ;9J;:IF;;9><EH<H;;IF;;9>R7D:<EHDEJ>?D=;BI; 

    />;;<;D:7DJI>7L;<H;;BO7D:;NFH;IIBO7:C?JJ;:?DMH?J?D=J>7JJ>;7:L;HI;79J?EDIJ7A;D

          7=7?DIJ (EH=7D ;JJ?D=;H M;H; 87I;: IEB;BO 7D: ;N9BKI?L;BO ED J>; <?<J;;D MEH:I I>;

          KJJ;H;:  J>; IF;;9> J>7J I>; ;NFH;II;: ED J>; ;L;D?D= E< !H?:7O  %KBO     />;




                                                      
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         ;<;D:7DJI >7L; D;L;H 7H=K;: EH 9EDJ;D:;: J>7J (EH=7D ;JJ?D=;H M7I FKD?I>;: <EH

         7DOJ>?D=EJ>;HJ>7DJ>EI;MEH:I 

    (EH=7D;JJ?D=;HVIKJJ;H7D9;I MEH:I 7D:IF;;9>M;H;FHEJ;9J;:8OJ>;!?HIJC;D:C;DJ

         7D:DEJIK8@;9JJE7DOH;9E=D?P;:;N9;FJ?EDJE!H;;.F;;9>FHEJ;9J?EDI 

    *D K=KIJ     M>;D ;<;D:7DJ />; 0D?L;HI?JO E< 1?H=?D?7 7D: ;<;D:7DJ -O7D

         KD:;HJEEA JE FKD?I> (EH=7D ;JJ?D=;H  J>;O FEII;II;: J>; CEIJ 9ECFB;J; 9EBB;9J?ED E<

         ;L?:;D9;?DJ>;C7JJ;H7D:J>;E<<?9?7B9ED9BKI?EDI7D:E<<?9?7B<?D:?D=IE<J>;0D?L;HI?JOVI

         CKBJ?FB; ?DL;IJ?=7J?EDI  CEIJ DEJ78BO ?D9BK:?D= J>; 0D?L;HI?JOVI EMD FHE<;II?ED7B

         ?DL;IJ?=7JEHI !HECJ>7J8E:OE<;L?:;D9;7D:<HEC+H;I?:;DJ-O7DVIL7IJADEMB;:=;7D:

         <7C?B?7H?JOM?J>9EDIJ?JKJ?ED7B7D:;:K97J?EDB7M 7D:7HC;:M?J>DEJEDBOJ>;EFFEHJKD?JO

         JEH;BOKFEDJ>;M?I:ECE<J>;0D?L;HI?JOVIEMDB7M<?HC8KJJ>;9EC<EHJE<M?I:EC<HEC

         >?I EMD F;HIED7B ?DD;H 9?H9B; E< IKFH;C;BO J7B;DJ;: 9EDIJ?JKJ?ED7B I9>EB7H 7:L?IEHI 

         +H;I?:;DJ -O7D AD;M  KD;GK?LE97BBO  J>7J (EH=7D ;JJ?D=;HVI IF;;9> M7I <H;; 7D:

         FHEJ;9J;: KD:;H J>; !?HIJ C;D:C;DJ  J>7J (EH=7D >7: 8;;D MHED=;:  7D: J>7J >; M7I

         ?DJ;DJ?ED7BBO9ECC?JJ?D=J>;0D?L;HI?JOJEL?EB7J?D=J>EI;I79H;:H?=>JI 

    />; 7:L;HI; 79J?EDI J7A;D 7=7?DIJ (EH=7D ;JJ?D=;H ED K=KIJ     FKD?I>?D= 

         :?I9?FB?D?D=  7D: :7C7=?D= >;H L?EB7J;: J>; !?HIJ C;D:C;DJ E< J>; 0D?J;: .J7J;I

         EDIJ?JKJ?ED7D:J>7JL?EB7J?ED?I79J?ED78B;KD:;H0 .  Q 

    (EH=7D;JJ?D=;HM7IKD9EDIJ?JKJ?ED7BBOFKD?I>;:7D::?I9?FB?D;:EDK=KIJ  

    (EH=7D ;JJ?D=;HVI F;HC7D;DJ 7D: <EHC7B IJK:;DJ H;9EH: 7D: JH7DI9H?FJ M;H; 7:L;HI;BO

         ?CF7?H;: SC7HA;: T7D: EHSDEJ7J;:TM?J>KD9EDIJ?JKJ?ED7B?CF7?HC;DJI DEJ7J?EDI 7D: EH

         :;C7H97J?EDIEDEH7<J;HK=KIJ  




                                                   
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    />;!?HIJC;D:C;DJL?EB7J?EDI7H;9EDJ?DK?D=7D:ED=E?D=?DD7JKH;7D:J>;?D@KH?;I7D:

          :7C7=;IIK<<;H;:8O(EH=7D;JJ?D=;H9EDJ?DK;7D:7H;ED=E?D= ;L;HO:7O7D:;L;HO:7O

          >;H;7<J;H 

    I7:?H;9J7D:FHEN?C7J;H;IKBJE<J>;L?EB7J?EDE<>;H!?HIJC;D:C;DJH?=>JI J>;+B7?DJ?<<

          >7IIK<<;H;:7D:M?BB9EDJ?DK;JEIK<<;H?HH;F7H78B;>7HC FHE<EKD:;CEJ?ED7B7D:F>OI?97B

          ?D@KH?;I 7D:;9EDEC?9BEII;I7D::7C7=;IJ>7JM?BB9EDJ?DK;M;BB?DJEJ>;<KJKH; 

    $DFKD?I>?D=(EH=7D;JJ?D=;HVIFHEJ;9J;:<H;;IF;;9>EDK=KIJ  ;<;D:7DJ/>;

          0D?L;HI?JOE<1?H=?D?7 79J?D=KD:;H9EBEHE<IJ7J;B7M L?EB7J;:J>;!?HIJC;D:C;DJJEJ>;

          0D?J;:.J7J;IEDIJ?JKJ?ED 7I7FFB?;:JEJ>;I;;<;D:7DJI8O0 .  Q

    $DFKD?I>?D=(EH=7D;JJ?D=;HVIFHEJ;9J;:<H;;IF;;9>EDK=KIJ  ;<;D:7DJ/>;

          0D?L;HI?JOE<1?H=?D?7 79J?D=KD:;H9EBEHE<IJ7J;B7M L?EB7J;:J>;!?HIJC;D:C;DJJEJ>;

          0D?J;:.J7J;IEDIJ?JKJ?ED 7I7FFB?;:JEJ>;I;;<;D:7DJI8O0 .  Q

    !HEC 7BB ;<;D:7DJI ;N9;FJ ;<;D:7DJ "HEL;I  J>; +B7?DJ?<< ?I ;DJ?JB;: JE FHEIF;9J?L;

          ?D@KD9J?L;H;B?;<H;=7H:?D=J>;H;CEL7B7D:;NFKD=;C;DJE<KD9EDIJ?JKJ?ED7BJ7?DJ D;=7J?L;

          DEJ7J?EDI 7D:7DOH;<;H;D9;JE ?D<EHC7J?ED78EKJ EHC;DJ?EDE<J>?IC7JJ;H 

    !HEC;<;D:7DJ-O7D J>;+B7?DJ?<<?I;DJ?JB;:JECED;J7HOH;B?;<7D: EH7<?D7D9?7B7M7H:

          E< 9ECF;DI7JEHO :7C7=;I <EH J>; ?D@KH?;I  >7HC  7D: IK8IJ7DJ?7B ;9EDEC?9 7D: DED

          ;9EDEC?9:7C7=;I7D:BEII;II>;IK<<;H;: 

    ;97KI; ;<;D:7DJ -O7DVI 79JI  ;HHEHI  7D: EC?II?EDI J>7J L?EB7J;: J>; +B7?DJ?<<VI !?HIJ

          C;D:C;DJH?=>JIM;H;:ED;M?J><KBBADEMB;:=;J>7JJ>;OM;H;87I;:ED7>E7N M?J>

          <KBB ADEMB;:=; 7D: 7M7H;D;II J>7J :E?D= IE MEKB: 9;HJ7?DBO L?EB7J; J>; +B7?DJ?<<VI M;BB

          ;IJ78B?I>;: 9B;7HBOFHEJ;9J;:<;:;H7B9?L?BH?=>JI 7D7M7H:E<FKD?J?L;:7C7=;IH;<B;9J?L;

          E<J>;FKHFEI;<KB?DJ;DJ J>;M?BB<KB:?IH;=7H:<EH(EH=7D;JJ?D=;HVI<;:;H7BBOFHEJ;9J;:




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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 90 of 102 Pageid#: 90




         H?=>JI  J>; ;NJ;DJ E< J>; >7HC 97KI;: JE J>; +B7?DJ?<<  7D: J>; 9;HJ7?DJO J>7J J>; +B7?DJ?<<

         MEKB:8;F;HC7D;DJBO7D:<EH;L;H>7HC;:8OJ>;I;79J?EDI ?ID;9;II7HO7D:7FFHEFH?7J; 

         ::?J?ED7BBO  8;97KI; ;<;D:7DJ -O7DVI 79JI  ;HHEHI  7D: EC?II?EDI J>7J L?EB7J;: J>;

         +B7?DJ?<<VI !?HIJ C;D:C;DJ H?=>JI M;H; ?DJ;DJ?ED7B 7D: FKHFEI;<KB  M;H; :ED; M?J> J>;

         7IIKH7D9; J>7J (EH=7DVI <H;; IF;;9> H?=>JI M;H; 7D: MEKB: 8; L?EB7J;:  7D: M;H;

         KD:;H=?H:;: M?J> J>; IJ7?D E< H79?7B :?IF7H?JO 7D: :?I9H?C?D7J?ED  J>; 79JI  ;HHEHI  7D:

         EC?II?EDIM;H;9ECC?JJ;:M?J>C7B?9;7D:7M?BB<KB?DJ;DJJE>7HC7IJK:;DJKD:;H>?I97H;

         7D:FHEJ;9J?ED 7D:?DM7DJED:?IH;=7H:E<J>;+B7?DJ?<<VI9B;7HBO;IJ78B?I>;:7D:FHEJ;9J;:

         <;:;H7B9?L?BH?=>JI />;H;<EH; 7D7M7H:E<FKD?J?L;:7C7=;I?I;IF;9?7BBOM7HH7DJ;:?DJ>?I

         97I; 

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    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    =;DK?D;97I;7D:9EDJHEL;HIO;N?IJI8;JM;;D7D:7CED=J>;+B7?DJ?<<7D:;79>;<;D:7DJ

         ?D:?L?:K7BBO7D:9EBB;9J?L;BOH;=7H:?D=J>;9;DJH7BGK;IJ?EDIE<M>;J>;HJ>;+B7?DJ?<<VI!?HIJ

         C;D:C;DJ H?=>JI E< !H;; .F;;9> M;H; L?EB7J;: 7D: M>;J>;H J>; +B7?DJ?<< M7I

         :?I9H?C?D7J;:7=7?DIJ7D:IK8@;9J;:JE7>EIJ?B;;DL?HEDC;DJEDJ>;87I?IE<>;HH79; 

    />;<79JII;J<EHJ>?DJ>?IECFB7?DJ7D::;I9H?8;:78EL;:;CEDIJH7J;L?EB7J?EDIE<J>;

         !?HIJ7D:!EKHJ;;DJ>C;D:C;DJIE<J>;0D?J;:.J7J;IEDIJ?JKJ?ED7IC7:;79J?ED78B;

         8O0 .  Q /?JB;1$E<J>;?L?B-?=>JI9JE< 0 .  Q: 

         7D:J>;IK8IJ7DJ?L;<;:;H7B9?L?BH?=>JIIJ7JKJ;0 .  Q 




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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 91 of 102 Pageid#: 91




    />;+B7?DJ?<<?I;DJ?JB;:JE7:;9B7H7JEHO@K:=C;DJ FKHIK7DJJEJ>;;9B7H7JEHO%K:=C;DJ

         9J 0 .  Q :;9B7H?D=J>7J

             />;0D?L;HI?JOE<1?H=?D?7:?I9H?C?D7J;:7=7?DIJ(EH=7D;JJ?D=;HEDJ>;87I?IE<

                H79; 0 .  Q /?JB;1$ 7D:0 .  Q

             />; 0D?L;HI?JO E< 1?H=?D?7 IK8@;9J;: (EH=7D ;JJ?D=;H JE 7 H79?7BBO >EIJ?B;

                ;:K97J?ED7B;DL?HEDC;DJ 0 .  Q /?JB;1$ 7D:0 .  Q

             ;<;D:7DJ%7C;I -O7D:?I9H?C?D7J;:7=7?DIJ(EH=7D;JJ?D=;HEDJ>;87I?IE<

                H79; 0 .  Q7D:0 .  Q

             ;<;D:7DJ %7C;I      -O7D IK8@;9J;: (EH=7D ;JJ?D=;H JE 7 H79?7BBO >EIJ?B;

                ;:K97J?ED7B;DL?HEDC;DJ 0 .  Q7D:0 .  Q

              ;<;D:7DJBB;D2 "HEL;I:?I9H?C?D7J;:7=7?DIJ(EH=7D;JJ?D=;HEDJ>;87I?I

                E<H79; 0 .  Q

         !    ;<;D:7DJ BB;D 2  "HEL;I IK8@;9J;: (EH=7D ;JJ?D=;H JE 7 H79?7BBO >EIJ?B;

                ;:K97J?ED7B;DL?HEDC;DJ 0 .  Q

         "    *DK=KIJ  7D:9EDJ?DK?D=KDJ?BJ>;FH;I;DJ J>;0D?L;HI?JOE<1?H=?D?7

                L?EB7J;:(EH=7D;JJ?D=;HVI!?HIJC;D:C;DJH?=>JIE<!H;;.F;;9> 0 .  

                Q

         #    *DK=KIJ  7D:9EDJ?DK?D=KDJ?BJ>;FH;I;DJ ;<;D:7DJ%7C;I -O7D

                L?EB7J;:(EH=7D;JJ?D=;HVI!?HIJC;D:C;DJH?=>JIE<!H;;.F;;9> 0 .  

                Q

         $    />;0D?L;HI?JOE<1?H=?D?7VI/?JB;1$ 0 .  Q 7D:0 .  Q

                7D:;<;D:7DJ%7C;I -O7DVI:;9?I?EDI0 .  Q7D:0 .  Q

                J>7J FKHFEI;<KBBO L?EB7J;: J>; !?HIJ C;D:C;DJ ED K=KIJ     M;H;




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                CEJ?L7J;:8OH79; 8;97KI;E<H79; 8;97KI;E<J>;+B7?DJ?<<VIH79; 7D:MEKB:DEJ

                >7L;>7FF;D;:8KJ<EHJ>;+B7?DJ?<<VIH79; ?DL?EB7J?EDE<0 .  Q /?JB;

                1$ 7D:0 .  Q

         %    />;+B7?DJ?<<>7IIK<<;H;:?HH;F7H78B;>7HCJ>7J97DDEJ8;7:;GK7J;BOH;C;:?;:8O

                B;=7BH;B?;<EH:7C7=;I

         &    />; +B7?DJ?<< ?I ;DJ?JB;: JE 7D 7M7H: E< 9ECF;DI7JEHO :7C7=;I 7=7?DIJ J>;

                0D?L;HI?JOE<1?H=?D?7KD:;H/?JB;1$ 7=7?DIJ;<;D:7DJ%7C;I -O7DKD:;H

                0 .  Q7D:0 .  Q 7D:7=7?DIJ;<;D:7DJBB;D2 "HEL;IKD:;H

                0 .  Q7D:

         '    />;+B7?DJ?<<?I;DJ?JB;:JE7D7M7H:E<FKD?J?L;:7C7=;I7=7?DIJ;<;D:7DJ%7C;I

                   -O7DKD:;H0 .  Q7D:0 .  Q 7D:7=7?DIJ;<;D:7DJBB;D

                2 "HEL;IKD:;H0 .  Q 

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    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    .?D9;J>;+B7?DJ?<<I;;AIFHEIF;9J?L;?D@KD9J?L;H;B?;<EDBO7D:;<;D:7DJBB;D2 "HEL;I

         ?I DE BED=;H ;CFBEO;: 8O J>; 0D?L;HI?JO E< 1?H=?D?7 EH 7 C;C8;H E< J>; 0D?L;HI?JO

         9ECCKD?JO J>;+B7?DJ?<<:E;IDEJI;;A7DOFKH;BO?D@KD9J?L;H;B?;<<HEC;<;D:7DJBB;D

         2 "HEL;I 

    +HEIF;9J?L; ?D@KD9J?L; H;B?;< J7?BEH;: JE 7::H;II  9EHH;9J 7D: H;C;:O ED=E?D= 7D:

         9EDJ?DK?D=>7HCIH;IKBJ?D=<HECL?EB7J?EDIE<J>;0D?J;:.J7J;IEDIJ?JKJ?ED7D:<;:;H7B



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         9?L?BH?=>JIIJ7JKJ;I?I7H;C;:O7L7?B78B;JEJ>;+B7?DJ?<<KD:;H0 .  Q /?JB;1$ 

         7D:0 .  Q 

    I7H;IKBJE<J>;L?EB7J?EDIE<J>;+B7?DJ?<<VI9EDIJ?JKJ?ED7B7D:<;:;H7BBOFHEJ;9J;:9?L?B

         H?=>JI  J>; +B7?DJ?<< >7I 8;;D ?HH;F7H78BO >7HC;:  />; +B7?DJ?<< >7I IK<<;H;: 7D: M?BB

         9EDJ?DK; JE IK<<;H ?HH;F7H78B; >7HC  J>; 9EDIJ?JKJ?ED7B 7D: <;:;H7B 9?L?B H?=>JI L?EB7J?EDI

         9EDIJ?JKJ;?HH;F7H78B;>7HC7I7C7JJ;HE<B7M 7D:DEH;C;:O7JB7M?I7:;GK7J;JE9EHH;9J 

         IEBL;  EH 9KH; J>; >7HCI 97KI;: 8O J>; KD9EDIJ?JKJ?ED7B 7D: ?BB;=7B DEJ7J?EDI 7D:

         ?CF7?HC;DJI 

    !HEC 7BB ;<;D:7DJI ;N9;FJ ;<;D:7DJ "HEL;I  J>; +B7?DJ?<< ?I ;DJ?JB;: JE FHEIF;9J?L;

         ?D@KD9J?L;H;B?;<H;=7H:?D=7D:?D9BK:?D=

              J>;H;CEL7B7D:;NFKD=;C;DJE<KD9EDIJ?JKJ?ED7BJ7?DJ<HEC>;HIJK:;DJH;9EH:

              KD<;JJ;H;:799;IIJE7D:<KBB7L7?B78?B?JOE<7BBE<J>;8;D;<?JI FH?L?B;=;I J;HCI 7D:

                 9ED:?J?EDI7JJ;D:7DJJE7D7BKCD7M>E>7IH;9;?L;:7DKDJ7HD?I>;::;=H;;

              KD<;JJ;H;:799;IIJE7D:<KBB7L7?B78?B?JOE<7BBE<J>;8;D;<?JI FH?L?B;=;I J;HCI 7D:

                 9ED:?J?EDI7JJ;D:7DJJE7D7BKCD7M>EI;H;FKJ7J?ED7D:9>7H79J;H7H;KDJ7HD?I>;:

                 7D:>7L;DEJ8;;D8;IC?H9>;: ?D9BK:?D=F>OI?97BI7<;JOM>;DED"HEKD:I7D:

              9ECF;J;DJ H;7IED78B; FHEJ;9J?EDI <HEC H;J7B?7J?ED 7D: EH <KHJ>;H F>OI?97B 

                 ;CEJ?ED7B 7D:H;FKJ7J?ED7B>7HCEHJ>H;7JIE<>7HC 

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    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 



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    ECF;DI7JEHO:7C7=;I7H;7C;7IKH;E<H;B?;<7D:H;C;:O7L7?B78B;JEJ>;+B7?DJ?<<<EHJ>;

         MHED=I7BB;=;:?DJ>?IECFB7?DJ7=7?DIJJ>;0D?L;HI?JOE<1?H=?D?7KD:;H/?JB;1$ 7=7?DIJ

         ;<;D:7DJI-O7D7D:"HEL;IKD:;H0 .  Q 7D:7=7?DIJ;<;D:7DJ-O7DKD:;H

         0 .  Q 

    $DJ>;;D79JC;DJE</?JB;1$ ED=H;II78HE=7J;:7D:;B?C?D7J;:J>;?CCKD?J?;I7<<EH:;:

         KD:;H J>; B;L;DJ> C;D:C;DJ JE J>; 0D?J;: .J7J;I EDIJ?JKJ?ED JE J>; 0D?L;HI?JO E<

         1?H=?D?77D:I?C?B7HI9>EEBIJ>7JH;9;?L;<;:;H7B<KD:I7D: EH<KD:?D= 

    7I;:KFEDJ>;<79JI7BB;=;:>;H;?D ;<;D:7DJI-O7D7D:"HEL;I7H;DEJ;DJ?JB;:JEJ>;

         :;<;DI; E< GK7B?<?;: ?CCKD?JO <EH J>;?H KD9EDIJ?JKJ?ED7B 7D: ?BB;=7B 79JI  ;HHEHI  7D:

         EC?II?EDI 

    />;H;<EH; 7D7M7H:E<9ECF;DI7JEHO:7C7=;I7=7?DIJJ>;0D?L;HI?JOE<1?H=?D?7 +H;I?:;DJ

         %7C;I -O7D 7D:<EHC;H;7DE<.JK:;DJIBB;D2 "HEL;I?I7H;C;:O7D:C;7IKH;E<

         H;B?;<7L7?B78B;JEJ>;+B7?DJ?<<?DJ>?I97I; 

    />;+B7?DJ?<<>7IIK<<;H;:FHE<EKD: F;HC7D;DJ 7D::?I9;HD?8B;<EHCIE<;9EDEC?97D:

         DED ;9EDEC?9:7C7=;I M>;J>;H7M7H:;:KD:;H/?JB;1$:7C7=;IJ>;EH?;I7D:FH?D9?FB;I 

         Q:7C7=;IJ>;EH?;I7D:FH?D9?FB;I 7D: EHQ:7C7=;IJ>;EH?;I7D:FH?D9?FB;I 7I

         7:?H;9J FHEN?C7J; 7D:<EH;I;;78B;97KI;7D:H;IKBJE<J>;;<;D:7DJ/>;0D?L;HI?JOE<

         1?H=?D?7VI  ;<;D:7DJ -O7DVI  7D: ;<;D:7DJ "HEL;IV KD9EDIJ?JKJ?ED7B 7D: ?BB;=7B 79JI 

         ;HHEHI 7D:EC?II?EDI 

    (EH=7D;JJ?D=;HIK<<;H;:;C87HH7IIC;DJ >KC?B?7J?ED H?:?9KB; IE9?;J7BEIJH79?P7J?ED 7D:

         IE9?7B ;N?B; 7I 7 :?H;9J  FHEN?C7J;  7D: <EH;I;;78B; 97KI; 7D: H;IKBJ E< ;<;D:7DJ />;

         0D?L;HI?JOE<1?H=?D?7VI ;<;D:7DJ-O7DVI 7D:;<;D:7DJ"HEL;IVKD9EDIJ?JKJ?ED7B7D:

         ?BB;=7B79JI ;HHEHI 7D:EC?II?EDI 




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    (EH=7D;JJ?D=;H>7IIK<<;H;:H;FKJ7J?ED7B>7HC7D:?HH;L;HI?8B;:7C7=;JE>;HH;FKJ7J?ED

         7D:>;H9>7H79J;H7I7:?H;9J FHEN?C7J; 7D:<EH;I;;78B;97KI;7D:H;IKBJE<;<;D:7DJ/>;

         0D?L;HI?JOE<1?H=?D?7VI ;<;D:7DJ-O7DVI 7D:;<;D:7DJ"HEL;IVKD9EDIJ?JKJ?ED7B7D:

         ?BB;=7B79JI ;HHEHI 7D:EC?II?EDI 

    (EH=7D ;JJ?D=;H IK<<;H;: 87D?I>C;DJ 7D: ;N?B; <HEC >;H 0D?L;HI?JO 9ECCKD?JO  J>;

         L7KDJ;: 0D?L;HI?JO "HEKD:I  7D: J>; H;7IED78BO ;NF;9J;: 7D: 7DJ?9?F7J;: 0D?L;HI?JO

         ;NF;H?;D9;  8;D;<?JI  FH?L?B;=;I  J;HCI  7D: 9ED:?J?EDI JE M>?9> I>; M7I ;DJ?JB;: 7D:

         :;I;HL;: 7I 7 :?H;9J  FHEN?C7J;  7D: <EH;I;;78B; 97KI; 7D: H;IKBJ E< ;<;D:7DJ />;

         0D?L;HI?JOE<1?H=?D?7VI ;<;D:7DJ-O7DVI 7D:;<;D:7DJ"HEL;IVKD9EDIJ?JKJ?ED7B7D:

         ?BB;=7B79JI ;HHEHI 7D:EC?II?EDI 

    (EH=7D;JJ?D=;HIK<<;H;:I;L;H;;CEJ?ED7B:?IJH;II7D:FIO9>EBE=?97BJH7KC77D:?D@KH?;I

         7I:?H;9J FHEN?C7J; 7D:<EH;I;;78B;97KI;7D:H;IKBJE<J>;;<;D:7DJIVKD9EDIJ?JKJ?ED7B

         7D:?BB;=7B79JI ;HHEHI 7D:EC?II?EDI 

    I7:?H;9J FHEN?C7J; 7D:<EH;I;;78B;97KI;7D:H;IKBJE<;<;D:7DJ/>;0D?L;HI?JOE<

         1?H=?D?7VI  ;<;D:7DJ -O7DVI  7D: ;<;D:7DJ "HEL;IV KD9EDIJ?JKJ?ED7B 7D: ?BB;=7B 79JI 

         ;HHEHI 7D:EC?II?EDI (EH=7D;JJ?D=;HIK<<;H;:;CEJ?ED7B FIO9>EBE=?97B 7D:FIO9>?9

         ?D@KH?;I?D9BK:?D=<H;GK;DJ8EKJIE<I;L;H; :?I78B?D= 7D::;8?B?J7J?D=7DN?;JO F;HL7I?L;

         <;7H H;9KHH;DJ<;;B?D=IE<I>7C;7D::;FH;II?ED 7D:?DIJ7D9;IE<FKH;J;HHEH ?D9BK:?D=

         <;7HE<?CC?D;DJ:;7J>EH=H?;LEKI8E:?BO?D@KHO 

    I7:?H;9J FHEN?C7J; 7D:<EH;I;;78B;97KI;7D:H;IKBJE<;<;D:7DJ/>;0D?L;HI?JOE<

         1?H=?D?7VI  ;<;D:7DJ -O7DVI  7D: ;<;D:7DJ "HEL;IV KD9EDIJ?JKJ?ED7B 7D: ?BB;=7B 79JI 

         ;HHEHI 7D:EC?II?EDI (EH=7D;JJ?D=;HIK<<;H;:F>OI?97B J7D=?8B;F;HIED7B?D@KH?;I7D:




                                                     
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         C7D?<;IJ7J?EDI E< ;CEJ?ED7B :?IJH;II 7D: FIO9>EBE=?97B JH7KC7  ?D9BK:?D= ?D@KH?;I 7D:

         9ED:?J?EDIJ>7J7H;J;HH?8B; B?<; J>H;7J;D?D= =HK;IEC; 7D:>;7HJ8H;7A?D= 

    (EH=7D;JJ?D=;HM?BB?D9KHI?=D?<?97DJ7D:IK8IJ7DJ?7BC;:?97B7D:>;7BJ>97H;;NF;DI;I

         7D: 9EIJI J>HEK=>EKJ >;H B?<;J?C; J>7J 7H; J>; D7JKH7B  <EH;I;;78B; 9EDI;GK;D9; E< J>;

         F>OI?97B  C;DJ7B  ;CEJ?ED7B  7D: FIO9>EBE=?97B ?D@KH?;I I>; IKIJ7?D;: 7I 7 H;IKBJ E<

         ;<;D:7DJ />; 0D?L;HI?JO E< 1?H=?D?7VI  ;<;D:7DJ -O7DVI  7D: ;<;D:7DJ "HEL;IV

         KD9EDIJ?JKJ?ED7B7D:?BB;=7B79JI ;HHEHI 7D:EC?II?EDI 

    I7:?H;9J FHEN?C7J; 7D:<EH;I;;78B;97KI;7D:H;IKBJE<J>;;<;D:7DJIVKD9EDIJ?JKJ?ED7B

         7D:?BB;=7B79JI ;HHEHI 7D:EC?II?EDI (EH=7D;JJ?D=;HIK<<;H;:BEIIE<;CFBEOC;DJ BEIJ

         M7=;I  BEII E< <KJKH; M7=;I  ;CFBEOC;DJ 7D: EH @E8 EFFEHJKD?J?;I  BEII E< 7:L7D9;:

         I9>EEB?D= 7D: =H7:K7J; I9>EEB EFFEHJKD?J?;I  BEII E< FHE<;II?ED7B ;:K97J?ED 7D:

         FHE<;II?ED7B;CFBEOC;DJEFFEHJKD?J?;I 7D:EJ>;HI?C?B7H;9EDEC?9:7C7=;I 

    />; +B7?DJ?<< ?I J>;H;<EH; ;DJ?JB;: JE CED;J7HO H;B?;< 7I 9ECF;DI7JEHO :7C7=;I <HEC

         ;<;D:7DJ />; 0D?L;HI?JO E< 1?H=?D?7  ;<;D:7DJ -O7D  7D: ;<;D:7DJ "HEL;I ?D

         9ECF;DI7J?ED<EH>;HI;L;H;7D:;NJ;DI?L;?D@KH?;I7D:J>;IK8IJ7DJ?7B;9EDEC?97D:DED

         ;9EDEC?9BEII;II>;>7I7D:M?BBIK<<;H 

                                           "!#
                                    "!# 
                                           " 7 
             15&-204)'4,0/-&53)0*4+) .)/(.)/48 " 7 
                                  
                                                  
    />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

         7I?<7BB;=;:7D;M 

    +H;I?:;DJ%7C;I -O7D 7HC;:M?J>J>;ADEMB;:=;E<J>;+B7?DJ?<<VI79JK7B?DDE9;D9;7D:

         FEII;II?D= 7 L7IJ  J>EHEK=>  7D: ?DJ?C7J; <7C?B?7H?JO M?J> J>; 7FFB?978B; B7M  7D: <KBBO




                                                     
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          7M7H; E< J>; :;L7IJ7J?D= ;<<;9J >?I :;9?I?ED MEKB: >7L; ED (EH=7D ;JJ?D=;H  J>;

          0D?L;HI?JOE<1?H=?D?7 7D:J>;ECCEDM;7BJ>E<1?H=?D?7 FH;II;:<EHM7H:7D:FKD?I>;:

          J>;+B7?DJ?<<?DJ>;>7HI>;IJE<M7OI7D:M?J>J>;CEIJI;L;H;E<F;D7BJ?;I 

    ;<;D:7DJ -O7D ADEM?D=BO 7D: ?DJ;DJ?ED7BBO L?EB7J;: (EH=7DVI 9B;7HBO ;IJ78B?I>;:

          9EDIJ?JKJ?ED7BH?=>JIE<<H;;IF;;9>EDK=KIJ  

    ::?J?ED7BBO ;<;D:7DJ-O7DVI79JI ;HHEHI 7D:EC?II?EDIEDEH7HEKD:K=KIJ  

          M;H;CEJ?L7J;:8OH79; CEJ?L7J;:8O?CF;HC?II?8B;H79?7B9EDI?:;H7J?EDI CEJ?L7J;:8O

          (EH=7DVIH79; 7D:MEKB:DEJ>7L;8;;DC7:;EHEC?JJ;:S8KJ<EHT(EH=7DVIH79; 

       L?:;D9; E< J>; ?DJ;DJ?ED7B :;FH?L7J?ED E< 9EDIJ?JKJ?ED7B H?=>JI I7J?I<?;I 7D: I;HL;I 7I

          ;L?:;D9;E<C7B?9; (EH;EL;H :?I9H?C?D7J?EDEDJ>;87I?IE<H79;R?DJ;DJ?ED7BBO:;FH?L?D=

          7F;HIEDE<7I79H;:9?L?BH?=>J8;97KI;E<H79;?IJ>;KBJ?C7J;<EHCE<C7B?9; 

    (EH=7D;JJ?D=;HVIMEH:IM;H;9B;7HBOFHEJ;9J;:7D:>;HH?=>JI9B;7HBO;IJ78B?I>;:8OM;BB

          I;JJB;:B7M 7D:;<;D:7DJ-O7DAD;M?J8;<EH;>;JEEA79J?ED7=7?DIJ>;H +H;I?:;DJ-O7D

          M7I<KBBO7M7H;E<J>;9EDI;GK;D9;IE<>?I79J?EDI J>7J>;MEKB:8;L?EB7J?D=J>;0D?J;:

          .J7J;I EDIJ?JKJ?ED 7D: <;:;H7B 9?L?B H?=>JI B7MI  J>7J >; MEKB: 8; 9ECC?JJ?D= J>;

          0D?L;HI?JOE<1?H=?D?7JE78B7J7DJ7D:E8L?EKI7D:D;MIMEHJ>OL?EB7J?EDE<EKHD7J?EDVI

          CEIJI79H;:H?=>JI7D:FH?D9?FB;I 7D:J>7JJ>;79JI7D:EC?II?EDI7=7?DIJ(EH=7D;JJ?D=;H

          MEKB:KJJ;HBOHK?D>;H 

    2>;D +H;I?:;DJ -O7D H;D:;H;: J>; :;9?I?EDI 7J ?IIK; ED EH 7HEKD: K=KIJ    

          ADEM?D=7BBE<J>?I 7D:KD:;HJEEAJ>;79J?EDIJE>7HC7D::;IJHEO(EH=7D;JJ?D=;H >;

              FEII;II;:7<KBB;L?:;DJ?7HOH;9EH:RDEJI>7H;:M?J>EH7L7?B78B;JE7DOED;;BI;R

                 J>7J?D9BK:;:EL;HM>;BC?D= 9ECF;BB?D= 7D:9EDL?D9?D=FHEE<E<(EH=7DVI79JK7B




                                                     
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                 ?DDE9;D9;7D:J>;<7BI?JOE<J>;9B7?CI7=7?DIJ>;H 7D:KD;GK?LE97BBO:;CEDIJH7J;:

                 J>7JJ>;IF;;9><EHM>?9>I>;M7I8;?D=FKD?I>;:M7I9EDIJ?JKJ?ED7BBOFHEJ;9J;:

              F;HIED7BBOFEII;II;:7L7IJ8E:OE<;:K97J?ED JH7?D?D= ;NF;H?;D9; M?I:EC 7D:

                 ADEMB;:=;H;=7H:?D=9EDIJ?JKJ?ED7BB7M7D:;:K97J?EDB7M +H;I?:;DJ-O7DAD;M

                 7D:ADEMIJ>7JJ>;H?=>JI7J?IIK;?DJ>?IC7JJ;H7H;9B;7H7D:M;BB I;JJB;:7D:

              M7I9BEI;BOIKHHEKD:;:7D:F;HIED7BBO7:L?I;:8O7I;B;9J=HEKFE<B7MO;HIM?J>

                 KDFH;9;:;DJ;: ;NF;H?;D9;  ;:K97J?ED  7D: ADEMB;:=; E< 9EDIJ?JKJ?ED7B B7M  />?I

                 =HEKFE<<?L;VI9EBB;9J?L;;:K97J?ED7D:;NF;H?;D9;?D9BK:;:<?L;=H7:K7J;IE<J>;

                 0D?L;HI?JOE<1?H=?D?7VI.9>EEBE<'7M J>H;;KD:;H=H7:K7J;:;=H;;I<HEC37B; 

                 J>H;;0D?J;:.J7J;I.KFH;C;EKHJ9B;HAI>?FI J>H;;0D?J;:.J7J;IEKHJE<FF;7BI

                 9B;HAI>?FI 7;7DE<.J7D<EH:'7M.9>EEB 7CKBJ? J;HC;7DE<J>;0D?L;HI?JOE<

                 1?H=?D?7.9>EEBE<'7M 7+H;I?:;DJE<J>;0D?L;HI?JOE<+;DDIOBL7D?7 70D?J;:

                 .J7J;IJJEHD;O 7+HELEIJE<J>;0D?L;HI?JOE<1?H=?D?7 70D?L;HI?JOEKDI;B<EH

                 J>; 0D?L;HI?JO E< 1?H=?D?7  7D: 9BEI; JE 7 9;DJKHO E< B7M FHE<;IIEHI>?F 7J J>;

                 D7J?EDVICEIJFH;IJ?=?EKIB7MI9>EEBIJ;79>?D=9EDIJ?JKJ?ED7BB7M 

    I7H;IKBJ ;<;D:7DJ-O7D97DDEJ9B7?C?=DEH7D9;EHKD7M7H;D;IIE<J>;<79JIE<J>?I

         C7JJ;H (EH=7DVI?DDE9;D9; J>;<7BI?JOE<J>;9B7?CI7=7?DIJ>;H J>;FH;9?I;D7JKH; ;NJ;DJ 

         7D:9EDJEKHIE<J>;9?L?BH?=>JI7J?IIK; J>;FB7?DJHKJ>J>7J>?I:;9?I?EDI 79JI ;HHEHI 7D:

         EC?II?EDIM;H;L?EB7J?D=J>EI;H?=>JI 7D:J>;I?CFB;H;7B?JOJ>7J:E?D=IEMEKB:>7HC7D

         ?DDE9;DJOEKD=MEC7D<EHDEEJ>;HH;7IEDJ>7DJ>;9EBEHE<>;HIA?D 

    7I;: ED J>;I; <79JI 7D: 9?H9KCIJ7D9;I  ;<;D:7DJ -O7D ?I F;HIED7BBO 7D: ?D:?L?:K7BBO

         B?78B; KD:;H  0 .   Q 7D:  0 .   Q 7D: ?I DEJ ;DJ?JB;: JE H7?I; EH 8;




                                                      
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         9EDI?:;H;:<EHJ>;:;<;DI;E<GK7B?<?;:?CCKD?JO I7H;IKBJ ;<;D:7DJ-O7D?IB?78B;7D:

         I>EKB:8;>;B:H;IFEDI?8B;<EH(EH=7DVII?=D?<?97DJ IK8IJ7DJ?7B 7D:FHE<EKD::7C7=;I 

    I7:?H;9J7D:FHEN?C7J;H;IKBJE<;<;D:7DJ-O7DVIFKHFEI;<KB 97B9KB7J;: 7D:ADEM?D=

         L?EB7J?EDIE<(EH=7D;JJ?D=;HVI!?HIJC;D:C;DJH?=>JI J>;+B7?DJ?<<>7IIK<<;H;:7D:

         M?BB 9EDJ?DK; JE IK<<;H ?HH;F7H78B; >7HC  FHE<EKD: ;CEJ?ED7B 7D: F>OI?97B ?D@KH?;I  7D:

         ;9EDEC?9BEII;I7D::7C7=;IJ>7JM?BB9EDJ?DK;M;BB?DJEJ>;<KJKH; ;<;D:7DJ-O7D?I

         DEJ;DJ?JB;:JEJ>;:;<;DI;E<GK7B?<?;:?CCKD?JOJE;L7:;H;IFEDI?8?B?JO<EH>?I;=H;=?EKI

         7D:H;FH;>;DI?8B;9ED:K9J 7D:(EH=7D;JJ?D=;H?I;DJ?JB;:JE7D7M7H:E<9ECF;DI7JEHO

         7D:FKD?J?L;:7C7=;I7=7?DIJ;<;D:7DJ-O7D?D>?IF;HIED7B7D:?D:?L?:K7B97F79?J?;I 

    I 7BB;=;: 78EL;  ;<;D:7DJ "HEL;I M7I ;GK7BBO 7M7H; E< J>; <79JI  J>; B7M  7D: J>;

         ?BB;=7B?JO7D:KD9EDIJ?JKJ?ED7BD7JKH;E<>?I79JI ;HHEHI 7D:EC?II?EDIM>;D>;8H;79>;:

         >?I :KJ?;I JE (EH=7D ;JJ?D=;H  ;<;D:7DJ "HEL;I FKHFEI;<KBBO IK8@;9J;: (EH=7D

         ;JJ?D=;H JE J>?HJ;;D CEDJ>I E< ?DL;IJ?=7J?EDI 7D: J>H;; I;F7H7J; FHE9;II;I 7D:

         7:@K:?97J?EDI ;<;D:7DJ"HEL;IAD;MJ>7J(EH=7D;JJ?D=;HVI9EDIJ?JKJ?ED7BH?=>JI9EKB:

         DEJ7D:I>EKB:DEJ>7L;8;;DB;<JJE7=HEKFE<?CC7JKH;0D?L;HI?JOKD:;H=H7:K7J;I 7BBE<

         M>EC FEII;II;: IK8IJ7DJ?7B FH;@K:?9; 7=7?DIJ (EH=7D 7D: 8?7I ?D <7LEH E< J>;?H <;BBEM

         IJK:;DJ9EKD9?BC;C8;H J>;J;;D7=;:SH79?7B@KIJ?9;T97CFKI9;B;8H?JO 7IM;BB7IJ>;?H

         +H;I?:;DJ J>;?H;7DE<.JK:;DJI 7D:J>;?H0D?L;HI?JO ;<;D:7DJ"HEL;IAD;MJ>7JJ>;

         0%FHE9;IIM7IKD<7?H J>7J>?I?DLEBL;C;DJM7I?CFHEF;H 7D:J>7JJ>;SF7D;BTEHS@KHOT

         >7:FH;:;J;HC?D;:7JEJ7BBO?BBE=?97B7D:?BB;=7BH;IKBJ ;<;D:7DJ"HEL;IAD;MJ>7J>;M7I

         L?EB7J?D=(EH=7DVI9EDIJ?JKJ?ED7B7D:<;:;H7B9?L?BH?=>JIM>;D>;C7D?FKB7J;:J>;L7H?EKI

         :?I9?FB?D7HO?DIJHKC;DJI7D:FHE9;II;I ?D9BK:?D=>?I:;9?I?EDJESJ;;KFT(EH=7D<EHJH?7B 




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Case 3:23-cv-00041-NKM-JCH Document 1 Filed 07/28/23 Page 100 of 102 Pageid#: 100




     ;<;D:7DJ"HEL;IV:;9?I?EDIM;H;CEJ?L7J;:8OH79; CEJ?L7J;:8O(EH=7DVIH79; 7D:8KJ

          <EH(EH=7DVIH79; >;MEKB:DEJ>7L;9ECC?JJ;:J>;79JI7=7?DIJ>;H7D:H;<KI;:JEJ7A;

          79J?ED?D>;H<7LEH />;H;<EH; ;<;D:7DJ"HEL;I?IB?78B;<EHFKD?J?L;:7C7=;IKD:;H

          0 .  Q $DJ;DJ?ED7BH79?7B8?7I7D:H79?7B:?I9H?C?D7J?ED9EDIJ?JKJ;7<EHCE<C7B?9;

          7D:I7J?I<OJ>;?DJ;DJ;B;C;DJD;9;II7HO<EH7D7M7H:E<FKD?J?L;:7C7=;I 

     ;97KI; ;<;D:7DJI -O7DVI 7D: "HEL;IV 79JI  ;HHEHI  7D: EC?II?EDI J>7J L?EB7J;: J>;

          9EDIJ?JKJ?ED7D:<;:;H7B9?L?BH?=>JIB7MIM;H;?DJ;DJ?ED7B7D:?DJ;DJ?ED7BBO:?I9H?C?D7JEHO

          7D:H79?7BBOCEJ?L7J;: 7D7M7H:E<FKD?J?L;:7C7=;IH;<B;9J?L;E<J>;;NJ;DJE<J>;>7HC

          J>;O 97KI;: J>; +B7?DJ?<< 7D: J>; 9;HJ7?DJO J>7J J>; +B7?DJ?<< MEKB: 8; F;HC7D;DJBO 7D:

          <EH;L;H>7HC;:8OJ>;?H79J?EDI?ID;9;II7HO7D:7FFHEFH?7J; 

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     />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

          7I?<7BB;=;:7D;M 

     0 .  Q7BBEMI<EH7D7M7H:E<7JJEHD;OIV<;;I7D:9EIJIJEIK99;II<KBFB7?DJ?<<I

          ?D 9?L?B H?=>JI C7JJ;HI IK9> 7I J>?I 7D: J>;H;<EH;  J>; +B7?DJ?<< FH7OI <EH 7D 7M7H: E<

          H;7IED78B;7JJEHD;OIV<;;I7D:B?J?=7J?ED9EIJI 

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     />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

          7I?<7BB;=;:7D;M 

     />;+B7?DJ?<<H;IF;9J<KBBOH;GK;IJI7D::;C7D:I7@KHOJH?7BED7BB?IIK;I7D:C7JJ;HIIE

          JH?78B; 

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     />;+B7?DJ?<<>;H;8O?D9EHFEH7J;I H;IJ7J;I 7D:H; 7BB;=;IJ>;FH;9;:?D=F7H7=H7F>I78EL;

          7I?<7BB;=;:7D;M 

     2# - !*- J>;+B7?DJ?<<H;IF;9J<KBBOFH7OI<EH F;J?J?EDI 7D:H;GK;IJIJ>;#EDEH78B;

          EKHJJE;DJ;H!?D7B%K:=C;DJ?DJ>;+B7?DJ?<<VI<7LEH ?D9BK:?D=J>;<EBBEM?D=7M7H:7D:

          H;B?;<

                  ;9B7H7JEHO%K:=C;DJ?DJ>;+B7?DJ?<<VI<7LEHFKHIK7DJJE0 .  Q

                  D EH:;H 9ECF;BB?D= F;HC7D;DJ  FHEIF;9J?L; ?D@KD9J?L; H;B?;< ?D J>; +B7?DJ?<<VI

                     <7LEH

                  D7M7H:E<9ECF;DI7JEHO:7C7=;I ?D7D7CEKDJJE8;:;J;HC?D;:8O7@KHO ?D

                     J>;<EHCE<CED;J7HOH;B?;<EH<?D7D9?7B:7C7=;I7=7?DIJJ>;0D?L;HI?JOE<1?H=?D?7

                     FKHIK7DJJE/?JB;1$7D:7=7?DIJ;<;D:7DJ-O7DFKHIK7DJJE0 .  QQ

                      7D: 7=7?DIJ ;<;D:7DJ "HEL;I FKHIK7DJ JE  0 .   Q 97B9KB7J;: JE

                     9ECF;DI7J;J>;+B7?DJ?<<<EHJ>;I?=D?<?97DJBEII;I ?D@KH?;I 7D:B7IJ?D=:7C7=;I7D:

                     >7HCI>;>7IIK<<;H;:7I7H;IKBJE<J>;;<;D:7DJIV79JI ;HHEHI 7D:EC?II?EDI

                  D7M7H:E<FKD?J?L;:7C7=;I7=7?DIJ;<;D:7DJI-O7D7D:"HEL;I?D7D7CEKDJ

                     JE8;:;J;HC?D;:8OJ>;@KHOJ>7J?I97B9KB7J;:JEH;<B;9JJ>;I;L;H?JOE<J>;>7HC

                     ?D<B?9J;: KFED 7D: :7C7=;I IK<<;H;: 8O (EH=7D ;JJ?D=;H 7D: 799EKDJ <EH J>;

                     ?DJ;DJ?ED7B  FKHFEI;<KB  7D: :;B?8;H7J; D7JKH; E< J>;I; ;<;D:7DJIV :;9?I?EDI 

                     9ECC?JJ;: M?J> J>; 9;HJ7?DJO J>7J (EH=7D ;JJ?D=;HVI B?<; 7D: <KJKH; MEKB: 8;

                     HK?D;:

                   .K9>EJ>;HH;B?;<7IJ>;EKHJ:;;CI@KIJ7D:FHEF;H7D:

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                                      I "H;=EHO2 HEMD
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                                     17H
                                      "  +''
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                                     >7HBEJJ;IL?BB; 1?H=?D?7
                                     /;B;F>ED; 
                                     !79I?C?B; *D;/7BA
                                     F7HJD;HI8HEMD7D:=7L7B?;H 9EC'7MO;HIV C7?B
                                     7:C?D8HEMD7D:=7L7B?;H 9EC( !
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